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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                §
    In re:                                                      §      Chapter 11
                                                                §
    PYXUS INTERNATIONAL, INC., et al.,1                         §      Case No. 20-11570 (LSS)
                                                                §
                                      Debtors.                  §      (Jointly Administered)
                                                                §

                                         AFFIDAVIT OF SERVICE

             I, James Daloia, depose and say that:

             1.      I am employed by Prime Clerk LLC (“Prime Clerk”), the claims and noticing

agent for the Debtors in the above-captioned Chapter 11 cases. At my direction and under my

supervision, employees of Prime Clerk caused the following materials to be served:


                  a. a Flash Drive containing PDF images of the: (1) Disclosure Statement for the Joint
                     Prepackaged Chapter 11 Plan of Reorganization of Pyxus International, Inc. and
                     its Affiliated Debtors [Docket No. 22] with all exhibits thereto, including, among
                     others, the Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus
                     International, Inc. and its Affiliated Debtors [Docket No.21] (collectively, the
                     “Disclosure Statement Flash Drive”);

                  b. the Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of
                     Reorganization of Pyxus International, Inc. and its Affiliated Debtors [Docket No.
                     22] with all exhibits thereto, including, among others, the Joint Prepackaged
                     Chapter 11 Plan of Reorganization of Pyxus International, Inc. and its Affiliated
                     Debtors [Docket No.21] (collectively, the “Disclosure Statement ”);

                  c. the Notice of (I) Commencement of Prepackaged Chapter 11 Cases Under Chapter
                     11 of the Bankruptcy Code, (II) Combined Hearing to Consider (A) Adequacy of
                     Disclosure Statement and (B) Confirmation of Prepackaged Plan, (III) Assumption
                     of Executory Contracts and Unexpired Leases and Cure Amounts and (IV)
                     Objection Deadlines and Summary of Prepackaged Plan [ Docket No. 88] (the
                     “Combined Hearing Notice”);

1
      The Debtors in the Chapter 11 Cases, along with the last four digits of each Debtor’s United States federal tax
      identification number, are: Pyxus International, Inc. (6567), Alliance One International, LLC (3302), Alliance
      One North America, LLC (7908), Alliance One Specialty Products, LLC (0115) and GSP Properties, LLC (5603).
      The Debtors’ mailing address is 8001 Aerial Center Parkway, Morrisville, NC 27560-8417.
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d. the Class 3 First Lien Notes Claims Beneficial Holder Ballot for Accepting or
   Rejecting the Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus
   International, Inc. and its Affiliated Debtors, a copy of which is attached hereto as
   Exhibit A (the “Class 3 Beneficial Holder Ballot);

e. the Class 3 First Lien Notes Claim Master Ballot for Accepting or Rejecting the
   Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus International, Inc.
   and its Affiliated Debtors, a copy of which is attached hereto as Exhibit B (the
   “Class 3 Master Ballot);

f. the Class 4 Second Line Notes Claim Beneficial Holder Ballot for Accepting or
   Rejecting the Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus
   International, Inc. and its Affiliated Debtors, a copy of which is attached hereto as
   Exhibit C (the “Class 4 Beneficial Holder Ballot);

g. the Class 4 Second Line Notes Claim Master Ballot for Accepting or Rejecting the
   Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus International, Inc.
   and its Affiliated Debtors, a copy of which is attached hereto as Exhibit D (the
   “Class 4 Master Ballot);

h. the Equity Holder Opt-Out Form for Holders of Existing Pyxus Interests in
   Accordance with Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus
   International, Inc. and its Affiliated Debtors for Beneficial Owners Who Hold Their
   Stock Through a Nominee, a copy of which is attached hereto as Exhibit E (the
   “Class 10 Beneficial Owner Election Form”);

i. Equity Holder Opt-Out Form for Holders of Existing Pyxus Interests in Accordance
   with Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus International,
   Inc. and its Affiliated Debtors for Registered holders on the Books of the Transfer
   Agent, a form of which is attached hereto as Exhibit F (the “Class 10 Registered
   Holder Election Form”); and

j. a pre-addressed, postage paid return envelope (the “Return Envelope”), a sample
   of which is not attached hereto.




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       2.        Unless otherwise stated, at my direction and under my supervision, commencing

on June 14, 2020, employees of Prime Clerk caused true and correct copies of the above materials

to be served as follows:

   a. the Disclosure Statement, Class 3 Beneficial Holder Ballot, Class 4 Beneficial Holder
      Ballot, Class 3 Master Ballot and Class 4 Master Ballot were served via first class mail on
      the party identified on the service list attached hereto as Exhibit G.

   b. the materials contained on the Disclosure Statement Flash Drive, Class 3 Beneficial Holder
      Ballot, Class 4 Beneficial Holder Ballot, Class 3 Master Ballot, Class 4 Master Ballot and
      Return Envelope were served via email on the parties identified on the service list attached
      hereto as Exhibit H.


       3.      Unless otherwise stated, on June 15, 2020, at my direction and under my

supervision, employees of Prime Clerk caused true and correct copies of the above materials to be

served as follows:

   a. the Disclosure Statement Flash Drive, Class 3 Beneficial Holder Ballot, Class 4 Beneficial
      Holder Ballot, Class 3 Master Ballot, Class 4 Master Ballot and Return Envelope were
      served via overnight mail or next day business service on the banks, brokers, dealers agents,
      nominees or their agents (collectively, the “Bond Nominees”) identified on the service list
      attached hereto as Exhibit I. The Bond Nominees were provided with instructions and
      sufficient quantities to distribute the aforementioned documents to the beneficial holders
      of the Debtors’ public securities.


        4.       In addition to the hard copy service detailed above, on June 15, 2020, at my

direction and under my supervision, employees of Prime Clerk caused electronic copies of the

above materials to be served as follows:

   a. the materials contained on the Disclosure Statement Flash Drive, Class 3 Beneficial Holder
      Ballot, Class 4 Beneficial Holder Ballot, Class 3 Master Ballot, Class 4 Master Ballot and
      were served via email on the parties identified on the service list attached hereto as Exhibit
      J.




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     5.        Unless otherwise stated, on June 19, 2020, at my direction and under my

supervision, employees of Prime Clerk caused true and correct copies of the above materials to be

served as follows:

   a. the Disclosure Statement Flash Drive, Combined Hearing Notice, Class 10 Beneficial
      Owner Election Form and Return Envelope were served via overnight mail or next day
      business service on the banks, brokers, dealers agents, nominees or their agents
      (collectively, the “Equity Nominees”) identified on the service list attached hereto as
      Exhibit K. The Equity Nominees were provided with instructions and sufficient quantities
      to distribute the aforementioned documents to the beneficial holders of the Debtors’ public
      securities; and

   b. the Disclosure Statement Flash Drive, Combined Hearing Notice, Class 10 Registered
      Holder Election Form and Return Envelope were served via First Class Mail on the parties
      identified on the service list attached hereto as Exhibit L.

   6.     In addition to the hard copy service detailed above, on June 19, 2020, at my direction and

under my supervision, employees of Prime Clerk caused electronic copies of the

above materials to be served as follows:

   a. the materials contained on the Disclosure Statement Flash Drive, Combined Hearing
      Notice, and Class 10 Beneficial Owner Election Form were served via email on the parties
      identified on the service list attached hereto as Exhibit M.


        7.     Unless otherwise stated, on June 23, 2020, at my direction and under my

supervision, employees of Prime Clerk caused true and correct copies of the above materials to be

served as follows:

   a. the Disclosure Statement Flash Drive, Class 3 Beneficial Holder Ballot, Class 4 Beneficial
      Holder Ballot, Class 3 Master Ballot, Class 4 Master Ballot and Return Envelope were
      served via overnight mail or next day business service on the banks, brokers, dealers agents,
      nominees or their agents (collectively, the “Supplemental Bond Nominees”) identified on
      the service list attached hereto as Exhibit N. The Supplemental Bond Nominees were
      provided with instructions and sufficient quantities to distribute the aforementioned
      documents to the beneficial holders of the Debtors’ public securities.




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Dated: June 25, 2020




State of New York
County of New York



Subscribed and sworn to (or affirmed) before me on June 25, 2020, by James Daloia proved to me
on the basis of satisfactory evidence to be the person who appeared before me.




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                       Exhibit A
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                                                                   Pyxus International, Inc., et al.
                                   Beneficial Holder Ballot for Class 3 – First Lien Notes Claims
                                               CUSIP NUMBERS: 018772AT0 & U0187PAH9
           NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE, OR
           TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS INCLUDED IN THE
           MATERIALS MAILED WITH THIS BALLOT.

           IMPORTANT: NO CHAPTER 11 CASES HAVE BEEN COMMENCED AS OF THE DATE
           OF THE DISTRIBUTION OF THIS BALLOT. THE DEBTORS INTEND TO FILE CHAPTER
           11 CASES AND SEEK CONFIRMATION OF THE PLAN BY THE BANKRUPTCY COURT
           SHORTLY THEREAFTER AS DESCRIBED IN GREATER DETAIL IN THE
           ACCOMPANYING DISCLOSURE STATEMENT.

                                                                         )
           In re:                                                        )   Chapter 11
                                                                         )
           PYXUS INTERNATIONAL, INC., et al.,1                           )   IMPORTANT: No chapter 11 case has been
                                                                         )   commenced as of the date of the distribution
                                      Debtors.                           )   of this ballot. This ballot is being distributed
                                                                         )   to you as a part of a prepetition solicitation of
                                                                         )   your vote on a prepackaged plan of
                                                                             reorganization.
                                                                         )

               BENEFICIAL HOLDER BALLOT FOR ACCEPTING OR REJECTING THE JOINT
                  PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION OF PYXUS
                        INTERNATIONAL, INC. AND ITS AFFILIATED DEBTORS

                                         CLASS 3 – FIRST LIEN NOTES CLAIMS

                    IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT, THE VOTING
                     PROCEDURES, OR ANY OF THE SOLICITATION MATERIALS YOU HAVE
                     RECEIVED, OR YOU NEED TO OBTAIN ADDITIONAL SOLICITATION
                     MATERIALS, PLEASE CONTACT THE DEBTORS’ PROPOSED NOTICE AND
                     SOLICITATION AGENT, PRIME CLERK LLC (THE “SOLICITATION AGENT”)
                     BY: (1) CALLING THE DEBTORS’ SOLICITATION AGENT AT 1-(844)-974- 2130
                     (TOLL-FREE) OR 1-(929)-955-3418 (INTERNATIONAL), (2) EMAILING
                     PYXUSBALLOTS@PRIMECLERK.COM AND REFERENCING “PYXUS BALLOT
                     PROCESSING” IN THE SUBJECT LINE, (3) VISITING THE DEBTORS’
                     SOLICITATION WEBSITE AT HTTPS://CASES.PRIMECLERK.COM/PYXUS,
                     AND/OR (4) WRITING TO THE SOLICITATION AGENT AT THE FOLLOWING
                     ADDRESS: PYXUS BALLOT PROCESSING, C/O PRIME CLERK LLC, ONE
                     GRAND CENTRAL PLACE, 60 EAST 42ND STREET, SUITE 1440, NEW YORK,
                     NY 10165.



           1
             The Debtors in the Chapter 11 Cases, along with the last four digits of each Debtor’s United States federal tax
           identification number, are: Pyxus International, Inc. (6567), Alliance One International, LLC (3302), Alliance One
           North America, LLC (7908), Alliance One Specialty Products, LLC (0115) and GSP Properties, LLC (5603). The
           Debtors’ mailing address is 8001 Aerial Center Parkway, Morrisville, NC 27560-8417.
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                                                              Pyxus International, Inc., et al.
                              Beneficial Holder Ballot for Class 3 – First Lien Notes Claims
                                          CUSIP NUMBERS: 018772AT0 & U0187PAH9
            PLEASE READ AND FOLLOW THE ENCLOSED VOTING INSTRUCTIONS
             CAREFULLY BEFORE COMPLETING THIS BALLOT.

            THIS BALLOT OR, IF APPLICABLE, THE MASTER BALLOT CAST ON YOUR
             BEHALF (THE “MASTER BALLOT”) MUST BE ACTUALLY RECEIVED BY THE
             SOLICITATION AGENT BEFORE 5:00 P.M. (PREVAILING EASTERN TIME)
             ON JULY 20, 2020 (THE “VOTING DEADLINE”). IF THE SOLICITATION
             AGENT DOES NOT RECEIVE YOUR BALLOT BEFORE THE VOTING
             DEADLINE, AND UNLESS THE DEBTORS DETERMINE OTHERWISE OR AS
             PERMITTED BY THE BANKRUPTCY COURT, YOUR VOTE WILL NOT BE
             COUNTED.

            IF THE BANKRUPTCY COURT CONFIRMS THE PLAN, IT WILL BIND YOU
             REGARDLESS OF WHETHER YOU HAVE VOTED.

            NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
             ADVICE, OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS
             INCLUDED IN THE MATERIALS MAILED WITH THIS BALLOT.


This ballot (this “Ballot”) is being sent to you in connection with the Joint Prepackaged Chapter
11 Plan of Reorganization of Pyxus International, Inc. and Its Affiliated Debtors (as may be
amended, modified, or supplemented from time to time in accordance with its terms and including
all exhibits or supplements thereto, the “Plan”)2 because the records maintained by your Nominee3
indicate that you are a Beneficial Holder4 of a Class 3 First Lien Notes Claim as of June 12, 2020
(the “Voting Record Date”), and, accordingly, you may have a right to vote to accept or reject the
Plan. This Ballot may not be used for any purpose other than for submitting votes with respect to
the Plan. If you believe you have received this Ballot in error, please contact the Solicitation Agent
at the email address or telephone number set forth above. Your rights are described in the
Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus
International, Inc. and Its Affiliated Debtors, dated June 14, 2020 (as may be amended, modified,
or supplemented from time to time and including all exhibits or supplements thereto, the
“Disclosure Statement”). The Plan and the Disclosure Statement are included in the packet you
are receiving together with this Ballot (collectively, with a pre-addressed, postage pre-paid return
envelope, the “Solicitation Package”). Upon request, the Solicitation Agent will provide paper
copies of the Plan and the Disclosure Statement at the Debtors’ expense. The Solicitation Package

2
    Capitalized terms used but not defined herein have the meaning given to such terms in the Disclosure Statement.

3
  “Nominee” means the broker, dealer, commercial bank, trust company, savings and loan, financial institution, or
other such party in whose name your beneficial ownership in Class 3 First Lien Notes Claims is registered or held of
record on your behalf as of the Voting Record Date.

4
 A “Beneficial Holder” is a beneficial owner of Class 3 First Lien Notes Claims whose Claims have not been satisfied
prior to the Voting Record Date pursuant to court order or otherwise, as reflected in the records maintained by the
Nominees (as defined herein) holding through the Depository Trust Company or other relevant security depository
and/or the applicable indenture trustee, as of the Voting Record Date.



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                                                                    Pyxus International, Inc., et al.
                                    Beneficial Holder Ballot for Class 3 – First Lien Notes Claims
                                                 CUSIP NUMBERS: 018772AT0 & U0187PAH9
has been distributed to all Holders of Class 3 First Lien Notes Claims; however, only Accredited
Investors (as such term is defined in Rule 501 of the Securities Act of 1933, 15 U.S.C. §§ 77a–
77aa) are entitled to vote to accept or reject the Plan. If you are not an Accredited Investor
please disregard this Ballot.

You should carefully and thoroughly review the Disclosure Statement and the Plan before
you vote. You may wish to seek legal advice concerning the Plan and classification and
treatment of your Claim under the Plan. Your Claim has been placed in Class 3 under the
Plan. If you hold Claims in more than one Class, you will receive a ballot for each Class in
which you are entitled to vote.

The Debtors intend to commence voluntary cases under chapter 11 of the Bankruptcy Code. The
Plan can thereafter be confirmed by the Bankruptcy Court and thereby made binding on you if it
is accepted by the Holders of at least two-thirds of the aggregate principal amount and more than
one-half in number of the Claims voted in at least one Impaired Class and if the Plan otherwise
satisfies the applicable requirements of section 1129(a) of the Bankruptcy Code. If the requisite
acceptances are not obtained, the Bankruptcy Court may nonetheless confirm the Plan if it finds
that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate against,
the Class or Classes rejecting the Plan; and (b) otherwise satisfies the requirements of section
1129(b) of the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, it will be
binding on you regardless of whether you vote or if you vote to reject the Plan.

   IF YOU RECEIVED A BALLOT AND A RETURN ENVELOPE ADDRESSED TO
     THE SOLICITATION AGENT, YOUR COMPLETED, SIGNED, AND DATED
   BALLOT MUST BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT
                    BEFORE THE VOTING DEADLINE.

   IF YOU RECEIVED A BALLOT AND A RETURN ENVELOPE ADDRESSED TO
  YOUR NOMINEE, YOUR COMPLETED, SIGNED, AND DATED BALLOT MUST
  BE SENT TO YOUR NOMINEE, NOT THE SOLICITATION AGENT, ALLOWING
     SUFFICIENT TIME FOR YOUR NOMINEE TO RECEIVE YOUR BALLOT,
  COMPLETE A MASTER BALLOT, AND TRANSMIT THE MASTER BALLOT TO
   THE SOLICITATION AGENT SO THAT IT IS ACTUALLY RECEIVED BY THE
          SOLICITATION AGENT BEFORE THE VOTING DEADLINE.


Item 1. Principal Amount of Class 3 First Lien Notes Claims.

The undersigned hereby certifies that, as of the Voting Record Date, it was the Beneficial Holder
(or authorized signatory for a Beneficial Holder) of a Class 3 First Lien Notes Claim in the
following aggregate principal amount (insert amount in box below):


                                         $______________




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                                                                  Pyxus International, Inc., et al.
                                  Beneficial Holder Ballot for Class 3 – First Lien Notes Claims
                                              CUSIP NUMBERS: 018772AT0 & U0187PAH9
Item 2. Vote of Class 3 First Lien Notes Claims.

The Beneficial Holder of the Class 3 First Lien Notes Claims set forth in Item 1 votes to (please
check only one):

                Accept the Plan                                     Reject the Plan



Item 3. Important information regarding the Releases by Holders of Claims and Interests of
the Debtors, Exculpation and Injunction Provisions, and Optional Opt-Out Election.

The Plan contains a series of releases that are part of the overall restructuring set forth in the Plan
and described in greater detail in the Disclosure Statement. In that respect, parties should be aware
that, if the Plan is confirmed and the Effective Date occurs, certain parties will be getting releases
and certain parties will be giving releases as set forth in Article VIII of the Plan. For your
convenience, excerpts of the release provisions from the Plan are set forth below; however, you
should carefully read the enclosed Disclosure Statement and Plan with respect to the releases.

       ARTICLE VIII.F OF THE PLAN PROVIDES FOR A THIRD-PARTY RELEASE
       BY THE RELEASING PARTIES (THE “THIRD-PARTY RELEASE”):

       Effective as of the Effective Date, each Releasing Party, in each case on behalf of itself
       and its respective successors, assigns, and representatives, and any and all other
       Entities who may purport to assert any Cause of Action, directly or derivatively, by,
       through, for, or because of the foregoing Entities, is deemed to have released and
       discharged each Debtor, Reorganized Debtor, and Released Party from any and all
       Causes of Action, whether known or unknown (including any derivative claims,
       asserted or assertable on behalf of any of the Debtors) that such Entity would have
       been legally entitled to assert (whether individually or collectively), based on or
       relating to, or in any manner arising from, in whole or in part, the Debtors (including
       the management, ownership or operation thereof), the purchase, sale, or rescission of
       any Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
       transactions or events giving rise to, any Claim or Interest that is treated in the Plan,
       the business or contractual arrangements between any Debtor and any Released
       Party, the Debtors’ in- or out-of-court restructuring efforts, intercompany
       transactions, the DIP Facility, the DIP Orders, the First Lien Notes, the Second Lien
       Notes, the Exit ABL Facility, the Exit Term Facility, the Exit Secured Notes or
       Replacement First Lien Financing, as applicable, the Chapter 11 Cases, the
       formulation, preparation, dissemination, negotiation, entry into, or Filing of, as
       applicable, the Restructuring Support Agreement and related prepetition
       transactions, the Disclosure Statement, the New Pyxus Constituent Documents, the
       New Shareholders Agreement, the Plan, or any Restructuring Transaction, contract,
       instrument, release, or other agreement or document created or entered into in
       connection with the Restructuring Support Agreement, the Disclosure Statement, the
       New Pyxus Constituent Documents, the New Shareholders Agreement, or the Plan
       (including, for the avoidance of doubt, providing any legal opinion requested by any

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                                                            Pyxus International, Inc., et al.
                            Beneficial Holder Ballot for Class 3 – First Lien Notes Claims
                                        CUSIP NUMBERS: 018772AT0 & U0187PAH9
Entity regarding any transaction, contract, instrument, document, or other
agreement contemplated by the Plan or the reliance by any Released Party on the
Plan or the Confirmation Order in lieu of such legal opinion), the Plan Supplement,
the Filing of the Chapter 11 Cases, the pursuit of Confirmation of the Plan, the pursuit
of Consummation of the Plan, the administration and implementation of the Plan,
including the issuance or distribution of any Securities pursuant to the Plan, or the
distribution of property under the Plan or any other related agreement, or upon any
other related act, omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date except for claims or liabilities arising out of or
relating to any act or omission by a Released Party that is determined in a Final Order
of a court of competent jurisdiction to have constituted actual fraud. Notwithstanding
anything to the contrary in the foregoing, the releases set forth above do not release
any obligations arising after Consummation of any party or Entity under the Plan,
any Restructuring Transaction, any document, instrument, or agreement (including
those set forth in the Plan Supplement) executed to implement the Plan, including the
assumption of the Indemnification Provisions as set forth in the Plan.

IMPORTANT INFORMATION REGARDING THE THIRD-PARTY RELEASE:

UNDER THE PLAN, “RELEASED PARTY” MEANS COLLECTIVELY, AND IN
EACH CASE IN ITS CAPACITY AS SUCH: (A) EACH OF THE DEBTORS; (B) THE
REORGANIZED DEBTORS; (C) THE DIP AGENT; (D) EACH OF THE DIP
LENDERS; (E) EACH HOLDER OF A FIRST LIEN NOTES CLAIM WHO VOTES IN
FAVOR OF THE PLAN; (F) THE FIRST LIEN NOTES INDENTURE TRUSTEE; (G)
EACH HOLDER OF A SECOND LIEN NOTES CLAIM WHO VOTES IN FAVOR OF
THE PLAN; (H) THE SECOND LIEN NOTES INDENTURE TRUSTEE; (I) THE
AGENTS OR INDENTURE TRUSTEES UNDER THE EXIT SECURED NOTES, EXIT
ABL FACILITY, AND EXIT TERM FACILITY; (J) EACH LENDER OR HOLDER
UNDER THE EXIT SECURED NOTES, EXIT ABL FACILITY, AND EXIT TERM
FACILITY; (K) THE INITIAL COMMITMENT PARTIES; (L) EACH CURRENT AND
FORMER AFFILIATE OF EACH ENTITY IN CLAUSE (A) THROUGH (K); AND (M)
EACH RELATED PARTY OF EACH ENTITY IN CLAUSE (A) THROUGH (L);
PROVIDED, HOWEVER, THAT IN EACH CASE, AN ENTITY SHALL NOT BE A
RELEASED PARTY IF IT (A) TIMELY PROVIDES, EITHER FORMALLY OR
INFORMALLY IN WRITING, AN OBJECTION TO THE RELEASES CONTAINED IN
ARTICLE VIII.E OF THE PLAN THAT IS NOT RESOLVED BEFORE
CONFIRMATION OF THE PLAN OR (B) ELECTS TO OPT OUT OF THE RELEASES
CONTAINED IN ARTICLE VIII.F OF THE PLAN; PROVIDED, FURTHER, THAT
ANY SUCH ENTITY SHALL BE IDENTIFIED BY NAME AS A NON-RELEASED
PARTY IN THE CONFIRMATION ORDER.

UNDER THE PLAN, “RELEASING PARTIES” MEANS COLLECTIVELY AND IN
EACH CASE IN THEIR CAPACITY AS SUCH: (A) THE RELEASED PARTIES
IDENTIFIED IN SUBSECTION (A)–(L) AND THOSE RELEASED PARTIES
IDENTIFIED IN SUBSECTION (M) OF THE DEFINITION OF “RELEASED PARTY”
ON BEHALF OF WHOM THE PARTIES IDENTIFIED IN SUBSECTIONS (A)–(L) OF



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                                                     Pyxus International, Inc., et al.
                     Beneficial Holder Ballot for Class 3 – First Lien Notes Claims
                                 CUSIP NUMBERS: 018772AT0 & U0187PAH9
THE DEFINITION OF “RELEASED PARTY” HAVE THE AUTHORITY,
INCLUDING UNDER ANY AGREEMENT OR APPLICABLE NON-BANKRUPTCY
LAW, TO GRANT THE THIRD-PARTY RELEASE SET FORTH IN ARTICLE VIII.F;
(B) THE HOLDERS OF ALL CLAIMS AND INTERESTS WHO VOTE TO ACCEPT
THE PLAN; (C) THE HOLDERS OF ALL CLAIMS OR INTERESTS THAT ARE
UNIMPAIRED UNDER THE PLAN; (D) THE HOLDERS OF ALL CLAIMS OR
INTERESTS WHOSE VOTE TO ACCEPT OR REJECT THE PLAN IS SOLICITED
BUT WHO DO NOT VOTE EITHER TO ACCEPT OR TO REJECT THE PLAN AND
DO NOT OPT OUT OF GRANTING THE RELEASES SET FORTH HEREIN; (E) THE
HOLDERS OF ALL CLAIMS OR INTERESTS WHO VOTE TO REJECT THE PLAN
BUT DO NOT OPT OUT OF GRANTING THE RELEASES SET FORTH HEREIN; (F)
THE HOLDERS OF ALL CLAIMS OR INTERESTS (OTHER THAN HOLDERS OF
EXISTING PYXUS INTERESTS) WHO ARE DEEMED TO REJECT THE PLAN AND
WHO DO NOT (A) TIMELY PROVIDE, EITHER FORMALLY OR INFORMALLY IN
WRITING, AN OBJECTION TO THE RELEASES CONTAINED IN ARTICLE VIII.F
OF THE PLAN OR (B) ELECT TO OPT OUT OF THE RELEASES CONTAINED IN
ARTICLE VIII.F OF THE PLAN; (G) THE HOLDERS OF ALL CLAIMS AND
INTERESTS (OTHER THAN HOLDERS OF EXISTING PYXUS INTERESTS) WHO
WERE GIVEN NOTICE OF THE OPPORTUNITY TO OPT OUT OF GRANTING THE
RELEASES SET FORTH HEREIN BUT DID NOT OPT OUT; (H) THE HOLDERS OF
EXISTING PYXUS INTERESTS WHO DO NOT DULY SUBMIT AN
EQUITYHOLDER OPT-OUT FORM OPTING OUT OF THE RELEASES
CONTAINED IN ARTICLE VIII.F OF THE PLAN; AND (I) EACH RELATED PARTY
OF EACH ENTITY IN CLAUSE (B) THROUGH CLAUSE (H).

ARTICLE VIII.G OF THE PLAN PROVIDES FOR AN EXCULPATION OF
CERTAIN PARTIES (THE “EXCULPATION”):

Effective as of the Effective Date, to the fullest extent permissible under applicable
law and without affecting or limiting either the Debtor Release or the Third-Party
Release, and except as otherwise specifically provided in the Plan, no Exculpated
Party shall have or incur, and each Exculpated Party is released and exculpated from
any Cause of Action for any claim related to any act or omission in connection with,
relating to, or arising out of, the formulation, preparation, dissemination, negotiation,
entry into, or Filing of, as applicable, the Restructuring Support Agreement and
related prepetition transactions, the Chapter 11 Cases, the Disclosure Statement, the
Plan, the Plan Supplement, or any Restructuring Transaction, contract, instrument,
release, or other agreement or document created or entered into in connection with
the Disclosure Statement or the Plan, the Filing of the Chapter 11 Cases, the pursuit
of Confirmation of the Plan, the pursuit of Consummation of the Plan, the
administration and implementation of the Plan, including the issuance of any
Securities pursuant to the Plan, or the distribution of property under the Plan or any
other related agreement (including, for the avoidance of doubt, providing any legal
opinion requested by any Entity regarding any transaction, contract, instrument,
document, or other agreement contemplated by the Plan or the reliance by any
Exculpated Party on the Plan or the Confirmation Order in lieu of such legal opinion),


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                                                                   Pyxus International, Inc., et al.
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                                                CUSIP NUMBERS: 018772AT0 & U0187PAH9
       except for claims or liabilities arising out of or relating to any act or omission that is
       determined in a Final Order of a court of competent jurisdiction to have constituted
       actual fraud, willful misconduct, or gross negligence, but in all respects such Entities
       shall be entitled to reasonably rely upon the advice of counsel with respect to their
       duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and
       upon completion of the Plan shall be deemed to have, participated in good faith and
       in compliance with the applicable laws with regard to the solicitation of votes and
       distribution of consideration pursuant to the Plan and, therefore, are not, and on
       account of such distributions shall not be, liable at any time for the violation of any
       applicable law, rule, or regulation governing the solicitation of acceptances or
       rejections of the Plan or such distributions made pursuant to the Plan.

       ARTICLE VIII.H OF THE PLAN ESTABLISHES AN INJUNCTION (THE
       “INJUNCTION”):

       Effective as of the Effective Date, pursuant to section 524(a) of the Bankruptcy Code,
       to the fullest extent permissible under applicable law, and except as otherwise
       expressly provided in the Plan or for obligations issued or required to be paid
       pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or
       may hold Claims or Interests that have been released, discharged, or are subject to
       exculpation are permanently enjoined, from and after the Effective Date, from taking
       any of the following actions against, as applicable, the Debtors, the Reorganized
       Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or
       continuing in any manner any action or other proceeding of any kind on account of
       or in connection with or with respect to any such Claims or Interests; (2) enforcing,
       attaching, collecting, or recovering by any manner or means any judgment, award,
       decree, or order against such Entities on account of or in connection with or with
       respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any
       encumbrance of any kind against such Entities or the property or the estates of such
       Entities on account of or in connection with or with respect to any such Claims or
       Interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind
       against any obligation due from such Entities or against the property of such Entities
       on account of or in connection with or with respect to any such Claims or Interests
       unless such Holder has Filed a motion requesting the right to perform such setoff on
       or before the Effective Date, and notwithstanding an indication of a claim or interest
       or otherwise that such Holder asserts, has, or intends to preserve any right of setoff
       pursuant to applicable law or otherwise; and (5) commencing or continuing in any
       manner any action or other proceeding of any kind on account of or in connection
       with or with respect to any such Claims or Interests released or settled pursuant to
       the Plan.

OPTIONAL OPT-OUT ELECTION

If you vote to accept the Plan, you shall be deemed to have consented to the releases, injunction,
and exculpation provisions set forth above. If you do not consent to the releases, injunction, or
exculpation provisions, you may elect not to grant such releases but only if you (1) vote to reject
the Plan in Item 2 above, affirmatively elect to “opt out” of being a releasing party by checking


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                                                                      Pyxus International, Inc., et al.
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the box below, and timely return your Ballot, or (2) abstain from voting by not casting a vote in
Item 2 above, affirmatively elect to “opt out” of being a releasing party by checking the box below,
and timely return your Ballot.

IF YOU VOTE TO ACCEPT THE PLAN, YOU SHALL BE DEEMED TO HAVE
CONSENTED TO THE THIRD-PARTY RELEASE IN ARTICLE VIII OF THE PLAN AND
YOU CANNOT OPT OUT OF THE THIRD-PARTY RELEASE. IF YOU (1) ABSTAIN FROM
VOTING ON THE PLAN OR (2) VOTE TO REJECT THE PLAN AND, IN EITHER CASE, DO
NOT CHECK THE BOX BELOW, YOU SHALL BE DEEMED TO HAVE CONSENTED TO
THE THIRD-PARTY RELEASE AS SET FORTH IN ARTICLE VIII OF THE PLAN.

           The Holder of the Class 3 First Lien Notes Claims set forth in Item 1 elects to:

                                        Opt Out of the Third-Party Release

Item 4. Class 3 First Lien Notes Claims held in Additional Accounts.

By completing and returning this Ballot, the Beneficial Holder of the First Lien Notes Claims
identified in Item 1 certifies that (a) this Ballot is the only Ballot submitted for the Class 3 First
Lien Notes Claims owned by such Beneficial Holder as indicated in Item 1, except for the First
Lien Notes Claims identified in the following table (please use additional sheets of paper if
necessary); and (b) all Ballots for First Lien Notes Claims submitted by the Beneficial Holder
indicate the same vote to accept or reject the Plan that the Beneficial Holder has indicated in Item
2 of this Ballot. To be clear, if any Beneficial Holder holds First Lien Notes Claims through
one or more Nominees, such Beneficial Holder must identify all First Lien Notes Claims held
through each Nominee in the following table, and must confirm the same vote to accept or
reject the Plan on all ballots submitted.

     ONLY COMPLETE THIS ITEM 4 IF YOU HAVE SUBMITTED OTHER BALLOTS

                                                                              Principal Amount of Other Class 3
     Account Number                       Name of Holder5                       First Lien Notes Claims Voted




5
  Insert your name if you are the Holder of record of the Class 3 First Lien Notes Claims, or, if held in a street name,
insert the name of your Nominee.



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                                                                    Pyxus International, Inc., et al.
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Item 5. Certifications.

Upon execution of this Ballot, the undersigned certifies that:

1.     as of the Voting Record Date, it was the Beneficial Holder (or an authorized signatory for
       a Beneficial Holder) of the Class 3 First Lien Notes Claims set forth in Item 1;

2.     it is eligible to be treated as the Holder of the Class 3 First Lien Notes Claims set forth in
       Item 1 for the purposes of voting on the Plan;

3.     it has received a copy of the Solicitation Package and acknowledges that the solicitation is
       being made pursuant to the terms and conditions set forth therein;

4.     it has not relied on any statement made or other information received from any person with
       respect to the Plan other than the information contained in the Solicitation Package
       materials;

5.     it has cast the same vote with respect to each of the Holder’s Class 3 First Lien Notes
       Claims;

6.     it understands the treatment provided for its Class 3 First Lien Notes Claims under the Plan;

7.     it understands the recoveries provided for in the Plan are expressly conditioned upon
       confirmation and consummation of the Plan;

8.     it acknowledges and agrees that the Debtors may make conforming changes to the Plan as
       may be reasonably necessary, subject to section 1127 of the Bankruptcy Code and in
       accordance with the terms and conditions set forth in the Restructuring Support Agreement;
       provided that the Debtors will not resolicit acceptances or rejections of the Plan in the event
       of such conforming changes unless otherwise required to by the Bankruptcy Court;

9.     it understands and acknowledges that only the last properly executed ballot cast prior to
       the Voting Deadline with respect to the Class 3 First Lien Notes Claims set forth in Item 1
       will be counted, and, if any other ballot has been previously cast with respect to the Class
       3 First Lien Notes Claims set forth in Item 1, such other ballot shall be deemed revoked;

10.    it understands and acknowledges that the securities being distributed pursuant to the Plan
       are not being distributed pursuant to a registration statement filed with the United States
       Securities and Exchange Commission, and that such securities will be acquired for the
       Holder’s own account and not with a view to any distribution of such securities in violation
       of the United States Securities Act of 1933, 15 U.S.C. §§ 77a–77aa;

11.    the undersigned is (a) an “accredited investor” as that term is defined by Rule 501 of
       Regulation D, 17 C.F.R. § 230.501(a), promulgated under the Securities Act of 1933, 15
       U.S.C. §§ 77a-77aa (as amended), or (b) the authorized signatory for a Holder of Class 3
       First Lien Notes Claims that is an “accredited investor;” provided, that, the undersigned’s
       certification with respect to this clause in respect of any beneficial owner is made solely in
       reliance by the undersigned on a certification provided by such beneficial owner to the


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                                                                 Pyxus International, Inc., et al.
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      undersigned that such beneficial owner is an “accredited investor” and the undersigned
      assumes no liability or responsibility for any beneficial owner’s status and makes no
      representation or warranty with respect thereto;

12.   it has full and complete authority to execute and submit this Ballot.

                         [Remainder of page intentionally left blank]




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                                                               Pyxus International, Inc., et al.
                               Beneficial Holder Ballot for Class 3 – First Lien Notes Claims
                                           CUSIP NUMBERS: 018772AT0 & U0187PAH9
Item 6. Holder Information and Signature.

BALLOT COMPLETION INFORMATION — COMPLETE THIS SECTION

 Name of the Beneficial
 Holder:

 Signature:

 Signatory Name (if other
 than the Beneficial
 Holder):

 Title:

 Address:

 Email Address:

 Telephone Number:

 Date Completed:

     PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT
   PROMPTLY IN THE ENVELOPE PROVIDED OR AS OTHERWISE DIRECTED.

  THIS BALLOT OR, IF APPLICABLE, THE MASTER BALLOT CAST ON YOUR
 BEHALF, MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS
ACTUALLY RECEIVED BY THE SOLICITATION AGENT PRIOR TO THE VOTING
                             DEADLINE.



                            [Remainder of page intentionally left blank]




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                                                          Pyxus International, Inc., et al.
                          Beneficial Holder Ballot for Class 3 – First Lien Notes Claims
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                INSTRUCTIONS FOR COMPLETING THIS BALLOT

1.   The Debtors are soliciting the votes of Holders of Class 3 First Lien Notes Claims with
     respect to the Plan. The Plan and Disclosure Statement are included in the packet you are
     receiving with this Ballot. Capitalized terms used and not defined herein have the meaning
     given to such terms in the Plan or the Disclosure Statement, as applicable.

2.   The Plan can be confirmed by the Bankruptcy Court and thereby made binding upon you
     if it is accepted by the Holders of two-thirds of the aggregate principal amount and more
     than one-half in number of the Claims voted in each Class that votes on the Plan and if the
     Plan otherwise satisfies the requirements of section 1129(a) of the Bankruptcy Code. If the
     requisite acceptances are not obtained, the Bankruptcy Court may nonetheless confirm the
     Plan if it finds that the Plan (a) provides fair and equitable treatment to, and does not
     discriminate unfairly against, the Class or Classes rejecting it and (b) otherwise satisfies
     the requirements of section 1129(b) of the Bankruptcy Code.

3.   To ensure that your vote is counted, you must deliver this Ballot to the following, as
     applicable:

     a.     If you received this Ballot and a return envelope addressed to your Nominee, you
            must return your completed Ballot directly to your Nominee in accordance with the
            instructions provided by your Nominee, and, in any event, with sufficient time to
            permit your Nominee to deliver your vote(s) on a completed Master Ballot so that
            it is actually received by the Solicitation Agent before the Voting Deadline.

                                             -or-

     b.     If you received this Ballot and a return envelope addressed to the Solicitation
            Agent, you must deliver a Pre-Validated Ballot directly to the Solicitation Agent
            by using the enclosed return envelope addressed to Prime Clerk, LLC so as to be
            actually received by the Solicitation Agent before the Voting Deadline.

4.   Any ballot received by the Solicitation Agent (including via a Nominee or a Master Ballot)
     after the Voting Deadline will not be counted unless the Debtors determine otherwise or as
     permitted by the Bankruptcy Court. Except as otherwise provided herein, such delivery
     will be deemed made only when the Solicitation Agent actually receives the executed ballot
     or Master Ballot, as applicable. In all cases, Holders should allow sufficient time to assure
     timely delivery. No ballot should be sent to the Debtors or the Debtors’ financial or legal
     advisors.

5.   If you deliver multiple ballots to the Solicitation Agent, as applicable, the last properly
     executed ballot timely received will supersede and revoke any earlier received ballot.

6.   This Ballot is not a letter of transmittal and may not be used for any purpose other than to
     vote to accept or reject the Plan. Accordingly, at this time, creditors should not surrender
     certificates or instruments representing or evidencing their Claims, and neither the Debtors




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      nor the Solicitation Agent will accept delivery of any such certificates or instruments
      surrendered together with this Ballot.

7.    This Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or an
      assertion or admission of a Claim.

8.    You must vote all of your Claims within a particular Class either to accept or reject the
      Plan (i.e., you may not split your vote).

9.    If you hold Claims in more than one Class under the Plan, or in multiple accounts, you will
      receive more than one ballot coded for each different Class or account. Each ballot votes
      only your Claims indicated on that ballot. Please complete and return each ballot you
      receive.

10.   Please be sure to sign and date this Ballot. If you are signing this Ballot in your capacity as
      a trustee, executor, administrator, guardian, attorney in fact, officer of a corporation, or
      otherwise acting in a fiduciary or representative capacity, you should indicate such capacity
      when signing and, if requested by the Solicitation Agent or the Debtors, must submit proper
      evidence of such capacity to the requesting party. In addition, please provide your name
      and mailing address if it is different from that set forth on the attached mailing label or if
      no such mailing label is attached to this Ballot.

11.   The following ballots or Master Ballots, as applicable, shall not be counted in determining
      the acceptance or rejection of the Plan: (a) any ballot or Master Ballot that is illegible or
      contains insufficient information to permit the identification of the Holder of the Claim;
      (b) any ballot or Master Ballot not actually received by the Solicitation Agent before the
      Voting Deadline, unless the Debtors determine otherwise or as permitted by the
      Bankruptcy Court; (c) any unsigned ballot or Master Ballot; (d) any ballot or Master Ballot
      that does not contain an original signature; provided that a ballot or Master Ballot submitted
      by electronic means shall be deemed to bear an original signature; (e) any ballot or Master
      Ballot that partially rejects and partially accepts the Plan; (f) any ballot or Master Ballot
      not marked to either accept or reject the Plan, or marked to both accept and reject the Plan;
      and (g) any ballot or Master Ballot superseded by a later, timely submitted valid ballot.

12.   If you believe you have received the wrong ballot, you should contact your Nominee.

                      PLEASE MAIL YOUR BALLOT PROMPTLY!

     IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE
   PROCEDURE FOR VOTING ON THE PLAN, OR IF YOU HAVE RECEIVED A
    DAMAGED BALLOT OR HAVE LOST YOUR BALLOT, OR IF YOU NEED
 ADDITIONAL COPIES OF THE BALLOT, DISCLOSURE STATEMENT, PLAN, OR
     OTHER RELATED MATERIALS, PLEASE CONTACT YOUR NOMINEE.




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                                         Exhibit A

Please check one box below to indicate the Plan Class and CUSIP/ISIN to which this
Beneficial Holder Ballot pertains (or clearly indicate such information directly on the
Beneficial Holder Ballot or on a schedule thereto):


                             CLASS 3 – FIRST LIEN NOTES CLAIMS

      8.5% due 4/15/2021 (Series 144A)           CUSIP 018772AT0 / ISIN US018772AT05

    8.5% due 4/15/2021 (Series REGS 144A)       CUSIP U0187PAH9/ ISIN USU0187PAH92




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                        Exhibit B
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                                                                                       Pyxus International, Inc., et al.
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             NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE, OR
             TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS INCLUDED IN THE
             MATERIALS MAILED WITH THIS BALLOT.

             IMPORTANT: NO CHAPTER 11 CASES HAVE BEEN COMMENCED AS OF THE DATE
             OF THE DISTRIBUTION OF THIS BALLOT. THE DEBTORS INTEND TO FILE CHAPTER
             11 CASES AND SEEK CONFIRMATION OF THE PLAN BY THE BANKRUPTCY COURT
             SHORTLY THEREAFTER AS DESCRIBED IN GREATER DETAIL IN THE
             ACCOMPANYING DISCLOSURE STATEMENT.

                                                                  )
                 In re:                                           )   Chapter 11
                                                                  )
                 PYXUS INTERNATIONAL, INC., et al.,1              )   IMPORTANT: No chapter 11 case has been
                                                                  )   commenced as of the date of the distribution of
                                         Debtors.                 )   this ballot. This ballot is being distributed to
                                                                  )   you as a part of a prepetition solicitation of your
                                                                  )   vote on a prepackaged plan of reorganization.

             MASTER BALLOT FOR ACCEPTING OR REJECTING THE JOINT PREPACKAGED
              CHAPTER 11 PLAN OF REORGANIZATION OF PYXUS INTERNATIONAL, INC.
                                AND ITS AFFILIATED DEBTORS

                                          CLASS 3 – FIRST LIEN NOTES CLAIMS

                         IF YOU HAVE ANY QUESTIONS REGARDING THIS MASTER BALLOT, THE
                          VOTING PROCEDURES, OR ANY OF THE SOLICITATION MATERIALS YOU
                          HAVE RECEIVED, OR YOU NEED TO OBTAIN ADDITIONAL SOLICITATION
                          MATERIALS, PLEASE CONTACT THE DEBTORS’ PROPOSED NOTICE AND
                          SOLICITATION AGENT, PRIME CLERK LLC (THE “SOLICITATION AGENT”)
                          BY: (1) CALLING THE DEBTORS’ SOLICITATION AGENT AT 1-(844)-974- 2130
                          (TOLL-FREE) OR 1-(929)-955-3418 (INTERNATIONAL), (2) EMAILING
                          PYXUSBALLOTS@PRIMECLERK.COM AND REFERENCING                 “PYXUS
                          BALLOT PROCESSING” IN THE SUBJECT LINE, (3) VISITING THE DEBTORS’
                          SOLICITATION WEBSITE AT HTTPS://CASES.PRIMECLERK.COM/PYXUS,
                          AND/OR (4) WRITING TO THE SOLICITATION AGENT AT THE FOLLOWING
                          ADDRESS: PYXUS BALLOT PROCESSING, C/O PRIME CLERK LLC, ONE
                          GRAND CENTRAL PLACE, 60 EAST 42ND STREET, SUITE 1440, NEW YORK,
                          NY 10165.



             1
               The Debtors in the Chapter 11 Cases, along with the last four digits of each Debtor’s United States federal tax
             identification number, are: Pyxus International, Inc. (6567), Alliance One International, LLC (3302), Alliance One
             North America, LLC (7908), Alliance One Specialty Products, LLC (0115) and GSP Properties, LLC (5603). The
             Debtors’ mailing address is 8001 Aerial Center Parkway, Morrisville, NC 27560-8417.
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                        PLEASE READ AND FOLLOW THE ENCLOSED VOTING INSTRUCTIONS
                         CAREFULLY BEFORE COMPLETING THIS MASTER BALLOT.

                        THIS MASTER BALLOT MUST BE ACTUALLY RECEIVED BY THE
                         SOLICITATION AGENT BEFORE 5:00 P.M., PREVAILING EASTERN TIME
                         ON JULY 20, 2020 (THE “VOTING DEADLINE”). IF THE SOLICITATION
                         AGENT DOES NOT RECEIVE YOUR MASTER BALLOT BEFORE THE VOTING
                         DEADLINE, AND UNLESS THE DEBTORS DETERMINE OTHERWISE OR AS
                         PERMITTED BY THE BANKRUPTCY COURT, YOUR VOTE WILL NOT BE
                         COUNTED.

                        NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
                         ADVICE, OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS
                         INCLUDED IN THE MATERIALS MAILED WITH THIS MASTER BALLOT.


             The Debtors are sending this master ballot (this “Master Ballot”) to brokers, dealers, commercial
             banks, trust companies, or other agent nominees (each a “Nominee”) of Beneficial Holders2 of
             Class 3 First Lien Notes Claims as of June 12, 2020 (the “Voting Record Date”) in connection
             with the Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus International, Inc. and
             Its Affiliated Debtors (as may be amended, modified, or supplemented from time to time in
             accordance with its terms and including all exhibits or supplements thereto, the “Plan”).3
             Nominees should use this Master Ballot to (a) cast votes to accept or reject the Plan and (b) make
             elections, each on behalf of and in accordance with the ballots cast by the Beneficial Holders
             holding Class 3 First Lien Notes Claims through them. In lieu of submitting this Master Ballot,
             Nominees may also send Beneficial Holders a pre-validated Class 3 First Lien Notes Claims ballot
             (a “Pre-Validated Ballot”). Based on your decision whether or not to pre-validate the ballot, the
             below guidance with respect to pre-validation is mutually exclusive.

             PRE-VALIDATED BALLOT. You may pre-validate a ballot by completing a ballot with the
             exception of Items 2 and 3 and indicating on the ballot: (a) the name of the Nominee; (b) the
             aggregate principal amount of Class 3 First Lien Notes Claims held by such Nominee for the
             Beneficial Holder; and (c) the account number(s) for the account(s) in which such Class 3 First
             Lien Notes Claims are held by the Nominee. Once you pre-validate a ballot, you must
             IMMEDIATELY forward the solicitation materials to each applicable Beneficial Holder,
             including (i) the pre-validated ballot, (ii) the Plan and the Disclosure Statement, (iii) a postage pre-
             paid return envelope addressed to the Solicitation Agent, and (iv) clear instructions that the
             Beneficial Holder must return its completed and executed ballot to the Solicitation Agent before
             the Voting Deadline.


             2
              A “Beneficial Holder” is a beneficial owner of Class 3 First Lien Notes Claims whose Claims have not been satisfied
             prior to the Voting Record Date pursuant to court order or otherwise, as reflected in the records maintained by the
             Nominees (as defined herein) holding through the Depository Trust Company or other relevant security depository
             and/or the applicable indenture trustee, as of the Voting Record Date.
             3
                 Capitalized terms used but not defined herein have the meaning given to such terms in the Disclosure Statement.


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             NOT PRE-VALIDATED BALLOT. If you choose not to pre-validate ballots, you must
             IMMEDIATELY forward the solicitation materials to each Beneficial Holder, including (a) the
             ballot, (b) the Plan and the Disclosure Statement, (c) a return envelope addressed to you, its
             Nominee, and (d) clear instructions stating that the Beneficial Holder must return its ballot directly
             to you in sufficient time to allow you to execute this Master Ballot and return it to the Solicitation
             Agent before the Voting Deadline. Upon receipt of completed and executed ballots returned to
             you by the Beneficial Holder, you must compile and validate the Beneficial Holder’s votes and
             other relevant information using the customer’s name or account number. You must then execute
             this Master Ballot and transmit it to the Solicitation Agent by the Voting Deadline. You must
             retain such ballots in your files for a period of one (1) year following the Voting Deadline (or such
             other date as is set by subsequent Bankruptcy Court order) as you may be ordered to produce the
             Beneficial Holder ballots to the Debtors or the Bankruptcy Court.4

             NO fees or commissions or other remuneration will be payable to you in your capacity as Nominee
             for soliciting votes on the proposals related to the Plan. The Debtors will, however, upon written
             request, reimburse you for customary mailing and handling expenses you incur in forwarding the
             ballot and other enclosed materials to Beneficial Holders.

             This Master Ballot may not be used for any purpose other than for submitting votes with respect
             to Plan. Your rights and the rights of Beneficial Holders are described in the Disclosure Statement
             for the Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus International, Inc. and Its
             Affiliated Debtors, dated June 14, 2020 (as may be amended, modified, or supplemented from time
             to time and including all exhibits or supplements thereto, the “Disclosure Statement”). The Plan,
             the Disclosure Statement, and the Class 3 First Lien Notes Claims ballot (the “Beneficial Holder
             Ballot,” collectively, together with a pre-addressed, postage pre-paid return envelope, the
             “Solicitation Package”) were sent to you as Nominee for the Beneficial Holders of Class 3 First
             Lien Notes Claims. If you believe you have received this Master Ballot in error, or if you believe
             you received the wrong Master Ballot, please contact the Solicitation Agent immediately at the
             email address or telephone number set forth above.

             You are authorized to collect votes to accept or to reject the Plan from Beneficial Holders in
             accordance with your customary practices, including the use of a “voting instruction form” in lieu
             of (or in addition to) a Beneficial Holder Ballot, and collecting votes from Beneficial Holders
             through online voting, by phone, facsimile, or other electronic means.

                 THIS MASTER BALLOT MUST BE ACTUALLY RECEIVED BY THE SOLICITATION
                   AGENT BEFORE 5:00 P.M. (PREVAILING EASTERN TIME) ON JULY 20, 2020
                                       (THE “VOTING DEADLINE”).

                    IF THE SOLICITATION AGENT DOES NOT RECEIVE YOUR MASTER BALLOT
                    BEFORE THE VOTING DEADLINE, AND UNLESS THE DEBTORS DETERMINE
                    OTHERWISE OR AS PERMITTED BY THE BANKRUPTCY COURT, YOUR VOTE
                                          WILL NOT BE COUNTED.


             4
                 Nominees may disseminate the notices and voting materials using their standard procedures.


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             Item 1. Certification of Authority to Vote.

             The undersigned certifies that, as of the Voting Record Date, the undersigned (please check the
             applicable box):

                      ☐        is a Nominee for Beneficial Holder(s) on account of the Class 3 First Lien Notes
                               Claims listed in Item 2 below;

                      ☐        is acting under a power of attorney and/or agency (a copy of which must be
                               provided upon request) granted by the Beneficial Holder(s) or a Nominee that is the
                               registered Holder of the Class 3 First Lien Notes Claims listed in Item 2 below; or

                      ☐        has been granted a proxy from (a) a Nominee; or (b) the Beneficial Holder that is
                               the registered Holder of the Class 3 First Lien Notes Claim listed in Item 2 below.

             Accordingly, the undersigned certifies that it has full power and authority to vote to accept or reject
             the Plan on behalf of such Beneficial Holder(s) on account of such Class 3 First Lien Notes Claims.

             Item 2. Vote of Class 3 First Lien Notes Claims.

             The undersigned transmits the following vote(s) of the Beneficial Holder(s) in respect of their
             Class 3 First Lien Notes Claim(s), and certifies that the following Beneficial Holders, as identified
             by their respective customer account numbers set forth below, are a Beneficial Holder as of the
             Voting Record Date and have delivered to the undersigned, as Nominee, properly executed
             Beneficial Holder Ballots casting such votes:5

                                                            CUSIP NUMBER: [●]
                                                                       Item 2                                                 Item 3
                                    Principal Amount of Allowed                  Principal Amount of Allowed
                                    First Lien Notes Claims Voted                First Lien Notes Claims Voted          If the Beneficial
                                         to ACCEPT the Plan                           to REJECT the Plan              Holder rejected the
        Customer Account
                                                                                                                       Plan and checked
       Number or Name of
                                                                                                                      the box in Item 3 of
      Each Beneficial Holder
                                                                                                                         the Beneficial
                                                                                                                      Holder Ballot, place
                                                                                                                         an “X” in the
                                                                                                                         column below
      1.                          $                                     OR      $

      2.                          $                                     OR      $




             5
               Indicate in the appropriate column the aggregate principal amount voted for each account, or attach such information
             to this Master Ballot in the form of the following table. Please note each Beneficial Holder must vote all of each such
             Beneficial Holder’s Class 3 First Lien Notes Claims to accept or to reject the Plan, and may not split such vote. Any
             Beneficial Holder Ballot executed by the Beneficial Holder that does not indicate an acceptance or rejection of the
             Plan, or which indicates both an acceptance and a rejection of the Plan, shall not be counted.


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      3.                         $                              OR      $

      4.                         $                              OR      $

      5.                         $                              OR      $

      6.                         $                              OR      $

      7.                         $                              OR      $

      8.                         $                              OR      $

      9.                         $                              OR      $

      10.                        $                              OR      $

              TOTAL              $                                      $

             IF YOU ARE ACTING AS A VOTING NOMINEE FOR MORE THAN TEN BENEFICIAL
             HOLDERS, PLEASE ATTACH ADDITIONAL SHEETS, AS NECESSARY.

             Item 3. Releases.

             The language with respect to Third-Party Releases included in Item 3 of the Beneficial Holder
             Ballot is shown in Annex A attached hereto.

             Item 4. Certification as to Transcription of Information from Item 4 of the Beneficial Holder
             Ballots as to Class 3 First Lien Notes Claims Voted Through Other Ballots. The undersigned
             certifies that it has transcribed in the following table the information, if any, that the Beneficial
             Holders have provided in Item 4 of the Beneficial Holder Ballot, identifying any Class 3 First Lien
             Notes Claims for which such Beneficial Holders have submitted other ballots (other than to the
             undersigned):

                  Your Customer
                                       TRANSCRIBE FROM ITEM 4 OF THE BENEFICIAL HOLDER BALLOTS:
               Account Number for
                  Each Beneficial
                                       Account Number of                                        Principal Amount
                   Holder That
                                       Other Class 3 First                                       of Other Class 3
               Completed Item 4 of                                     Name of Holder
                                       Lien Notes Claims                                         First Lien Notes
               the Beneficial Holder
                                             Voted                                                Claims Voted
                      Ballot
              1.                                                                               $
              2.                                                                               $
              3.                                                                               $
              4.                                                                               $
              5.                                                                               $
              6.                                                                               $
              7.                                                                               $



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             Item 5. Certifications.

             By signing this Master Ballot, the undersigned certifies that:

                    1.      (i) it has received a copy of the Disclosure Statement, the Plan, the Beneficial
                            Holder Ballot, and the Solicitation Package, and has delivered the same to the
                            Beneficial Holders holding Class 3 First Lien Notes Claims through the
                            undersigned; (ii) it has received a completed and signed Beneficial Holder Ballot
                            from each such Beneficial Holder; (iii) it is the registered Holder of the securities
                            being voted, or is the agent thereof; and (iv) it has been authorized by each such
                            Beneficial Holder to vote on the Plan and to make applicable elections;

                    2.      it has properly disclosed: (i) the number of Beneficial Holders holding Class 3 First
                            Lien Claims through the undersigned; (ii) the respective amounts of Class 3 First
                            Lien Notes Claims owned by each Beneficial Holder; (iii) each such Beneficial
                            Holder’s respective vote concerning the Plan; and (iv) the customer account or
                            other identification number for each such Beneficial Holder;

                    3.      if it is a Beneficial Holder and uses this Master Ballot to vote the undersigned’s
                            Class 3 First Lien Notes Claims, it confirms and attests to each of the certifications
                            in Item 5 of the applicable Beneficial Holder Ballot;

                    4.      each such Beneficial Holder has certified to it, or an intermediary Nominee, as
                            applicable, that the Beneficial Holder is eligible to vote on the Plan;

                    5.      the undersigned is (a) an “accredited investor” as that term is defined by Rule 501
                            of Regulation D, 17 C.F.R. § 230.501(a), promulgated under the Securities Act of
                            1933, 15 U.S.C. §§ 77a-77aa (as amended), or (b) the authorized signatory for a
                            Holder of Class 3 First Lien Notes Claims that is an “accredited investor;” provided,
                            that, the undersigned’s certification with respect to this clause 5 in respect of any
                            beneficial owner is made solely in reliance by the undersigned on a certification
                            provided by such beneficial owner to the undersigned that such beneficial owner is
                            an “accredited investor” and the undersigned assumes no liability or responsibility
                            for any beneficial owner’s status and makes no representation or warranty with
                            respect thereto; and

                    6.      it will maintain the Beneficial Holder Ballots and evidence of separate transactions
                            returned by the Beneficial Holders (whether properly completed or defective) for
                            at least one year after the Voting Deadline (or such other date as is set by subsequent
                            Bankruptcy Court order), and disclose all such information to the Bankruptcy Court
                            or the Debtors, as the case may be, if so ordered.

                                        [Remainder of page intentionally left blank]




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             Item 6. Voter Information and Signature.

             BALLOT COMPLETION INFORMATION — COMPLETE THIS SECTION
             Nominee Name:
             Participant Number:
             Name of Agent for Nominee
             (if applicable):
             Signature:
             Signatory Name (if other
             than Nominee):
             Title:
             Address:
             Email Address:
             Telephone:
             Date Completed:

             PLEASE COMPLETE, SIGN, AND DATE THIS MASTER BALLOT AND RETURN IT
                                         PROMPTLY!

             THIS MASTER BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED BY
             ONE OF THE FOLLOWING RETURN METHODS SO THAT IT IS ACTUALLY
             RECEIVED BY THE SOLICITATION AGENT PRIOR TO THE VOTING DEADLINE:

             (I)      IN THE ENCLOSED PRE-PAID, PRE-ADDRESSED RETURN ENVELOPE;
             (II)     VIA OVERNIGHT COURIER, OR HAND DELIVERY TO THE ADDRESS SET
                      FORTH BELOW; OR
             (III)    VIA EMAIL (ATTACHING A SCANNED PDF OF THE FULLY EXECUTED
                      MASTER BALLOT) TO PYXUSBALLOTS@PRIMECLERK.COM, SUBJECT
                      LINE: “PYXUS BALLOT PROCESSING”
                                          Pyxus Ballot Processing
                                           c/o Prime Clerk LLC
                                          One Grand Central Place
                                       60 East 42nd Street, Suite 1440
                                           New York, NY 10165

             PLEASE CHOOSE ONLY ONE METHOD TO RETURN THIS MASTER BALLOT.
             THIS MASTER BALLOT MUST BE RECEIVED BEFORE THE VOTING DEADLINE.



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                                       MASTER BALLOT INSTRUCTIONS

             1.   To have the votes of your Beneficial Holders count, you should already have done one of
                  the following:

                  (a)     delivered the Beneficial Holder Ballots and the Solicitation Package to each
                          Beneficial Holder with clear instructions on when to return such ballots to you to
                          allow you to complete and return this Master Ballot so that the Solicitation Agent
                          actually receives it prior to the Voting Deadline;

                                                          -or-

                  (b)     if you are not submitting this Master Ballot, sent the Beneficial Holders the Pre-
                          Validated Ballots in their Solicitation Package for direct return to the Solicitation
                          Agent.

             2.   The Plan can be confirmed by the Bankruptcy Court and thereby made binding upon you
                  if it is accepted by the Holders of two-thirds of the aggregate principal amount and more
                  than one-half in number of the Claims voted in each Class that votes on the Plan and if the
                  Plan otherwise satisfies the requirements of section 1129(a) of the Bankruptcy Code. If
                  the requisite acceptances are not obtained, the Bankruptcy Court may nonetheless confirm
                  the Plan if it finds that the Plan (a) provides fair and equitable treatment to, and does not
                  discriminate unfairly against, the Class or Classes rejecting it and (b) otherwise satisfies
                  the requirements of section 1129(b) of the Bankruptcy Code.

             3.   With regard to any Beneficial Holder Ballots returned to you, to have the vote of your
                  Beneficial Holder count, you must: (a) retain such Beneficial Holder Ballots in your files
                  and transfer the requested information from each such Beneficial Holder Ballot onto this
                  Master Ballot; (b) sign, date and otherwise execute this Master Ballot; and (c) deliver this
                  Master Ballot to the Solicitation Agent prior to the Voting Deadline in accordance with the
                  instructions on this Master Ballot.

             4.   If this Master Ballot is received after the Voting Deadline, it will not be counted, unless
                  the Debtors determine otherwise or as permitted by the Bankruptcy Court. The method of
                  delivery of this Master Ballot to the Solicitation Agent is at your election and risk.

             5.   If you deliver multiple ballots to the Solicitation Agent, as applicable, the last properly
                  executed ballot timely received will supersede and revoke any earlier received ballot.

             6.   Please keep any records of the Beneficial Holder Ballots received from Beneficial Holders
                  for at least one year after the Voting Deadline (or such other date as is set by subsequent
                  Bankruptcy Court order). You may be ordered to produce the Beneficial Holder Ballots to
                  the Debtors or the Bankruptcy Court.

             7.   If you are both the Nominee and Beneficial Holder, and you wish to vote such Class 3 First
                  Lien Notes Claims for which you are a Beneficial Holder, you may return either a
                  Beneficial Holder Ballot or this Master Ballot for such Class 3 First Lien Notes Claims.

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             8.     This Master Ballot is not a letter of transmittal and may not be used for any purpose other
                    than to vote to accept or reject the Plan. Accordingly, at this time, creditors should not
                    surrender certificates or instruments representing or evidencing their Claims, and neither
                    the Debtors nor the Solicitation Agent will accept delivery of any such certificates or
                    instruments surrendered together with this Master Ballot.

             9.     This Master Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or
                    an assertion or admission of a Claim.

             10.    Please be sure to sign and date this Master Ballot. If you are signing this Master Ballot in
                    your capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
                    corporation, or otherwise acting in a fiduciary or representative capacity, you should
                    indicate such capacity when signing and, if requested by the Solicitation Agent or the
                    Debtors, must submit proper evidence of such capacity to the requesting party. In addition,
                    please provide your name and mailing address if it is different from that set forth on the
                    attached mailing label or if no such mailing label is attached to this Master Ballot.

             11.    The following ballots or Master Ballots, as applicable, shall not be counted in determining
                    the acceptance or rejection of the Plan: (a) any ballot or Master Ballot that is illegible or
                    contains insufficient information to permit the identification of the Holder of the Claim;
                    (b) any ballot or Master Ballot not actually received by the Solicitation Agent before the
                    Voting Deadline, unless the Debtors determine otherwise or as permitted by the
                    Bankruptcy Court; (c) any unsigned ballot or Master Ballot; (d) any ballot or Master Ballot
                    that does not contain an original signature; provided that a ballot or Master Ballot submitted
                    by electronic means shall be deemed to bear an original signature; (e) any ballot or Master
                    Ballot that partially rejects and partially accepts the Plan; (f) any ballot or Master Ballot
                    not marked to either accept or reject the Plan, or marked to both accept and reject the Plan;
                    and (g) any ballot or Master Ballot superseded by a later, timely submitted valid ballot.

             If you believe you have received the wrong ballot, you should contact the Solicitation Agent
             immediately at 1-(844)-974- 2130 (toll-free) or 1-(929)-955-3418 (international).

                                   PLEASE MAIL YOUR BALLOT PROMPTLY!

                   IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE
                PROCEDURE FOR VOTING ON THE PLAN, OR IF YOU HAVE RECEIVED A
                  DAMAGED BALLOT OR HAVE LOST YOUR BALLOT, OR IF YOU NEED
                 ADDITIONAL COPIES OF THE MASTER BALLOT, BENEFICIAL HOLDER
             BALLOT, DISCLOSURE STATEMENT, PLAN, OR OTHER RELATED MATERIALS,
             PLEASE CONTACT PRIME CLERK, LLC (THE DEBTORS’ SOLICITATION AGENT)
             AT: 1-(844)-974- 2130 (TOLL-FREE) OR 1-(929)-955-3418 (INTERNATIONAL) OR VIA
                EMAIL: PYXUSBALLOTS@PRIMECLERK.COM, SUBJECT LINE: “PYXUS
                                         BALLOT PROCESSING”.

              PLEASE BE ADVISED THAT THE SOLICITATION AGENT IS NOT AUTHORIZED
                      TO PROVIDE, AND WILL NOT PROVIDE, LEGAL ADVICE.


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                                                           Annex A

             Release Language from Beneficial Holder Ballot

             Important information regarding the Releases by Holders of Claims and Interests of the Debtors,
             Exculpation and Injunction Provisions, and Optional Opt-Out Election.

             The Plan contains a series of releases that are part of the overall restructuring set forth in the Plan
             and described in greater detail in the Disclosure Statement. In that respect, parties should be aware
             that, if the Plan is confirmed and the Effective Date occurs, certain parties will be getting releases
             and certain parties will be giving releases as set forth in Article VIII of the Plan. For your
             convenience, excerpts of the release provisions from the Plan are set forth below, however, you
             should carefully read the enclosed Disclosure Statement and Plan with respect to the releases.

                    ARTICLE VIII.F OF THE PLAN PROVIDES FOR A THIRD-PARTY RELEASE
                    BY THE RELEASING PARTIES (THE “THIRD-PARTY RELEASE”):

                    Effective as of the Effective Date, each Releasing Party, in each case on behalf of itself
                    and its respective successors, assigns, and representatives, and any and all other
                    Entities who may purport to assert any Cause of Action, directly or derivatively, by,
                    through, for, or because of the foregoing Entities, is deemed to have released and
                    discharged each Debtor, Reorganized Debtor, and Released Party from any and all
                    Causes of Action, whether known or unknown (including any derivative claims,
                    asserted or assertable on behalf of any of the Debtors) that such Entity would have
                    been legally entitled to assert (whether individually or collectively), based on or
                    relating to, or in any manner arising from, in whole or in part, the Debtors (including
                    the management, ownership or operation thereof), the purchase, sale, or rescission of
                    any Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
                    transactions or events giving rise to, any Claim or Interest that is treated in the Plan,
                    the business or contractual arrangements between any Debtor and any Released
                    Party, the Debtors’ in- or out-of-court restructuring efforts, intercompany
                    transactions, the DIP Facility, the DIP Orders, the First Lien Notes, the Second Lien
                    Notes, the Exit ABL Facility, the Exit Term Facility, the Exit Secured Notes or
                    Replacement First Lien Financing, as applicable, the Chapter 11 Cases, the
                    formulation, preparation, dissemination, negotiation, entry into, or Filing of, as
                    applicable, the Restructuring Support Agreement and related prepetition
                    transactions, the Disclosure Statement, the New Pyxus Constituent Documents, the
                    New Shareholders Agreement, the Plan, or any Restructuring Transaction, contract,
                    instrument, release, or other agreement or document created or entered into in
                    connection with the Restructuring Support Agreement, the Disclosure Statement, the
                    New Pyxus Constituent Documents, the New Shareholders Agreement, or the Plan
                    (including, for the avoidance of doubt, providing any legal opinion requested by any
                    Entity regarding any transaction, contract, instrument, document, or other
                    agreement contemplated by the Plan or the reliance by any Released Party on the
                    Plan or the Confirmation Order in lieu of such legal opinion), the Plan Supplement,
                    the Filing of the Chapter 11 Cases, the pursuit of Confirmation of the Plan, the pursuit


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             of Consummation of the Plan, the administration and implementation of the Plan,
             including the issuance or distribution of any Securities pursuant to the Plan, or the
             distribution of property under the Plan or any other related agreement, or upon any
             other related act, omission, transaction, agreement, event, or other occurrence taking
             place on or before the Effective Date except for claims or liabilities arising out of or
             relating to any act or omission by a Released Party that is determined in a Final Order
             of a court of competent jurisdiction to have constituted actual fraud. Notwithstanding
             anything to the contrary in the foregoing, the releases set forth above do not release
             any obligations arising after Consummation of any party or Entity under the Plan,
             any Restructuring Transaction, any document, instrument, or agreement (including
             those set forth in the Plan Supplement) executed to implement the Plan, including the
             assumption of the Indemnification Provisions as set forth in the Plan.

             IMPORTANT INFORMATION REGARDING THE THIRD-PARTY RELEASE:

             UNDER THE PLAN, “RELEASED PARTY” MEANS COLLECTIVELY, AND IN
             EACH CASE IN ITS CAPACITY AS SUCH: (A) EACH OF THE DEBTORS; (B) THE
             REORGANIZED DEBTORS; (C) THE DIP AGENT; (D) EACH OF THE DIP
             LENDERS; (E) EACH HOLDER OF A FIRST LIEN NOTES CLAIM WHO VOTES IN
             FAVOR OF THE PLAN; (F) THE FIRST LIEN NOTES INDENTURE TRUSTEE; (G)
             EACH HOLDER OF A SECOND LIEN NOTES CLAIM WHO VOTES IN FAVOR OF
             THE PLAN; (H) THE SECOND LIEN NOTES INDENTURE TRUSTEE; (I) THE
             AGENTS OR INDENTURE TRUSTEES UNDER THE EXIT SECURED NOTES, EXIT
             ABL FACILITY, AND EXIT TERM FACILITY; (J) EACH LENDER OR HOLDER
             UNDER THE EXIT SECURED NOTES, EXIT ABL FACILITY, AND EXIT TERM
             FACILITY; (K) THE INITIAL COMMITMENT PARTIES; (L) EACH CURRENT AND
             FORMER AFFILIATE OF EACH ENTITY IN CLAUSE (A) THROUGH (K); AND (M)
             EACH RELATED PARTY OF EACH ENTITY IN CLAUSE (A) THROUGH (L);
             PROVIDED, HOWEVER, THAT IN EACH CASE, AN ENTITY SHALL NOT BE A
             RELEASED PARTY IF IT (A) TIMELY PROVIDES, EITHER FORMALLY OR
             INFORMALLY IN WRITING, AN OBJECTION TO THE RELEASES CONTAINED IN
             ARTICLE VIII.E OF THE PLAN THAT IS NOT RESOLVED BEFORE
             CONFIRMATION OF THE PLAN OR (B) ELECTS TO OPT OUT OF THE RELEASES
             CONTAINED IN ARTICLE VIII.F OF THE PLAN; PROVIDED, FURTHER, THAT
             ANY SUCH ENTITY SHALL BE IDENTIFIED BY NAME AS A NON-RELEASED
             PARTY IN THE CONFIRMATION ORDER.

             UNDER THE PLAN, “RELEASING PARTIES” MEANS COLLECTIVELY AND IN
             EACH CASE IN THEIR CAPACITY AS SUCH: (A) THE RELEASED PARTIES
             IDENTIFIED IN SUBSECTION (A)–(L) AND THOSE RELEASED PARTIES
             IDENTIFIED IN SUBSECTION (M) OF THE DEFINITION OF “RELEASED PARTY”
             ON BEHALF OF WHOM THE PARTIES IDENTIFIED IN SUBSECTIONS (A)–(L) OF
             THE DEFINITION OF “RELEASED PARTY” HAVE THE AUTHORITY,
             INCLUDING UNDER ANY AGREEMENT OR APPLICABLE NON-BANKRUPTCY
             LAW, TO GRANT THE THIRD-PARTY RELEASE SET FORTH IN ARTICLE VIII.F;
             (B) THE HOLDERS OF ALL CLAIMS AND INTERESTS WHO VOTE TO ACCEPT

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             THE PLAN; (C) THE HOLDERS OF ALL CLAIMS OR INTERESTS THAT ARE
             UNIMPAIRED UNDER THE PLAN; (D) THE HOLDERS OF ALL CLAIMS OR
             INTERESTS WHOSE VOTE TO ACCEPT OR REJECT THE PLAN IS SOLICITED
             BUT WHO DO NOT VOTE EITHER TO ACCEPT OR TO REJECT THE PLAN AND
             DO NOT OPT OUT OF GRANTING THE RELEASES SET FORTH HEREIN; (E) THE
             HOLDERS OF ALL CLAIMS OR INTERESTS WHO VOTE TO REJECT THE PLAN
             BUT DO NOT OPT OUT OF GRANTING THE RELEASES SET FORTH HEREIN; (F)
             THE HOLDERS OF ALL CLAIMS OR INTERESTS (OTHER THAN HOLDERS OF
             EXISTING PYXUS INTERESTS) WHO ARE DEEMED TO REJECT THE PLAN AND
             WHO DO NOT (A) TIMELY PROVIDE, EITHER FORMALLY OR INFORMALLY IN
             WRITING, AN OBJECTION TO THE RELEASES CONTAINED IN ARTICLE VIII.F
             OF THE PLAN OR (B) ELECT TO OPT OUT OF THE RELEASES CONTAINED IN
             ARTICLE VIII.F OF THE PLAN; (G) THE HOLDERS OF ALL CLAIMS AND
             INTERESTS (OTHER THAN HOLDERS OF EXISTING PYXUS INTERESTS) WHO
             WERE GIVEN NOTICE OF THE OPPORTUNITY TO OPT OUT OF GRANTING THE
             RELEASES SET FORTH HEREIN BUT DID NOT OPT OUT; (H) THE HOLDERS OF
             EXISTING PYXUS INTERESTS WHO DO NOT DULY SUBMIT AN
             EQUITYHOLDER OPT-OUT FORM OPTING OUT OF THE RELEASES
             CONTAINED IN ARTICLE VIII.F OF THE PLAN; AND (I) EACH RELATED PARTY
             OF EACH ENTITY IN CLAUSE (B) THROUGH CLAUSE (H).

             ARTICLE VIII.F OF THE PLAN PROVIDES FOR AN EXCULPATION OF
             CERTAIN PARTIES (THE “EXCULPATION”):

             Effective as of the Effective Date, to the fullest extent permissible under applicable
             law and without affecting or limiting either the Debtor Release or the Third-Party
             Release, and except as otherwise specifically provided in the Plan, no Exculpated
             Party shall have or incur, and each Exculpated Party is released and exculpated from
             any Cause of Action for any claim related to any act or omission in connection with,
             relating to, or arising out of, the formulation, preparation, dissemination, negotiation,
             entry into, or Filing of, as applicable, the Restructuring Support Agreement and
             related prepetition transactions, the Chapter 11 Cases, the Disclosure Statement, the
             Plan, the Plan Supplement, or any Restructuring Transaction, contract, instrument,
             release, or other agreement or document created or entered into in connection with
             the Disclosure Statement or the Plan, the Filing of the Chapter 11 Cases, the pursuit
             of Confirmation of the Plan, the pursuit of Consummation of the Plan, the
             administration and implementation of the Plan, including the issuance of any
             Securities pursuant to the Plan, or the distribution of property under the Plan or any
             other related agreement (including, for the avoidance of doubt, providing any legal
             opinion requested by any Entity regarding any transaction, contract, instrument,
             document, or other agreement contemplated by the Plan or the reliance by any
             Exculpated Party on the Plan or the Confirmation Order in lieu of such legal opinion),
             except for claims or liabilities arising out of or relating to any act or omission that is
             determined in a Final Order of a court of competent jurisdiction to have constituted
             actual fraud, willful misconduct, or gross negligence, but in all respects such Entities
             shall be entitled to reasonably rely upon the advice of counsel with respect to their

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                    duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and
                    upon completion of the Plan shall be deemed to have, participated in good faith and
                    in compliance with the applicable laws with regard to the solicitation of votes and
                    distribution of consideration pursuant to the Plan and, therefore, are not, and on
                    account of such distributions shall not be, liable at any time for the violation of any
                    applicable law, rule, or regulation governing the solicitation of acceptances or
                    rejections of the Plan or such distributions made pursuant to the Plan.

                    ARTICLE VIII.H OF THE PLAN ESTABLISHES AN INJUNCTION (THE
                    “INJUNCTION”):

                    Effective as of the Effective Date, pursuant to section 524(a) of the Bankruptcy Code,
                    to the fullest extent permissible under applicable law, and except as otherwise
                    expressly provided in the Plan or for obligations issued or required to be paid
                    pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or
                    may hold Claims or Interests that have been released, discharged, or are subject to
                    exculpation are permanently enjoined, from and after the Effective Date, from taking
                    any of the following actions against, as applicable, the Debtors, the Reorganized
                    Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or
                    continuing in any manner any action or other proceeding of any kind on account of
                    or in connection with or with respect to any such Claims or Interests; (2) enforcing,
                    attaching, collecting, or recovering by any manner or means any judgment, award,
                    decree, or order against such Entities on account of or in connection with or with
                    respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any
                    encumbrance of any kind against such Entities or the property or the estates of such
                    Entities on account of or in connection with or with respect to any such Claims or
                    Interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind
                    against any obligation due from such Entities or against the property of such Entities
                    on account of or in connection with or with respect to any such Claims or Interests
                    unless such Holder has Filed a motion requesting the right to perform such setoff on
                    or before the Effective Date, and notwithstanding an indication of a claim or interest
                    or otherwise that such Holder asserts, has, or intends to preserve any right of setoff
                    pursuant to applicable law or otherwise; and (5) commencing or continuing in any
                    manner any action or other proceeding of any kind on account of or in connection
                    with or with respect to any such Claims or Interests released or settled pursuant to
                    the Plan.

             OPTIONAL OPT-OUT ELECTION

             If you vote to accept the Plan, you shall be deemed to have consented to the releases, injunction,
             and exculpation provisions set forth above. If you do not consent to the releases, injunction, or
             exculpation provisions, you may elect not to grant such releases but only if you (1) vote to reject
             the Plan in Item 2 above, affirmatively elect to “opt out” of being a releasing party by checking
             the box below, and timely return your Ballot, or (2) abstain from voting by not casting a vote in
             Item 2 above, affirmatively elect to “opt out” of being a releasing party by checking the box below,
             and timely return your Ballot.


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             IF YOU VOTE TO ACCEPT THE PLAN, YOU SHALL BE DEEMED TO HAVE
             CONSENTED TO THE THIRD-PARTY RELEASE IN ARTICLE VIII OF THE PLAN AND
             YOU CANNOT OPT OUT OF THE THIRD-PARTY RELEASE. IF YOU (1) ABSTAIN FROM
             VOTING ON THE PLAN OR (2) VOTE TO REJECT THE PLAN AND, IN EITHER CASE, DO
             NOT CHECK THE BOX BELOW, YOU SHALL BE DEEMED TO HAVE CONSENTED TO
             THE THIRD-PARTY RELEASE AS SET FORTH IN ARTICLE VIII OF THE PLAN.

                     The Holder of the Class 3 First Lien Senior Notes Claims set forth in Item 1
                                                       elects to:

                                       ☐ Opt Out of the Third-Party Release




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                                         Exhibit A

Please check one box below to indicate the Plan Class and CUSIP/ISIN to which this
Master Ballot pertains (or clearly indicate such information directly on the Master
Ballot or on a schedule thereto):


                             CLASS 3 – FIRST LIEN NOTES CLAIMS

     8.5% due 4/15/2021 (Series 144A)            CUSIP 018772AT0 / ISIN US018772AT05

    8.5% due 4/15/2021 (Series REGS 144A)       CUSIP U0187PAH9/ ISIN USU0187PAH92




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                        Exhibit C
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                                                                     Pyxus International, Inc., et al.
                                   Beneficial Holder Ballot for Class 4 – Second Lien Notes Claims
                                     CUSIP NUMBERS: 018772AS2, 018772AR4 & U0187PAG1
             NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE, OR
             TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS INCLUDED IN THE
             MATERIALS MAILED WITH THIS BALLOT.

             IMPORTANT: NO CHAPTER 11 CASES HAVE BEEN COMMENCED AS OF THE DATE
             OF THE DISTRIBUTION OF THIS BALLOT. THE DEBTORS INTEND TO FILE CHAPTER
             11 CASES AND SEEK CONFIRMATION OF THE PLAN BY THE BANKRUPTCY COURT
             SHORTLY THEREAFTER AS DESCRIBED IN GREATER DETAIL IN THE
             ACCOMPANYING DISCLOSURE STATEMENT.

                                                                           )
             In re:                                                        )   Chapter 11
                                                                           )
             PYXUS INTERNATIONAL, INC., et al.,1                           )   IMPORTANT: No chapter 11 case has been
                                                                           )   commenced as of the date of the distribution
                                        Debtors.                           )   of this ballot. This ballot is being distributed
                                                                           )   to you as a part of a prepetition solicitation of
                                                                           )   your vote on a prepackaged plan of
                                                                               reorganization.
                                                                           )

                 BENEFICIAL HOLDER BALLOT FOR ACCEPTING OR REJECTING THE JOINT
                    PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION OF PYXUS
                          INTERNATIONAL, INC. AND ITS AFFILIATED DEBTORS

                                         CLASS 4 – SECOND LIEN NOTES CLAIMS

                      IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT, THE VOTING
                       PROCEDURES, OR ANY OF THE SOLICITATION MATERIALS YOU HAVE
                       RECEIVED, OR YOU NEED TO OBTAIN ADDITIONAL SOLICITATION
                       MATERIALS, PLEASE CONTACT THE DEBTORS’ PROPOSED NOTICE AND
                       SOLICITATION AGENT, PRIME CLERK LLC (THE “SOLICITATION AGENT”)
                       BY: (1) CALLING THE DEBTORS’ SOLICITATION AGENT AT 1-(844)-974- 2130
                       (TOLL-FREE) OR 1-(929)-955-3418 (INTERNATIONAL), (2) EMAILING
                       PYXUSBALLOTS@PRIMECLERK.COM AND REFERENCING “PYXUS BALLOT
                       PROCESSING” IN THE SUBJECT LINE, (3) VISITING THE DEBTORS’
                       SOLICITATION WEBSITE AT HTTPS://CASES.PRIMECLERK.COM/PYXUS,
                       AND/OR (4) WRITING TO THE SOLICITATION AGENT AT THE FOLLOWING
                       ADDRESS: PYXUS BALLOT PROCESSING, C/O PRIME CLERK LLC, ONE
                       GRAND CENTRAL PLACE, 60 EAST 42ND STREET, SUITE 1440, NEW YORK,
                       NY 10165.



             1
               The Debtors in the Chapter 11 Cases, along with the last four digits of each Debtor’s United States federal tax
             identification number, are: Pyxus International, Inc. (6567), Alliance One International, LLC (3302), Alliance One
             North America, LLC (7908), Alliance One Specialty Products, LLC (0115) and GSP Properties, LLC (5603). The
             Debtors’ mailing address is 8001 Aerial Center Parkway, Morrisville, NC 27560-8417.
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                                                                       Pyxus International, Inc., et al.
                                     Beneficial Holder Ballot for Class 4 – Second Lien Notes Claims
                                       CUSIP NUMBERS: 018772AS2, 018772AR4 & U0187PAG1
                     PLEASE READ AND FOLLOW THE ENCLOSED VOTING INSTRUCTIONS
                      CAREFULLY BEFORE COMPLETING THIS BALLOT.

                     THIS BALLOT OR, IF APPLICABLE, THE MASTER BALLOT CAST ON YOUR
                      BEHALF (THE “MASTER BALLOT”) MUST BE ACTUALLY RECEIVED BY THE
                      SOLICITATION AGENT BEFORE 5:00 P.M. (PREVAILING EASTERN TIME)
                      ON JULY 20, 2020 (THE “VOTING DEADLINE”). IF THE SOLICITATION
                      AGENT DOES NOT RECEIVE YOUR BALLOT BEFORE THE VOTING
                      DEADLINE, AND UNLESS THE DEBTORS DETERMINE OTHERWISE OR AS
                      PERMITTED BY THE BANKRUPTCY COURT, YOUR VOTE WILL NOT BE
                      COUNTED.

                     IF THE BANKRUPTCY COURT CONFIRMS THE PLAN, IT WILL BIND YOU
                      REGARDLESS OF WHETHER YOU HAVE VOTED.

                     NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
                      ADVICE, OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS
                      INCLUDED IN THE MATERIALS MAILED WITH THIS BALLOT.


         This ballot (this “Ballot”) is being sent to you in connection with the Joint Prepackaged Chapter
         11 Plan of Reorganization of Pyxus International, Inc. and Its Affiliated Debtors (as may be
         amended, modified, or supplemented from time to time in accordance with its terms and including
         all exhibits or supplements thereto, the “Plan”)2 because the records maintained by your Nominee3
         indicate that you are a Beneficial Holder4 of a Class 4 Second Lien Notes Claim as of June 12,
         2020 (the “Voting Record Date”), and, accordingly, you may have a right to vote to accept or
         reject the Plan. This Ballot may not be used for any purpose other than for submitting votes with
         respect to the Plan. If you believe you have received this Ballot in error, please contact the
         Solicitation Agent at the email address or telephone number set forth above. Your rights are
         described in the Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of
         Reorganization of Pyxus International, Inc. and Its Affiliated Debtors, dated June 14, 2020 (as
         may be amended, modified, or supplemented from time to time and including all exhibits or
         supplements thereto, the “Disclosure Statement”). The Plan and the Disclosure Statement are
         included in the packet you are receiving together with this Ballot (collectively, with a pre-
         addressed, postage pre-paid return envelope, the “Solicitation Package”). Upon request, the
         Solicitation Agent will provide paper copies of the Plan and the Disclosure Statement at the

         2
             Capitalized terms used but not defined herein have the meaning given to such terms in the Disclosure Statement.

         3
           “Nominee” means the broker, dealer, commercial bank, trust company, savings and loan, financial institution, or
         other such party in whose name your beneficial ownership in Class 4 Second Lien Notes Claims is registered or held
         of record on your behalf as of the Voting Record Date.

         4
           A “Beneficial Holder” is a beneficial owner of Class 4 Second Lien Notes Claims whose Claims have not been
         satisfied prior to the Voting Record Date pursuant to court order or otherwise, as reflected in the records maintained
         by the Nominees (as defined herein) holding through the Depository Trust Company or other relevant security
         depository and/or the applicable indenture trustee, as of the Voting Record Date.

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                                                                            Pyxus International, Inc., et al.
                                         Beneficial Holder Ballot for Class 4 – Second Lien Notes Claims
                                           CUSIP NUMBERS: 018772AS2, 018772AR4 & U0187PAG1
         Debtors’ expense. The Solicitation Package has been distributed to all Holders of Class 4 Second
         Lien Notes Claims; however, only Accredited Investors (as such term is defined in Rule 501
         of the Securities Act of 1933, 15 U.S.C. §§ 77a– 77aa) are entitled to vote to accept or reject
         the Plan. If you are not an Accredited Investor please disregard this Ballot.

         You should carefully and thoroughly review the Disclosure Statement and the Plan before
         you vote. You may wish to seek legal advice concerning the Plan and classification and
         treatment of your Claim under the Plan. Your Claim has been placed in Class 4 under the
         Plan. If you hold Claims in more than one Class, you will receive a ballot for each Class in
         which you are entitled to vote.

         The Debtors intend to commence voluntary cases under chapter 11 of the Bankruptcy Code. The
         Plan can thereafter be confirmed by the Bankruptcy Court and thereby made binding on you if it
         is accepted by the Holders of at least two-thirds of the aggregate principal amount and more than
         one-half in number of the Claims voted in at least one Impaired Class and if the Plan otherwise
         satisfies the applicable requirements of section 1129(a) of the Bankruptcy Code. If the requisite
         acceptances are not obtained, the Bankruptcy Court may nonetheless confirm the Plan if it finds
         that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate against,
         the Class or Classes rejecting the Plan; and (b) otherwise satisfies the requirements of section
         1129(b) of the Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, it will be
         binding on you regardless of whether you vote or if you vote to reject the Plan.

             IF YOU RECEIVED A BALLOT AND A RETURN ENVELOPE ADDRESSED TO
               THE SOLICITATION AGENT, YOUR COMPLETED, SIGNED, AND DATED
             BALLOT MUST BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT
                              BEFORE THE VOTING DEADLINE.

              IF YOU RECEIVED A BALLOT AND A RETURN ENVELOPE ADDRESSED TO
             YOUR NOMINEE, YOUR COMPLETED, SIGNED, AND DATED BALLOT MUST
             BE SENT TO YOUR NOMINEE, NOT THE SOLICITATION AGENT, ALLOWING
                SUFFICIENT TIME FOR YOUR NOMINEE TO RECEIVE YOUR BALLOT,
             COMPLETE A MASTER BALLOT, AND TRANSMIT THE MASTER BALLOT TO
              THE SOLICITATION AGENT SO THAT IT IS ACTUALLY RECEIVED BY THE
                     SOLICITATION AGENT BEFORE THE VOTING DEADLINE.


         Item 1. Principal Amount of Class 4 Second Lien Notes Claims.

         The undersigned hereby certifies that, as of the Voting Record Date, it was the Beneficial Holder
         (or authorized signatory for a Beneficial Holder) of a Class 4 Second Lien Notes Claim in the
         following aggregate principal amount (insert amount in box below):


                                                  $______________




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                                                                         Pyxus International, Inc., et al.
                                       Beneficial Holder Ballot for Class 4 – Second Lien Notes Claims
                                         CUSIP NUMBERS: 018772AS2, 018772AR4 & U0187PAG1
         Item 2. Vote of Class 4 Second Lien Notes Claims.

         The Beneficial Holder of the Class 4 Second Lien Notes Claims set forth in Item 1 votes to (please
         check only one):

                         Accept the Plan                                     Reject the Plan



         Item 3. Important information regarding the Releases by Holders of Claims and Interests of
         the Debtors, Exculpation and Injunction Provisions, and Optional Opt-Out Election.

         The Plan contains a series of releases that are part of the overall restructuring set forth in the Plan
         and described in greater detail in the Disclosure Statement. In that respect, parties should be aware
         that, if the Plan is confirmed and the Effective Date occurs, certain parties will be getting releases
         and certain parties will be giving releases as set forth in Article VIII of the Plan. For your
         convenience, excerpts of the release provisions from the Plan are set forth below; however, you
         should carefully read the enclosed Disclosure Statement and Plan with respect to the releases.

                ARTICLE VIII.F OF THE PLAN PROVIDES FOR A THIRD-PARTY RELEASE
                BY THE RELEASING PARTIES (THE “THIRD-PARTY RELEASE”):

                Effective as of the Effective Date, each Releasing Party, in each case on behalf of itself
                and its respective successors, assigns, and representatives, and any and all other
                Entities who may purport to assert any Cause of Action, directly or derivatively, by,
                through, for, or because of the foregoing Entities, is deemed to have released and
                discharged each Debtor, Reorganized Debtor, and Released Party from any and all
                Causes of Action, whether known or unknown (including any derivative claims,
                asserted or assertable on behalf of any of the Debtors) that such Entity would have
                been legally entitled to assert (whether individually or collectively), based on or
                relating to, or in any manner arising from, in whole or in part, the Debtors (including
                the management, ownership or operation thereof), the purchase, sale, or rescission of
                any Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
                transactions or events giving rise to, any Claim or Interest that is treated in the Plan,
                the business or contractual arrangements between any Debtor and any Released
                Party, the Debtors’ in- or out-of-court restructuring efforts, intercompany
                transactions, the DIP Facility, the DIP Orders, the First Lien Notes, the Second Lien
                Notes, the Exit ABL Facility, the Exit Term Facility, the Exit Secured Notes or
                Replacement First Lien Financing, as applicable, the Chapter 11 Cases, the
                formulation, preparation, dissemination, negotiation, entry into, or Filing of, as
                applicable, the Restructuring Support Agreement and related prepetition
                transactions, the Disclosure Statement, the New Pyxus Constituent Documents, the
                New Shareholders Agreement, the Plan, or any Restructuring Transaction, contract,
                instrument, release, or other agreement or document created or entered into in
                connection with the Restructuring Support Agreement, the Disclosure Statement, the
                New Pyxus Constituent Documents, the New Shareholders Agreement, or the Plan
                (including, for the avoidance of doubt, providing any legal opinion requested by any
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                                                                        Pyxus International, Inc., et al.
                                      Beneficial Holder Ballot for Class 4 – Second Lien Notes Claims
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             Entity regarding any transaction, contract, instrument, document, or other
             agreement contemplated by the Plan or the reliance by any Released Party on the
             Plan or the Confirmation Order in lieu of such legal opinion), the Plan Supplement,
             the Filing of the Chapter 11 Cases, the pursuit of Confirmation of the Plan, the pursuit
             of Consummation of the Plan, the administration and implementation of the Plan,
             including the issuance or distribution of any Securities pursuant to the Plan, or the
             distribution of property under the Plan or any other related agreement, or upon any
             other related act, omission, transaction, agreement, event, or other occurrence taking
             place on or before the Effective Date except for claims or liabilities arising out of or
             relating to any act or omission by a Released Party that is determined in a Final Order
             of a court of competent jurisdiction to have constituted actual fraud. Notwithstanding
             anything to the contrary in the foregoing, the releases set forth above do not release
             any obligations arising after Consummation of any party or Entity under the Plan,
             any Restructuring Transaction, any document, instrument, or agreement (including
             those set forth in the Plan Supplement) executed to implement the Plan, including the
             assumption of the Indemnification Provisions as set forth in the Plan.

             IMPORTANT INFORMATION REGARDING THE THIRD-PARTY RELEASE:

             UNDER THE PLAN, “RELEASED PARTY” MEANS COLLECTIVELY, AND IN
             EACH CASE IN ITS CAPACITY AS SUCH: (A) EACH OF THE DEBTORS; (B) THE
             REORGANIZED DEBTORS; (C) THE DIP AGENT; (D) EACH OF THE DIP
             LENDERS; (E) EACH HOLDER OF A FIRST LIEN NOTES CLAIM WHO VOTES IN
             FAVOR OF THE PLAN; (F) THE FIRST LIEN NOTES INDENTURE TRUSTEE; (G)
             EACH HOLDER OF A SECOND LIEN NOTES CLAIM WHO VOTES IN FAVOR OF
             THE PLAN; (H) THE SECOND LIEN NOTES INDENTURE TRUSTEE; (I) THE
             AGENTS OR INDENTURE TRUSTEES UNDER THE EXIT SECURED NOTES, EXIT
             ABL FACILITY, AND EXIT TERM FACILITY; (J) EACH LENDER OR HOLDER
             UNDER THE EXIT SECURED NOTES, EXIT ABL FACILITY, AND EXIT TERM
             FACILITY; (K) THE INITIAL COMMITMENT PARTIES; (L) EACH CURRENT AND
             FORMER AFFILIATE OF EACH ENTITY IN CLAUSE (A) THROUGH (K); AND (M)
             EACH RELATED PARTY OF EACH ENTITY IN CLAUSE (A) THROUGH (L);
             PROVIDED, HOWEVER, THAT IN EACH CASE, AN ENTITY SHALL NOT BE A
             RELEASED PARTY IF IT (A) TIMELY PROVIDES, EITHER FORMALLY OR
             INFORMALLY IN WRITING, AN OBJECTION TO THE RELEASES CONTAINED IN
             ARTICLE VIII.E OF THE PLAN THAT IS NOT RESOLVED BEFORE
             CONFIRMATION OF THE PLAN OR (B) ELECTS TO OPT OUT OF THE RELEASES
             CONTAINED IN ARTICLE VIII.F OF THE PLAN; PROVIDED, FURTHER, THAT
             ANY SUCH ENTITY SHALL BE IDENTIFIED BY NAME AS A NON-RELEASED
             PARTY IN THE CONFIRMATION ORDER.

             UNDER THE PLAN, “RELEASING PARTIES” MEANS COLLECTIVELY AND IN
             EACH CASE IN THEIR CAPACITY AS SUCH: (A) THE RELEASED PARTIES
             IDENTIFIED IN SUBSECTION (A)–(L) AND THOSE RELEASED PARTIES
             IDENTIFIED IN SUBSECTION (M) OF THE DEFINITION OF “RELEASED PARTY”
             ON BEHALF OF WHOM THE PARTIES IDENTIFIED IN SUBSECTIONS (A)–(L) OF

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             THE DEFINITION OF “RELEASED PARTY” HAVE THE AUTHORITY,
             INCLUDING UNDER ANY AGREEMENT OR APPLICABLE NON-BANKRUPTCY
             LAW, TO GRANT THE THIRD-PARTY RELEASE SET FORTH IN ARTICLE VIII.F;
             (B) THE HOLDERS OF ALL CLAIMS AND INTERESTS WHO VOTE TO ACCEPT
             THE PLAN; (C) THE HOLDERS OF ALL CLAIMS OR INTERESTS THAT ARE
             UNIMPAIRED UNDER THE PLAN; (D) THE HOLDERS OF ALL CLAIMS OR
             INTERESTS WHOSE VOTE TO ACCEPT OR REJECT THE PLAN IS SOLICITED
             BUT WHO DO NOT VOTE EITHER TO ACCEPT OR TO REJECT THE PLAN AND
             DO NOT OPT OUT OF GRANTING THE RELEASES SET FORTH HEREIN; (E) THE
             HOLDERS OF ALL CLAIMS OR INTERESTS WHO VOTE TO REJECT THE PLAN
             BUT DO NOT OPT OUT OF GRANTING THE RELEASES SET FORTH HEREIN; (F)
             THE HOLDERS OF ALL CLAIMS OR INTERESTS (OTHER THAN HOLDERS OF
             EXISTING PYXUS INTERESTS) WHO ARE DEEMED TO REJECT THE PLAN AND
             WHO DO NOT (A) TIMELY PROVIDE, EITHER FORMALLY OR INFORMALLY IN
             WRITING, AN OBJECTION TO THE RELEASES CONTAINED IN ARTICLE VIII.F
             OF THE PLAN OR (B) ELECT TO OPT OUT OF THE RELEASES CONTAINED IN
             ARTICLE VIII.F OF THE PLAN; (G) THE HOLDERS OF ALL CLAIMS AND
             INTERESTS (OTHER THAN HOLDERS OF EXISTING PYXUS INTERESTS) WHO
             WERE GIVEN NOTICE OF THE OPPORTUNITY TO OPT OUT OF GRANTING THE
             RELEASES SET FORTH HEREIN BUT DID NOT OPT OUT; (H) THE HOLDERS OF
             EXISTING PYXUS INTERESTS WHO DO NOT DULY SUBMIT AN
             EQUITYHOLDER OPT-OUT FORM OPTING OUT OF THE RELEASES
             CONTAINED IN ARTICLE VIII.F OF THE PLAN; AND (I) EACH RELATED PARTY
             OF EACH ENTITY IN CLAUSE (B) THROUGH CLAUSE (H).

             ARTICLE VIII.G OF THE PLAN PROVIDES FOR AN EXCULPATION OF
             CERTAIN PARTIES (THE “EXCULPATION”):

             Effective as of the Effective Date, to the fullest extent permissible under applicable
             law and without affecting or limiting either the Debtor Release or the Third-Party
             Release, and except as otherwise specifically provided in the Plan, no Exculpated
             Party shall have or incur, and each Exculpated Party is released and exculpated from
             any Cause of Action for any claim related to any act or omission in connection with,
             relating to, or arising out of, the formulation, preparation, dissemination, negotiation,
             entry into, or Filing of, as applicable, the Restructuring Support Agreement and
             related prepetition transactions, the Chapter 11 Cases, the Disclosure Statement, the
             Plan, the Plan Supplement, or any Restructuring Transaction, contract, instrument,
             release, or other agreement or document created or entered into in connection with
             the Disclosure Statement or the Plan, the Filing of the Chapter 11 Cases, the pursuit
             of Confirmation of the Plan, the pursuit of Consummation of the Plan, the
             administration and implementation of the Plan, including the issuance of any
             Securities pursuant to the Plan, or the distribution of property under the Plan or any
             other related agreement (including, for the avoidance of doubt, providing any legal
             opinion requested by any Entity regarding any transaction, contract, instrument,
             document, or other agreement contemplated by the Plan or the reliance by any
             Exculpated Party on the Plan or the Confirmation Order in lieu of such legal opinion),

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                                                                            Pyxus International, Inc., et al.
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                                           CUSIP NUMBERS: 018772AS2, 018772AR4 & U0187PAG1
                except for claims or liabilities arising out of or relating to any act or omission that is
                determined in a Final Order of a court of competent jurisdiction to have constituted
                actual fraud, willful misconduct, or gross negligence, but in all respects such Entities
                shall be entitled to reasonably rely upon the advice of counsel with respect to their
                duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and
                upon completion of the Plan shall be deemed to have, participated in good faith and
                in compliance with the applicable laws with regard to the solicitation of votes and
                distribution of consideration pursuant to the Plan and, therefore, are not, and on
                account of such distributions shall not be, liable at any time for the violation of any
                applicable law, rule, or regulation governing the solicitation of acceptances or
                rejections of the Plan or such distributions made pursuant to the Plan.

                ARTICLE VIII.H OF THE PLAN ESTABLISHES AN INJUNCTION (THE
                “INJUNCTION”):

                Effective as of the Effective Date, pursuant to section 524(a) of the Bankruptcy Code,
                to the fullest extent permissible under applicable law, and except as otherwise
                expressly provided in the Plan or for obligations issued or required to be paid
                pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or
                may hold Claims or Interests that have been released, discharged, or are subject to
                exculpation are permanently enjoined, from and after the Effective Date, from taking
                any of the following actions against, as applicable, the Debtors, the Reorganized
                Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or
                continuing in any manner any action or other proceeding of any kind on account of
                or in connection with or with respect to any such Claims or Interests; (2) enforcing,
                attaching, collecting, or recovering by any manner or means any judgment, award,
                decree, or order against such Entities on account of or in connection with or with
                respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any
                encumbrance of any kind against such Entities or the property or the estates of such
                Entities on account of or in connection with or with respect to any such Claims or
                Interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind
                against any obligation due from such Entities or against the property of such Entities
                on account of or in connection with or with respect to any such Claims or Interests
                unless such Holder has Filed a motion requesting the right to perform such setoff on
                or before the Effective Date, and notwithstanding an indication of a claim or interest
                or otherwise that such Holder asserts, has, or intends to preserve any right of setoff
                pursuant to applicable law or otherwise; and (5) commencing or continuing in any
                manner any action or other proceeding of any kind on account of or in connection
                with or with respect to any such Claims or Interests released or settled pursuant to
                the Plan.

         OPTIONAL OPT-OUT ELECTION

         If you vote to accept the Plan, you shall be deemed to have consented to the releases, injunction,
         and exculpation provisions set forth above. If you do not consent to the releases, injunction, or
         exculpation provisions, you may elect not to grant such releases but only if you (1) vote to reject
         the Plan in Item 2 above, affirmatively elect to “opt out” of being a releasing party by checking
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                                                                               Pyxus International, Inc., et al.
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         the box below, and timely return your Ballot, or (2) abstain from voting by not casting a vote in
         Item 2 above, affirmatively elect to “opt out” of being a releasing party by checking the box below,
         and timely return your Ballot.

         IF YOU VOTE TO ACCEPT THE PLAN, YOU SHALL BE DEEMED TO HAVE
         CONSENTED TO THE THIRD-PARTY RELEASE IN ARTICLE VIII OF THE PLAN AND
         YOU CANNOT OPT OUT OF THE THIRD-PARTY RELEASE. IF YOU (1) ABSTAIN FROM
         VOTING ON THE PLAN OR (2) VOTE TO REJECT THE PLAN AND, IN EITHER CASE, DO
         NOT CHECK THE BOX BELOW, YOU SHALL BE DEEMED TO HAVE CONSENTED TO
         THE THIRD-PARTY RELEASE AS SET FORTH IN ARTICLE VIII OF THE PLAN.

                   The Holder of the Class 4 Second Lien Notes Claims set forth in Item 1 elects to:

                                                 Opt Out of the Third-Party Release

         Item 4. Class 4 Second Lien Notes Claims held in Additional Accounts.

         By completing and returning this Ballot, the Beneficial Holder of the Second Lien Notes Claims
         identified in Item 1 certifies that (a) this Ballot is the only Ballot submitted for the Class 4 Second
         Lien Notes Claims owned by such Beneficial Holder as indicated in Item 1, except for the Second
         Lien Notes Claims identified in the following table (please use additional sheets of paper if
         necessary); and (b) all Ballots for Second Lien Notes Claims submitted by the Beneficial Holder
         indicate the same vote to accept or reject the Plan that the Beneficial Holder has indicated in Item
         2 of this Ballot. To be clear, if any Beneficial Holder holds Second Lien Notes Claims through
         one or more Nominees, such Beneficial Holder must identify all Second Lien Notes Claims
         held through each Nominee in the following table, and must confirm the same vote to accept
         or reject the Plan on all ballots submitted.

               ONLY COMPLETE THIS ITEM 4 IF YOU HAVE SUBMITTED OTHER BALLOTS

                                                                                       Principal Amount of Other Class 4
              Account Number                       Name of Holder5                      Second Lien Notes Claims Voted




         5
           Insert your name if you are the Holder of record of the Class 4 Second Lien Notes Claims, or, if held in a street name,
         insert the name of your Nominee.

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                                                                            Pyxus International, Inc., et al.
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         Item 5. Certifications.

         Upon execution of this Ballot, the undersigned certifies that:

         1.     as of the Voting Record Date, it was the Beneficial Holder (or an authorized signatory for
                a Beneficial Holder) of the Class 4 Second Lien Notes Claims set forth in Item 1;

         2.     it is eligible to be treated as the Holder of the Class 4 Second Lien Notes Claims set forth
                in Item 1 for the purposes of voting on the Plan;

         3.     it has received a copy of the Solicitation Package and acknowledges that the solicitation is
                being made pursuant to the terms and conditions set forth therein;

         4.     it has not relied on any statement made or other information received from any person with
                respect to the Plan other than the information contained in the Solicitation Package
                materials;

         5.     it has cast the same vote with respect to each of the Holder’s Class 4 Second Lien Notes
                Claims;

         6.     it understands the treatment provided for its Class 4 Second Lien Notes Claims under the
                Plan;

         7.     it understands the recoveries provided for in the Plan are expressly conditioned upon
                confirmation and consummation of the Plan;

         8.     it acknowledges and agrees that the Debtors may make conforming changes to the Plan as
                may be reasonably necessary, subject to section 1127 of the Bankruptcy Code and in
                accordance with the terms and conditions set forth in the Restructuring Support Agreement;
                provided that the Debtors will not resolicit acceptances or rejections of the Plan in the event
                of such conforming changes unless otherwise required to by the Bankruptcy Court;

         9.     it understands and acknowledges that only the last properly executed ballot cast prior to
                the Voting Deadline with respect to the Class 4 Second Lien Notes Claims set forth in Item
                1 will be counted, and, if any other ballot has been previously cast with respect to the Class
                4 Second Lien Notes Claims set forth in Item 1, such other ballot shall be deemed revoked;

         10.    it understands and acknowledges that the securities being distributed pursuant to the Plan
                are not being distributed pursuant to a registration statement filed with the United States
                Securities and Exchange Commission, and that such securities will be acquired for the
                Holder’s own account and not with a view to any distribution of such securities in violation
                of the United States Securities Act of 1933, 15 U.S.C. §§ 77a–77aa;

         11.    the undersigned is (a) an “accredited investor” as that term is defined by Rule 501 of
                Regulation D, 17 C.F.R. § 230.501(a), promulgated under the Securities Act of 1933, 15
                U.S.C. §§ 77a-77aa (as amended), or (b) the authorized signatory for a Holder of Class 4
                Second Lien Notes Claims that is an “accredited investor;” provided, that, the
                undersigned’s certification with respect to this clause in respect of any beneficial owner is
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                made solely in reliance by the undersigned on a certification provided by such beneficial
                owner to the undersigned that such beneficial owner is an “accredited investor” and the
                undersigned assumes no liability or responsibility for any beneficial owner’s status and
                makes no representation or warranty with respect thereto;

         12.    it has full and complete authority to execute and submit this Ballot.

         Item 6. Second Lien Notes Stock Election Form

         Article III.B.4 of the Plan provides that each Holder of a Second Lien Notes Claim has the
         opportunity to receive one of the following:

                   i.     such Holder’s Pro Rata Share of the Second Lien Notes Common Stock Pool (the
                          “Second Lien Notes Stock Option”), OR

                  ii.     Cash equal to 2.00% of the principal amount of all Second Lien Notes beneficially
                          owned by such Holder as of the date of distribution to Holders of Allowed Second
                          Lien Notes Claims (the “Second Lien Notes Cash Option”), which is the “default”
                          option if no action is taken, as described further below.

         A Holder of an Allowed Second Lien Notes Claim has the right to elect to participate in either the
         Second Lien Notes Cash Option or the Second Lien Notes Stock Option. Such election must be
         made as to the entirety of the Second Lien Notes Claims beneficially owned by such Holder.

         A Holder of an Allowed Second Lien Notes Claim that elects to participate in the Second Lien
         Notes Stock Option must duly and timely complete and submit its Second Lien Notes Stock
         Election Form in accordance with the instructions set forth therein. A Holder of an Allowed Second
         Lien Notes Claim that elects to participate in the Second Lien Notes Cash Option does not need to
         complete or submit a Second Lien Notes Stock Election Form. For the avoidance of doubt, a
         Holder of an Allowed Second Lien Notes Claim that does not duly and timely submit a Second
         Lien Notes Stock Election Form in accordance with the instructions set forth therein will be
         deemed to have elected the Second Lien Notes Cash Option. Any Holder that duly and timely
         elects the Second Lien Notes Stock Option shall be deemed to be a party to the New Shareholders
         Agreement.

         The Restructuring Support Agreement requires all Holders of Second Lien Notes Claims who are
         a party to the Restructuring Support Agreement to elect the Second Lien Notes Stock Option and
         take all actions necessary to effectuate such election, including the submission of a duly and timely
         executed Second Lien Notes Stock Election Form.

         You will receive separately receive instructions for completing a Second Lien Notes Stock
         Election Form from your Nominee. If you do not receive these instructions, please contact your
         Nominee.

                                     [Remainder of page intentionally left blank]



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                                                                        Pyxus International, Inc., et al.
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         Item 7. Holder Information and Signature.

         BALLOT COMPLETION INFORMATION — COMPLETE THIS SECTION

             Name of the Beneficial
             Holder:

             Signature:

             Signatory Name (if other
             than the Beneficial
             Holder):

             Title:

             Address:

             Email Address:

             Telephone Number:

             Date Completed:

                 PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT
               PROMPTLY IN THE ENVELOPE PROVIDED OR AS OTHERWISE DIRECTED.

               THIS BALLOT OR, IF APPLICABLE, THE MASTER BALLOT CAST ON YOUR
              BEHALF, MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS
             ACTUALLY RECEIVED BY THE SOLICITATION AGENT PRIOR TO THE VOTING
                                          DEADLINE.



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                                                                    Pyxus International, Inc., et al.
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                         INSTRUCTIONS FOR COMPLETING THIS BALLOT

         1.   The Debtors are soliciting the votes of Holders of Class 4 Second Lien Notes Claims with
              respect to the Plan. The Plan and Disclosure Statement are included in the packet you are
              receiving with this Ballot. Capitalized terms used and not defined herein have the meaning
              given to such terms in the Plan or the Disclosure Statement, as applicable.

         2.   The Plan can be confirmed by the Bankruptcy Court and thereby made binding upon you
              if it is accepted by the Holders of two-thirds of the aggregate principal amount and more
              than one-half in number of the Claims voted in each Class that votes on the Plan and if the
              Plan otherwise satisfies the requirements of section 1129(a) of the Bankruptcy Code. If the
              requisite acceptances are not obtained, the Bankruptcy Court may nonetheless confirm the
              Plan if it finds that the Plan (a) provides fair and equitable treatment to, and does not
              discriminate unfairly against, the Class or Classes rejecting it and (b) otherwise satisfies
              the requirements of section 1129(b) of the Bankruptcy Code.

         3.   To ensure that your vote is counted, you must deliver this Ballot to the following, as
              applicable:

              a.     If you received this Ballot and a return envelope addressed to your Nominee, you
                     must return your completed Ballot directly to your Nominee in accordance with the
                     instructions provided by your Nominee, and, in any event, with sufficient time to
                     permit your Nominee to deliver your vote(s) on a completed Master Ballot so that
                     it is actually received by the Solicitation Agent before the Voting Deadline.

                                                      -or-

              b.     If you received this Ballot and a return envelope addressed to the Solicitation
                     Agent, you must deliver a Pre-Validated Ballot directly to the Solicitation Agent
                     by using the enclosed return envelope addressed to Prime Clerk, LLC so as to be
                     actually received by the Solicitation Agent before the Voting Deadline.

         4.   Any ballot received by the Solicitation Agent (including via a Nominee or a Master Ballot)
              after the Voting Deadline will not be counted unless the Debtors determine otherwise or as
              permitted by the Bankruptcy Court. Except as otherwise provided herein, such delivery
              will be deemed made only when the Solicitation Agent actually receives the executed ballot
              or Master Ballot, as applicable. In all cases, Holders should allow sufficient time to assure
              timely delivery. No ballot should be sent to the Debtors or the Debtors’ financial or legal
              advisors.

         5.   If you deliver multiple ballots to the Solicitation Agent, as applicable, the last properly
              executed ballot timely received will supersede and revoke any earlier received ballot.

         6.   This Ballot is not a letter of transmittal and may not be used for any purpose other than to
              vote to accept or reject the Plan. Accordingly, at this time, creditors should not surrender
              certificates or instruments representing or evidencing their Claims, and neither the Debtors


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                                                                          Pyxus International, Inc., et al.
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                nor the Solicitation Agent will accept delivery of any such certificates or instruments
                surrendered together with this Ballot.

         7.     This Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or an
                assertion or admission of a Claim.

         8.     You must vote all of your Claims within a particular Class either to accept or reject the
                Plan (i.e., you may not split your vote).

         9.     If you hold Claims in more than one Class under the Plan, or in multiple accounts, you will
                receive more than one ballot coded for each different Class or account. Each ballot votes
                only your Claims indicated on that ballot. Please complete and return each ballot you
                receive.

         10.    Please be sure to sign and date this Ballot. If you are signing this Ballot in your capacity as
                a trustee, executor, administrator, guardian, attorney in fact, officer of a corporation, or
                otherwise acting in a fiduciary or representative capacity, you should indicate such capacity
                when signing and, if requested by the Solicitation Agent or the Debtors, must submit proper
                evidence of such capacity to the requesting party. In addition, please provide your name
                and mailing address if it is different from that set forth on the attached mailing label or if
                no such mailing label is attached to this Ballot.

         11.    The following ballots or Master Ballots, as applicable, shall not be counted in determining
                the acceptance or rejection of the Plan: (a) any ballot or Master Ballot that is illegible or
                contains insufficient information to permit the identification of the Holder of the Claim;
                (b) any ballot or Master Ballot not actually received by the Solicitation Agent before the
                Voting Deadline, unless the Debtors determine otherwise or as permitted by the
                Bankruptcy Court; (c) any unsigned ballot or Master Ballot; (d) any ballot or Master Ballot
                that does not contain an original signature; provided that a ballot or Master Ballot submitted
                by electronic means shall be deemed to bear an original signature; (e) any ballot or Master
                Ballot that partially rejects and partially accepts the Plan; (f) any ballot or Master Ballot
                not marked to either accept or reject the Plan, or marked to both accept and reject the Plan;
                and (g) any ballot or Master Ballot superseded by a later, timely submitted valid ballot.

         12.    If you believe you have received the wrong ballot, you should contact your Nominee.

                                PLEASE MAIL YOUR BALLOT PROMPTLY!

                 IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE
               PROCEDURE FOR VOTING ON THE PLAN, OR IF YOU HAVE RECEIVED A
                DAMAGED BALLOT OR HAVE LOST YOUR BALLOT, OR IF YOU NEED
             ADDITIONAL COPIES OF THE BALLOT, DISCLOSURE STATEMENT, PLAN, OR
                 OTHER RELATED MATERIALS, PLEASE CONTACT YOUR NOMINEE.




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                                          Exhibit A

Please check one box below to indicate the Plan Class and CUSIP/ISIN to which this
Beneficial Holder Ballot pertains (or clearly indicate such information directly on the
Beneficial Holder Ballot or on a schedule thereto):


                          CLASS 4 – SECOND LIEN NOTES CLAIMS


                  9.875% due 7/15/2021                CUSIP 018772AS2 / ISIN US018772AS22

           9.875% due 7/15/2021 (Series 144A)         CUSIP 018772AR4/ ISIN US018772AR49

           9.875% due 7/15/2021 (Series REGS)        CUSIP U0187PAG1/ ISIN USU0187PAG10
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                        Exhibit D
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                                                                                  Pyxus International, Inc., et al.
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             NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE, OR
             TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS INCLUDED IN THE
             MATERIALS MAILED WITH THIS BALLOT.

             IMPORTANT: NO CHAPTER 11 CASES HAVE BEEN COMMENCED AS OF THE DATE
             OF THE DISTRIBUTION OF THIS BALLOT. THE DEBTORS INTEND TO FILE CHAPTER
             11 CASES AND SEEK CONFIRMATION OF THE PLAN BY THE BANKRUPTCY COURT
             SHORTLY THEREAFTER AS DESCRIBED IN GREATER DETAIL IN THE
             ACCOMPANYING DISCLOSURE STATEMENT.

                                                                  )
                 In re:                                           )   Chapter 11
                                                                  )
                 PYXUS INTERNATIONAL, INC., et al.,1              )   IMPORTANT: No chapter 11 case has been
                                                                  )   commenced as of the date of the distribution of
                                         Debtors.                 )   this ballot. This ballot is being distributed to
                                                                  )   you as a part of a prepetition solicitation of your
                                                                  )   vote on a prepackaged plan of reorganization.

             MASTER BALLOT FOR ACCEPTING OR REJECTING THE JOINT PREPACKAGED
              CHAPTER 11 PLAN OF REORGANIZATION OF PYXUS INTERNATIONAL, INC.
                                AND ITS AFFILIATED DEBTORS

                                         CLASS 4 – SECOND LIEN NOTES CLAIMS

                         IF YOU HAVE ANY QUESTIONS REGARDING THIS MASTER BALLOT, THE
                          VOTING PROCEDURES, OR ANY OF THE SOLICITATION MATERIALS YOU
                          HAVE RECEIVED, OR YOU NEED TO OBTAIN ADDITIONAL SOLICITATION
                          MATERIALS, PLEASE CONTACT THE DEBTORS’ PROPOSED NOTICE AND
                          SOLICITATION AGENT, PRIME CLERK LLC (THE “SOLICITATION AGENT”)
                          BY: (1) CALLING THE DEBTORS’ SOLICITATION AGENT AT 1-(844)-974- 2130
                          (TOLL-FREE) OR 1-(929)-955-3418 (INTERNATIONAL), (2) EMAILING
                          PYXUSBALLOTS@PRIMECLERK.COM AND REFERENCING                 “PYXUS
                          BALLOT PROCESSING” IN THE SUBJECT LINE, (3) VISITING THE DEBTORS’
                          SOLICITATION WEBSITE AT HTTPS://CASES.PRIMECLERK.COM/PYXUS,
                          AND/OR (4) WRITING TO THE SOLICITATION AGENT AT THE FOLLOWING
                          ADDRESS: PYXUS BALLOT PROCESSING, C/O PRIME CLERK LLC, ONE
                          GRAND CENTRAL PLACE, 60 EAST 42ND STREET, SUITE 1440, NEW YORK,
                          NY 10165.



             1
               The Debtors in the Chapter 11 Cases, along with the last four digits of each Debtor’s United States federal tax
             identification number, are: Pyxus International, Inc. (6567), Alliance One International, LLC (3302), Alliance One
             North America, LLC (7908), Alliance One Specialty Products, LLC (0115) and GSP Properties, LLC (5603). The
             Debtors’ mailing address is 8001 Aerial Center Parkway, Morrisville, NC 27560-8417.
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                        PLEASE READ AND FOLLOW THE ENCLOSED VOTING INSTRUCTIONS
                         CAREFULLY BEFORE COMPLETING THIS MASTER BALLOT.

                        THIS MASTER BALLOT MUST BE ACTUALLY RECEIVED BY THE
                         SOLICITATION AGENT BEFORE 5:00 P.M., PREVAILING EASTERN TIME
                         ON JULY 20, 2020 (THE “VOTING DEADLINE”). IF THE SOLICITATION
                         AGENT DOES NOT RECEIVE YOUR MASTER BALLOT BEFORE THE VOTING
                         DEADLINE, AND UNLESS THE DEBTORS DETERMINE OTHERWISE OR AS
                         PERMITTED BY THE BANKRUPTCY COURT, YOUR VOTE WILL NOT BE
                         COUNTED.

                        NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
                         ADVICE, OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS
                         INCLUDED IN THE MATERIALS MAILED WITH THIS MASTER BALLOT.


             The Debtors are sending this master ballot (this “Master Ballot”) to brokers, dealers, commercial
             banks, trust companies, or other agent nominees (each a “Nominee”) of Beneficial Holders2 of
             Class 4 Second Lien Notes Claims as of June 12, 2020 (the “Voting Record Date”) in connection
             with the Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus International, Inc. and
             Its Affiliated Debtors (as may be amended, modified, or supplemented from time to time in
             accordance with its terms and including all exhibits or supplements thereto, the “Plan”).3
             Nominees should use this Master Ballot to (a) cast votes to accept or reject the Plan and (b) make
             elections, each on behalf of and in accordance with the ballots cast by the Beneficial Holders
             holding Class 4 Second Lien Notes Claims through them. In lieu of submitting this Master Ballot,
             Nominees may also send Beneficial Holders a pre-validated Class 4 Second Lien Notes Claims
             ballot (a “Pre-Validated Ballot”). Based on your decision whether or not to pre-validate the ballot,
             the below guidance with respect to pre-validation is mutually exclusive.

             PRE-VALIDATED BALLOT. You may pre-validate a ballot by completing a ballot with the
             exception of Items 2 and 3 and indicating on the ballot: (a) the name of the Nominee; (b) the
             aggregate principal amount of Class 4 Second Lien Notes Claims held by such Nominee for the
             Beneficial Holder; and (c) the account number(s) for the account(s) in which such Class 4 Second
             Lien Notes Claims are held by the Nominee. Once you pre-validate a ballot, you must
             IMMEDIATELY forward the solicitation materials to each applicable Beneficial Holder,
             including (i) the pre-validated ballot, (ii) the Plan and the Disclosure Statement, (iii) a postage pre-
             paid return envelope addressed to the Solicitation Agent, and (iv) clear instructions that the
             Beneficial Holder must return its completed and executed ballot to the Solicitation Agent before
             the Voting Deadline.


             2
               A “Beneficial Holder” is a beneficial owner of Class 4 Second Lien Notes Claims whose Claims have not been
             satisfied prior to the Voting Record Date pursuant to court order or otherwise, as reflected in the records maintained
             by the Nominees (as defined herein) holding through the Depository Trust Company or other relevant security
             depository and/or the applicable indenture trustee, as of the Voting Record Date.
             3
                 Capitalized terms used but not defined herein have the meaning given to such terms in the Disclosure Statement.


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             NOT PRE-VALIDATED BALLOT. If you choose not to pre-validate ballots, you must
             IMMEDIATELY forward the solicitation materials to each Beneficial Holder, including (a) the
             ballot, (b) the Plan and the Disclosure Statement, (c) a return envelope addressed to you, its
             Nominee, and (d) clear instructions stating that the Beneficial Holder must return its ballot directly
             to you in sufficient time to allow you to execute this Master Ballot and return it to the Solicitation
             Agent before the Voting Deadline. Upon receipt of completed and executed ballots returned to
             you by the Beneficial Holder, you must compile and validate the Beneficial Holder’s votes and
             other relevant information using the customer’s name or account number. You must then execute
             this Master Ballot and transmit it to the Solicitation Agent by the Voting Deadline. You must
             retain such ballots in your files for a period of one (1) year following the Voting Deadline (or such
             other date as is set by subsequent Bankruptcy Court order) as you may be ordered to produce the
             Beneficial Holder ballots to the Debtors or the Bankruptcy Court.4

             NO fees or commissions or other remuneration will be payable to you in your capacity as Nominee
             for soliciting votes on the proposals related to the Plan. The Debtors will, however, upon written
             request, reimburse you for customary mailing and handling expenses you incur in forwarding the
             ballot and other enclosed materials to Beneficial Holders.

             This Master Ballot may not be used for any purpose other than for submitting votes with respect
             to Plan. Your rights and the rights of Beneficial Holders are described in the Disclosure Statement
             for the Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus International, Inc. and Its
             Affiliated Debtors, dated June 14, 2020 (as may be amended, modified, or supplemented from time
             to time and including all exhibits or supplements thereto, the “Disclosure Statement”). The Plan,
             the Disclosure Statement, and the Class 4 Second Lien Notes Claims ballot (the “Beneficial
             Holder Ballot,” collectively, together with a pre-addressed, postage pre-paid return envelope, the
             “Solicitation Package”) were sent to you as Nominee for the Beneficial Holders of Class 4 Second
             Lien Notes Claims. If you believe you have received this Master Ballot in error, or if you believe
             you received the wrong Master Ballot, please contact the Solicitation Agent immediately at the
             email address or telephone number set forth above.

             You are authorized to collect votes to accept or to reject the Plan from Beneficial Holders in
             accordance with your customary practices, including the use of a “voting instruction form” in lieu
             of (or in addition to) a Beneficial Holder Ballot, and collecting votes from Beneficial Holders
             through online voting, by phone, facsimile, or other electronic means.

                 THIS MASTER BALLOT MUST BE ACTUALLY RECEIVED BY THE SOLICITATION
                   AGENT BEFORE 5:00 P.M. (PREVAILING EASTERN TIME) ON JULY 20, 2020
                                       (THE “VOTING DEADLINE”).

                    IF THE SOLICITATION AGENT DOES NOT RECEIVE YOUR MASTER BALLOT
                    BEFORE THE VOTING DEADLINE, AND UNLESS THE DEBTORS DETERMINE
                    OTHERWISE OR AS PERMITTED BY THE BANKRUPTCY COURT, YOUR VOTE
                                          WILL NOT BE COUNTED.


             4
                 Nominees may disseminate notices and voting materials using their standard process.


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             Item 1. Certification of Authority to Vote.

             The undersigned certifies that, as of the Voting Record Date, the undersigned (please check the
             applicable box):

                      ☐        is a Nominee for Beneficial Holder(s) on account of the Class 4 Second Lien Notes
                               Claims listed in Item 2 below;

                      ☐        is acting under a power of attorney and/or agency (a copy of which must be
                               provided upon request) granted by the Beneficial Holder(s) or a Nominee that is the
                               registered Holder of the Class 4 Second Lien Notes Claims listed in Item 2 below;
                               or

                      ☐        has been granted a proxy from (a) a Nominee; or (b) the Beneficial Holder that is
                               the registered Holder of the Class 4 Second Lien Notes Claim listed in Item 2 below.

             Accordingly, the undersigned certifies that it has full power and authority to vote to accept or reject
             the Plan on behalf of such Beneficial Holder(s) on account of such Class 4 Second Lien Notes
             Claims.

             Item 2. Vote of Class 4 Second Lien Notes Claims.

             The undersigned transmits the following vote(s) of the Beneficial Holder(s) in respect of their
             Class 4 Second Lien Notes Claim(s), and certifies that the following Beneficial Holders, as
             identified by their respective customer account numbers set forth below, are a Beneficial Holder
             as of the Voting Record Date and have delivered to the undersigned, as Nominee, properly
             executed Beneficial Holder Ballots casting such votes:5

                                                            CUSIP NUMBER: [●]
                                                                     Item 2                                                Item 3
                                   Principal Amount of Allowed                Principal Amount of Allowed
                                    Second Lien Notes Claims                   Second Lien Notes Claims            If the Beneficial Holder
        Customer Account
                                    Voted to ACCEPT the Plan                   Voted to REJECT the Plan             rejected the Plan and
       Number or Name of
                                                                                                                  checked the box in Item
      Each Beneficial Holder
                                                                                                                       3 of the Beneficial
                                                                                                                   Holder Ballot, place an
                                                                                                                  “X” in the column below
      1.                          $                                   OR      $

      2.                          $                                   OR      $




             5
               Indicate in the appropriate column the aggregate principal amount voted for each account, or attach such information
             to this Master Ballot in the form of the following table. Please note each Beneficial Holder must vote all of each such
             Beneficial Holder’s Class 4 Second Lien Notes Claims to accept or to reject the Plan, and may not split such vote.
             Any Beneficial Holder Ballot executed by the Beneficial Holder that does not indicate an acceptance or rejection of
             the Plan, or which indicates both an acceptance and a rejection of the Plan, shall not be counted.


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      3.                         $                            OR     $

      4.                         $                            OR     $

      5.                         $                            OR     $

      6.                         $                            OR     $

      7.                         $                            OR     $

      8.                         $                            OR     $

      9.                         $                            OR     $

      10.                        $                            OR     $

              TOTAL              $                                   $

             IF YOU ARE ACTING AS A VOTING NOMINEE FOR MORE THAN TEN BENEFICIAL
             HOLDERS, PLEASE ATTACH ADDITIONAL SHEETS, AS NECESSARY.

             Item 3. Releases.

             The language with respect to Third-Party Releases included in Item 3 of the Beneficial Holder
             Ballot is shown in Annex A attached hereto.

             Item 4. Certification as to Transcription of Information from Item 4 of the Beneficial Holder
             Ballots as to Class 4 Second Lien Notes Claims Voted Through Other Ballots. The
             undersigned certifies that it has transcribed in the following table the information, if any, that the
             Beneficial Holders have provided in Item 4 of the Beneficial Holder Ballot, identifying any Class
             4 Second Lien Notes Claims for which such Beneficial Holders have submitted other ballots (other
             than to the undersigned):

                  Your Customer
                                       TRANSCRIBE FROM ITEM 4 OF THE BENEFICIAL HOLDER BALLOTS:
               Account Number for
                  Each Beneficial
                                       Account Number of                                        Principal Amount
                   Holder That
                                       Other Class 4 Second                                      of Other Class 4
               Completed Item 4 of                                       Name of Holder
                                        Lien Notes Claims                                       Second Lien Notes
               the Beneficial Holder
                                              Voted                                               Claims Voted
                      Ballot
              1.                                                                               $
              2.                                                                               $
              3.                                                                               $
              4.                                                                               $
              5.                                                                               $
              6.                                                                               $
              7.                                                                               $



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             Item 5. Certifications.

             By signing this Master Ballot, the undersigned certifies that:

                    1.      (i) it has received a copy of the Disclosure Statement, the Plan, the Beneficial
                            Holder Ballot, and the Solicitation Package, and has delivered the same to the
                            Beneficial Holders holding Class 4 Second Lien Notes Claims through the
                            undersigned; (ii) it has received a completed and signed Beneficial Holder Ballot
                            from each such Beneficial Holder; (iii) it is the registered Holder of the securities
                            being voted, or is the agent thereof; and (iv) it has been authorized by each such
                            Beneficial Holder to vote on the Plan and to make applicable elections;

                    2.      it has properly disclosed: (i) the number of Beneficial Holders holding Class 4
                            Second Lien Claims through the undersigned; (ii) the respective amounts of Class
                            4 Second Lien Notes Claims owned by each Beneficial Holder; (iii) each such
                            Beneficial Holder’s respective vote concerning the Plan; and (iv) the customer
                            account or other identification number for each such Beneficial Holder;

                    3.      if it is a Beneficial Holder and uses this Master Ballot to vote the undersigned’s
                            Class 4 Second Lien Notes Claims, it confirms and attests to each of the
                            certifications in Item 5 of the applicable Beneficial Holder Ballot;

                    4.      each such Beneficial Holder has certified to it, or an intermediary Nominee, as
                            applicable, that the Beneficial Holder is eligible to vote on the Plan;

                    5.      the undersigned is (a) an “accredited investor” as that term is defined by Rule 501
                            of Regulation D, 17 C.F.R. § 230.501(a), promulgated under the Securities Act of
                            1933, 15 U.S.C. §§ 77a-77aa (as amended), or (b) the authorized signatory for a
                            Holder of Class 4 Second Lien Notes Claims that is an “accredited investor;”
                            provided, that, the undersigned’s certification with respect to this clause 5 in respect
                            of any beneficial owner is made solely in reliance by the undersigned on a
                            certification provided by such beneficial owner to the undersigned that such
                            beneficial owner is an “accredited investor” and the undersigned assumes no
                            liability or responsibility for any beneficial owner’s status and makes no
                            representation or warranty with respect thereto; and

                    6.      it will maintain the Beneficial Holder Ballots and evidence of separate transactions
                            returned by the Beneficial Holders (whether properly completed or defective) for
                            at least one year after the Voting Deadline (or such other date as is set by subsequent
                            Bankruptcy Court order), and disclose all such information to the Bankruptcy Court
                            or the Debtors, as the case may be, if so ordered.

                                        [Remainder of page intentionally left blank]




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             Item 6. Voter Information and Signature.

             BALLOT COMPLETION INFORMATION — COMPLETE THIS SECTION
             Nominee Name:
             Participant Number:
             Name of Agent for Nominee
             (if applicable):
             Signature:
             Signatory Name (if other
             than Nominee):
             Title:
             Address:
             Email Address:
             Telephone:
             Date Completed:

             PLEASE COMPLETE, SIGN, AND DATE THIS MASTER BALLOT AND RETURN IT
                                         PROMPTLY!

             THIS MASTER BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED BY
             ONE OF THE FOLLOWING RETURN METHODS SO THAT IT IS ACTUALLY
             RECEIVED BY THE SOLICITATION AGENT PRIOR TO THE VOTING DEADLINE:

             (I)      IN THE ENCLOSED PRE-PAID, PRE-ADDRESSED RETURN ENVELOPE;
             (II)     VIA OVERNIGHT COURIER, OR HAND DELIVERY TO THE ADDRESS SET
                      FORTH BELOW; OR
             (III)    VIA EMAIL (ATTACHING A SCANNED PDF OF THE FULLY EXECUTED
                      MASTER BALLOT) TO PYXUSBALLOTS@PRIMECLERK.COM, SUBJECT
                      LINE: “PYXUS BALLOT PROCESSING”
                                          Pyxus Ballot Processing
                                           c/o Prime Clerk LLC
                                          One Grand Central Place
                                       60 East 42nd Street, Suite 1440
                                           New York, NY 10165

             PLEASE CHOOSE ONLY ONE METHOD TO RETURN THIS MASTER BALLOT.
             THIS MASTER BALLOT MUST BE RECEIVED BEFORE THE VOTING DEADLINE.



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                                       MASTER BALLOT INSTRUCTIONS

             1.   To have the votes of your Beneficial Holders count, you should already have done one of
                  the following:

                  (a)     delivered the Beneficial Holder Ballots and the Solicitation Package to each
                          Beneficial Holder with clear instructions on when to return such ballots to you to
                          allow you to complete and return this Master Ballot so that the Solicitation Agent
                          actually receives it prior to the Voting Deadline;

                                                          -or-

                  (b)     if you are not submitting this Master Ballot, sent the Beneficial Holders the Pre-
                          Validated Ballots in their Solicitation Package for direct return to the Solicitation
                          Agent.

             2.   The Plan can be confirmed by the Bankruptcy Court and thereby made binding upon you
                  if it is accepted by the Holders of two-thirds of the aggregate principal amount and more
                  than one-half in number of the Claims voted in each Class that votes on the Plan and if the
                  Plan otherwise satisfies the requirements of section 1129(a) of the Bankruptcy Code. If
                  the requisite acceptances are not obtained, the Bankruptcy Court may nonetheless confirm
                  the Plan if it finds that the Plan (a) provides fair and equitable treatment to, and does not
                  discriminate unfairly against, the Class or Classes rejecting it and (b) otherwise satisfies
                  the requirements of section 1129(b) of the Bankruptcy Code.

             3.   With regard to any Beneficial Holder Ballots returned to you, to have the vote of your
                  Beneficial Holder count, you must: (a) retain such Beneficial Holder Ballots in your files
                  and transfer the requested information from each such Beneficial Holder Ballot onto this
                  Master Ballot; (b) sign, date and otherwise execute this Master Ballot; and (c) deliver this
                  Master Ballot to the Solicitation Agent prior to the Voting Deadline in accordance with the
                  instructions on this Master Ballot.

             4.   If this Master Ballot is received after the Voting Deadline, it will not be counted, unless
                  the Debtors determine otherwise or as permitted by the Bankruptcy Court. The method of
                  delivery of this Master Ballot to the Solicitation Agent is at your election and risk.

             5.   If you deliver multiple ballots to the Solicitation Agent, as applicable, the last properly
                  executed ballot timely received will supersede and revoke any earlier received ballot.

             6.   Please keep any records of the Beneficial Holder Ballots received from Beneficial Holders
                  for at least one year after the Voting Deadline (or such other date as is set by subsequent
                  Bankruptcy Court order). You may be ordered to produce the Beneficial Holder Ballots to
                  the Debtors or the Bankruptcy Court.

             7.   If you are both the Nominee and Beneficial Holder, and you wish to vote such Class 4
                  Second Lien Notes Claims for which you are a Beneficial Holder, you may return either a
                  Beneficial Holder Ballot or this Master Ballot for such Class 4 Second Lien Notes Claims.

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             8.     This Master Ballot is not a letter of transmittal and may not be used for any purpose other
                    than to vote to accept or reject the Plan. Accordingly, at this time, creditors should not
                    surrender certificates or instruments representing or evidencing their Claims, and neither
                    the Debtors nor the Solicitation Agent will accept delivery of any such certificates or
                    instruments surrendered together with this Master Ballot.

             9.     This Master Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or
                    an assertion or admission of a Claim.

             10.    Please be sure to sign and date this Master Ballot. If you are signing this Master Ballot in
                    your capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
                    corporation, or otherwise acting in a fiduciary or representative capacity, you should
                    indicate such capacity when signing and, if requested by the Solicitation Agent or the
                    Debtors, must submit proper evidence of such capacity to the requesting party. In addition,
                    please provide your name and mailing address if it is different from that set forth on the
                    attached mailing label or if no such mailing label is attached to this Master Ballot.

             11.    The following ballots or Master Ballots, as applicable, shall not be counted in determining
                    the acceptance or rejection of the Plan: (a) any ballot or Master Ballot that is illegible or
                    contains insufficient information to permit the identification of the Holder of the Claim;
                    (b) any ballot or Master Ballot not actually received by the Solicitation Agent before the
                    Voting Deadline, unless the Debtors determine otherwise or as permitted by the
                    Bankruptcy Court; (c) any unsigned ballot or Master Ballot; (d) any ballot or Master Ballot
                    that does not contain an original signature; provided that a ballot or Master Ballot submitted
                    by electronic means shall be deemed to bear an original signature; (e) any ballot or Master
                    Ballot that partially rejects and partially accepts the Plan; (f) any ballot or Master Ballot
                    not marked to either accept or reject the Plan, or marked to both accept and reject the Plan;
                    and (g) any ballot or Master Ballot superseded by a later, timely submitted valid ballot.

             If you believe you have received the wrong ballot, you should contact the Solicitation Agent
             immediately at 1-(844)-974- 2130 (toll-free) or 1-(929)-955-3418 (international).

                                   PLEASE MAIL YOUR BALLOT PROMPTLY!

                   IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE
                PROCEDURE FOR VOTING ON THE PLAN, OR IF YOU HAVE RECEIVED A
                  DAMAGED BALLOT OR HAVE LOST YOUR BALLOT, OR IF YOU NEED
                 ADDITIONAL COPIES OF THE MASTER BALLOT, BENEFICIAL HOLDER
             BALLOT, DISCLOSURE STATEMENT, PLAN, OR OTHER RELATED MATERIALS,
             PLEASE CONTACT PRIME CLERK, LLC (THE DEBTORS’ SOLICITATION AGENT)
             AT: 1-(844)-974- 2130 (TOLL-FREE) OR 1-(929)-955-3418 (INTERNATIONAL) OR VIA
                EMAIL: PYXUSBALLOTS@PRIMECLERK.COM, SUBJECT LINE: “PYXUS
                                         BALLOT PROCESSING”.

              PLEASE BE ADVISED THAT THE SOLICITATION AGENT IS NOT AUTHORIZED
                      TO PROVIDE, AND WILL NOT PROVIDE, LEGAL ADVICE.


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                                                           Annex A

             Release Language from Beneficial Holder Ballot

             Important information regarding the Releases by Holders of Claims and Interests of the Debtors,
             Exculpation and Injunction Provisions, and Optional Opt-Out Election.

             The Plan contains a series of releases that are part of the overall restructuring set forth in the Plan
             and described in greater detail in the Disclosure Statement. In that respect, parties should be aware
             that, if the Plan is confirmed and the Effective Date occurs, certain parties will be getting releases
             and certain parties will be giving releases as set forth in Article VIII of the Plan. For your
             convenience, excerpts of the release provisions from the Plan are set forth below, however, you
             should carefully read the enclosed Disclosure Statement and Plan with respect to the releases.

                    ARTICLE VIII.F OF THE PLAN PROVIDES FOR A THIRD-PARTY RELEASE
                    BY THE RELEASING PARTIES (THE “THIRD-PARTY RELEASE”):

                    Effective as of the Effective Date, each Releasing Party, in each case on behalf of itself
                    and its respective successors, assigns, and representatives, and any and all other
                    Entities who may purport to assert any Cause of Action, directly or derivatively, by,
                    through, for, or because of the foregoing Entities, is deemed to have released and
                    discharged each Debtor, Reorganized Debtor, and Released Party from any and all
                    Causes of Action, whether known or unknown (including any derivative claims,
                    asserted or assertable on behalf of any of the Debtors) that such Entity would have
                    been legally entitled to assert (whether individually or collectively), based on or
                    relating to, or in any manner arising from, in whole or in part, the Debtors (including
                    the management, ownership or operation thereof), the purchase, sale, or rescission of
                    any Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
                    transactions or events giving rise to, any Claim or Interest that is treated in the Plan,
                    the business or contractual arrangements between any Debtor and any Released
                    Party, the Debtors’ in- or out-of-court restructuring efforts, intercompany
                    transactions, the DIP Facility, the DIP Orders, the First Lien Notes, the Second Lien
                    Notes, the Exit ABL Facility, the Exit Term Facility, the Exit Secured Notes or
                    Replacement First Lien Financing, as applicable, the Chapter 11 Cases, the
                    formulation, preparation, dissemination, negotiation, entry into, or Filing of, as
                    applicable, the Restructuring Support Agreement and related prepetition
                    transactions, the Disclosure Statement, the New Pyxus Constituent Documents, the
                    New Shareholders Agreement, the Plan, or any Restructuring Transaction, contract,
                    instrument, release, or other agreement or document created or entered into in
                    connection with the Restructuring Support Agreement, the Disclosure Statement, the
                    New Pyxus Constituent Documents, the New Shareholders Agreement, or the Plan
                    (including, for the avoidance of doubt, providing any legal opinion requested by any
                    Entity regarding any transaction, contract, instrument, document, or other
                    agreement contemplated by the Plan or the reliance by any Released Party on the
                    Plan or the Confirmation Order in lieu of such legal opinion), the Plan Supplement,
                    the Filing of the Chapter 11 Cases, the pursuit of Confirmation of the Plan, the pursuit


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             of Consummation of the Plan, the administration and implementation of the Plan,
             including the issuance or distribution of any Securities pursuant to the Plan, or the
             distribution of property under the Plan or any other related agreement, or upon any
             other related act, omission, transaction, agreement, event, or other occurrence taking
             place on or before the Effective Date except for claims or liabilities arising out of or
             relating to any act or omission by a Released Party that is determined in a Final Order
             of a court of competent jurisdiction to have constituted actual fraud. Notwithstanding
             anything to the contrary in the foregoing, the releases set forth above do not release
             any obligations arising after Consummation of any party or Entity under the Plan,
             any Restructuring Transaction, any document, instrument, or agreement (including
             those set forth in the Plan Supplement) executed to implement the Plan, including the
             assumption of the Indemnification Provisions as set forth in the Plan.

             IMPORTANT INFORMATION REGARDING THE THIRD-PARTY RELEASE:

             UNDER THE PLAN, “RELEASED PARTY” MEANS COLLECTIVELY, AND IN
             EACH CASE IN ITS CAPACITY AS SUCH: (A) EACH OF THE DEBTORS; (B) THE
             REORGANIZED DEBTORS; (C) THE DIP AGENT; (D) EACH OF THE DIP
             LENDERS; (E) EACH HOLDER OF A FIRST LIEN NOTES CLAIM WHO VOTES IN
             FAVOR OF THE PLAN; (F) THE FIRST LIEN NOTES INDENTURE TRUSTEE; (G)
             EACH HOLDER OF A SECOND LIEN NOTES CLAIM WHO VOTES IN FAVOR OF
             THE PLAN; (H) THE SECOND LIEN NOTES INDENTURE TRUSTEE; (I) THE
             AGENTS OR INDENTURE TRUSTEES UNDER THE EXIT SECURED NOTES, EXIT
             ABL FACILITY, AND EXIT TERM FACILITY; (J) EACH LENDER OR HOLDER
             UNDER THE EXIT SECURED NOTES, EXIT ABL FACILITY, AND EXIT TERM
             FACILITY; (K) THE INITIAL COMMITMENT PARTIES; (L) EACH CURRENT AND
             FORMER AFFILIATE OF EACH ENTITY IN CLAUSE (A) THROUGH (K); AND (M)
             EACH RELATED PARTY OF EACH ENTITY IN CLAUSE (A) THROUGH (L);
             PROVIDED, HOWEVER, THAT IN EACH CASE, AN ENTITY SHALL NOT BE A
             RELEASED PARTY IF IT (A) TIMELY PROVIDES, EITHER FORMALLY OR
             INFORMALLY IN WRITING, AN OBJECTION TO THE RELEASES CONTAINED IN
             ARTICLE VIII.E OF THE PLAN THAT IS NOT RESOLVED BEFORE
             CONFIRMATION OF THE PLAN OR (B) ELECTS TO OPT OUT OF THE RELEASES
             CONTAINED IN ARTICLE VIII.F OF THE PLAN; PROVIDED, FURTHER, THAT
             ANY SUCH ENTITY SHALL BE IDENTIFIED BY NAME AS A NON-RELEASED
             PARTY IN THE CONFIRMATION ORDER.

             UNDER THE PLAN, “RELEASING PARTIES” MEANS COLLECTIVELY AND IN
             EACH CASE IN THEIR CAPACITY AS SUCH: (A) THE RELEASED PARTIES
             IDENTIFIED IN SUBSECTION (A)–(L) AND THOSE RELEASED PARTIES
             IDENTIFIED IN SUBSECTION (M) OF THE DEFINITION OF “RELEASED PARTY”
             ON BEHALF OF WHOM THE PARTIES IDENTIFIED IN SUBSECTIONS (A)–(L) OF
             THE DEFINITION OF “RELEASED PARTY” HAVE THE AUTHORITY,
             INCLUDING UNDER ANY AGREEMENT OR APPLICABLE NON-BANKRUPTCY
             LAW, TO GRANT THE THIRD-PARTY RELEASE SET FORTH IN ARTICLE VIII.F;
             (B) THE HOLDERS OF ALL CLAIMS AND INTERESTS WHO VOTE TO ACCEPT

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             THE PLAN; (C) THE HOLDERS OF ALL CLAIMS OR INTERESTS THAT ARE
             UNIMPAIRED UNDER THE PLAN; (D) THE HOLDERS OF ALL CLAIMS OR
             INTERESTS WHOSE VOTE TO ACCEPT OR REJECT THE PLAN IS SOLICITED
             BUT WHO DO NOT VOTE EITHER TO ACCEPT OR TO REJECT THE PLAN AND
             DO NOT OPT OUT OF GRANTING THE RELEASES SET FORTH HEREIN; (E) THE
             HOLDERS OF ALL CLAIMS OR INTERESTS WHO VOTE TO REJECT THE PLAN
             BUT DO NOT OPT OUT OF GRANTING THE RELEASES SET FORTH HEREIN; (F)
             THE HOLDERS OF ALL CLAIMS OR INTERESTS (OTHER THAN HOLDERS OF
             EXISTING PYXUS INTERESTS) WHO ARE DEEMED TO REJECT THE PLAN AND
             WHO DO NOT (A) TIMELY PROVIDE, EITHER FORMALLY OR INFORMALLY IN
             WRITING, AN OBJECTION TO THE RELEASES CONTAINED IN ARTICLE VIII.F
             OF THE PLAN OR (B) ELECT TO OPT OUT OF THE RELEASES CONTAINED IN
             ARTICLE VIII.F OF THE PLAN; (G) THE HOLDERS OF ALL CLAIMS AND
             INTERESTS (OTHER THAN HOLDERS OF EXISTING PYXUS INTERESTS) WHO
             WERE GIVEN NOTICE OF THE OPPORTUNITY TO OPT OUT OF GRANTING THE
             RELEASES SET FORTH HEREIN BUT DID NOT OPT OUT; (H) THE HOLDERS OF
             EXISTING PYXUS INTERESTS WHO DO NOT DULY SUBMIT AN
             EQUITYHOLDER OPT-OUT FORM OPTING OUT OF THE RELEASES
             CONTAINED IN ARTICLE VIII.F OF THE PLAN; AND (I) EACH RELATED PARTY
             OF EACH ENTITY IN CLAUSE (B) THROUGH CLAUSE (H).

             ARTICLE VIII.F OF THE PLAN PROVIDES FOR AN EXCULPATION OF
             CERTAIN PARTIES (THE “EXCULPATION”):

             Effective as of the Effective Date, to the fullest extent permissible under applicable
             law and without affecting or limiting either the Debtor Release or the Third-Party
             Release, and except as otherwise specifically provided in the Plan, no Exculpated
             Party shall have or incur, and each Exculpated Party is released and exculpated from
             any Cause of Action for any claim related to any act or omission in connection with,
             relating to, or arising out of, the formulation, preparation, dissemination, negotiation,
             entry into, or Filing of, as applicable, the Restructuring Support Agreement and
             related prepetition transactions, the Chapter 11 Cases, the Disclosure Statement, the
             Plan, the Plan Supplement, or any Restructuring Transaction, contract, instrument,
             release, or other agreement or document created or entered into in connection with
             the Disclosure Statement or the Plan, the Filing of the Chapter 11 Cases, the pursuit
             of Confirmation of the Plan, the pursuit of Consummation of the Plan, the
             administration and implementation of the Plan, including the issuance of any
             Securities pursuant to the Plan, or the distribution of property under the Plan or any
             other related agreement (including, for the avoidance of doubt, providing any legal
             opinion requested by any Entity regarding any transaction, contract, instrument,
             document, or other agreement contemplated by the Plan or the reliance by any
             Exculpated Party on the Plan or the Confirmation Order in lieu of such legal opinion),
             except for claims or liabilities arising out of or relating to any act or omission that is
             determined in a Final Order of a court of competent jurisdiction to have constituted
             actual fraud, willful misconduct, or gross negligence, but in all respects such Entities
             shall be entitled to reasonably rely upon the advice of counsel with respect to their

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                    duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and
                    upon completion of the Plan shall be deemed to have, participated in good faith and
                    in compliance with the applicable laws with regard to the solicitation of votes and
                    distribution of consideration pursuant to the Plan and, therefore, are not, and on
                    account of such distributions shall not be, liable at any time for the violation of any
                    applicable law, rule, or regulation governing the solicitation of acceptances or
                    rejections of the Plan or such distributions made pursuant to the Plan.

                    ARTICLE VIII.H OF THE PLAN ESTABLISHES AN INJUNCTION (THE
                    “INJUNCTION”):

                    Effective as of the Effective Date, pursuant to section 524(a) of the Bankruptcy Code,
                    to the fullest extent permissible under applicable law, and except as otherwise
                    expressly provided in the Plan or for obligations issued or required to be paid
                    pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or
                    may hold Claims or Interests that have been released, discharged, or are subject to
                    exculpation are permanently enjoined, from and after the Effective Date, from taking
                    any of the following actions against, as applicable, the Debtors, the Reorganized
                    Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or
                    continuing in any manner any action or other proceeding of any kind on account of
                    or in connection with or with respect to any such Claims or Interests; (2) enforcing,
                    attaching, collecting, or recovering by any manner or means any judgment, award,
                    decree, or order against such Entities on account of or in connection with or with
                    respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any
                    encumbrance of any kind against such Entities or the property or the estates of such
                    Entities on account of or in connection with or with respect to any such Claims or
                    Interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind
                    against any obligation due from such Entities or against the property of such Entities
                    on account of or in connection with or with respect to any such Claims or Interests
                    unless such Holder has Filed a motion requesting the right to perform such setoff on
                    or before the Effective Date, and notwithstanding an indication of a claim or interest
                    or otherwise that such Holder asserts, has, or intends to preserve any right of setoff
                    pursuant to applicable law or otherwise; and (5) commencing or continuing in any
                    manner any action or other proceeding of any kind on account of or in connection
                    with or with respect to any such Claims or Interests released or settled pursuant to
                    the Plan.

             OPTIONAL OPT-OUT ELECTION

             If you vote to accept the Plan, you shall be deemed to have consented to the releases, injunction,
             and exculpation provisions set forth above. If you do not consent to the releases, injunction, or
             exculpation provisions, you may elect not to grant such releases but only if you (1) vote to reject
             the Plan in Item 2 above, affirmatively elect to “opt out” of being a releasing party by checking
             the box below, and timely return your Ballot, or (2) abstain from voting by not casting a vote in
             Item 2 above, affirmatively elect to “opt out” of being a releasing party by checking the box below,
             and timely return your Ballot.


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             IF YOU VOTE TO ACCEPT THE PLAN, YOU SHALL BE DEEMED TO HAVE
             CONSENTED TO THE THIRD-PARTY RELEASE IN ARTICLE VIII OF THE PLAN AND
             YOU CANNOT OPT OUT OF THE THIRD-PARTY RELEASE. IF YOU (1) ABSTAIN FROM
             VOTING ON THE PLAN OR (2) VOTE TO REJECT THE PLAN AND, IN EITHER CASE, DO
             NOT CHECK THE BOX BELOW, YOU SHALL BE DEEMED TO HAVE CONSENTED TO
             THE THIRD-PARTY RELEASE AS SET FORTH IN ARTICLE VIII OF THE PLAN.

                   The Holder of the Class 4 Second Lien Senior Notes Claims set forth in Item 1
                                                    elects to:

                                      ☐ Opt Out of the Third-Party Release




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                                         Exhibit A

Please check one box below to indicate the Plan Class and CUSIP/ISIN to which this
Master Ballot pertains (or clearly indicate such information directly on the Master
Ballot or on a schedule thereto):


                         CLASS 4 – SECOND LIEN NOTES CLAIMS


                 9.875% due 7/15/2021               CUSIP 018772AS2 / ISIN US018772AS22

           9.875% due 7/15/2021 (Series 144A)       CUSIP 018772AR4/ ISIN US018772AR49

          9.875% due 7/15/2021 (Series REGS)        CUSIP U0187PAG1/ ISIN USU0187PAG10
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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE
                                                                    )
In re:                                                              )    Chapter 11
                                                                    )
PYXUS INTERNATIONAL, INC., et al.,1                                 )    Case No. 20-11570 (LSS)
                                                                    )
                                                                    )
                                         Debtors.                   )    (Jointly Administered)
                                                                    )

           EQUITYHOLDER OPT-OUT FORM FOR HOLDERS OF EXISTING PYXUS INTERESTS
       IN ACCORDANCE WITH JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION
                 OF PYXUS INTERNATIONAL, INC. AND ITS AFFILIATED DEBTORS

              FOR BENEFICIAL OWNERS WHO HOLD THEIR STOCK THROUGH A NOMINEE



    IF YOU WISH TO MAKE AN OPT-OUT ELECTION, YOUR NOMINEE MUST HAVE ACTUALLY
  EFFECTED YOUR ELECTION BY JULY 20, 2020 AT 5:00 P.M. (PREVAILING EASTERN TIME) (THE
       “ELECTION DEADLINE”) OR YOUR ELECTION MAY NOT BE VALID OR CONSIDERED.


 General Information Concerning this Equityholder Opt-Out Form

 The above-captioned debtors and debtors in possession (collectively, the “Debtors”) have filed the Joint
 Prepackaged Chapter 11 Plan of Reorganization of Pyxus International, Inc. and its Affiliated Debtors [Docket
 No. 21] (as it may be amended, modified or supplemented from time to time, the “Plan”), which is described in the
 Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus International, Inc. and
 its Affiliated Debtors [Docket No. 22] (as it may be amended, modified or supplemented from time to time, the
 “Disclosure Statement”), and have filed voluntary petitions for reorganization under chapter 11 of title 11 of the
 United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) to implement the Plan (the “Chapter 11
 Cases”) in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).2

 You are receiving this opt-out form (this “Equityholder Opt-Out Form”) because, according to the books and
 records of your Nominee (defined below), you may be a Holder of Existing Pyxus Interests in Class 10 under the
 Plan. This Equityholder Opt-Out Form is being provided to the banks, brokerage firms, and other nominees (each, a
 “Nominee”) to forward to beneficial owners for whom they hold Existing Pyxus Interests. Under the terms of the
 Plan, Holders of Class 10 Existing Pyxus Interests are conclusively deemed to have rejected the Plan pursuant to
 section 1126(g) of the Bankruptcy Code. Therefore, Holders of Class 10 Existing Pyxus Interests were not entitled
 to vote to accept or reject the Plan.

 As described in more detail below, Article VIII.F of the Plan contains certain voluntary releases. This Equityholder
 Opt-Out Form provides you with the opportunity to elect to opt out of the voluntary releases in Article VIII.F of the
 Plan.


 1 The Debtors in the Chapter 11 Cases, along with the last four digits of each Debtor’s United States federal tax identification
 number, are: Pyxus International, Inc. (6567), Alliance One International, LLC (3302), Alliance One North America, LLC
 (7908), Alliance One Specialty Products, LLC (0115) and GSP Properties, LLC (5603). The Debtors’ mailing address is 8001
 Aerial Center Parkway, Morrisville, NC 27560-8417.
 2   Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Plan.



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ALTHOUGH HOLDERS OF EXISTING PYXUS INTERESTS WERE NOT ENTITLED TO VOTE TO
ACCEPT OR REJECT THE PLAN, HOLDERS OF PYXUS COMMON STOCK ARE ENTITLED TO
RECEIVE THEIR RATABLE SHARE OF THE EXISTING EQUITY CASH POOL PROVIDED FOR
UNDER THE PLAN, AS DESCRIBED MORE FULLY IN THE PLAN AND THE DISCLOSURE
STATEMENT.

SUBJECT TO ARTICLE III.B.10 OF THE PLAN, HOLDERS OF PYXUS COMMON STOCK WILL
AUTOMATICALLY RECEIVE THEIR RATABLE SHARE OF THE EXISTING EQUITY CASH POOL
UNLESS THEY EITHER (I) SUBMIT THIS EQUITYHOLDER OPT-OUT FORM PRIOR TO THE
ELECTION DEADLINE OR (II) OPPOSE, OBJECT TO, OR SEEK TO IMPEDE OR DELAY
CONFIRMATION OF THE PLAN.

Although the Plan does not provide for a distribution to Holders of Existing Pyxus Interests on account of such
Existing Pyxus Interests, each Holder of Pyxus Common Stock has the opportunity to:

     (i)     receive its pro rata share of the Existing Equity Cash Pool, which is the “default” option if no action is
             taken, as described further below, OR

     (ii)    pursuant to this Equityholder Opt-Out Form, elect to opt out of granting the voluntary releases
             contained in Article VIII.F of the Plan; provided, however, that any Holder of Pyxus Common Stock
             who opts not to grant the voluntary releases contained in Article VIII.F of the Plan, pursuant to this
             Equityholder Opt-Out Form, shall not be entitled to and shall not receive any portion of the Existing
             Equity Cash Pool in connection with the Plan.

IMPORTANT NOTE: The Plan provides for the cancellation of all shares of Existing Pyxus Interests, and
only those Holders of Pyxus Common Stock who grant the releases to the Released Parties under the Plan
and refrain from taking certain actions (set forth in Article III.B.10 of the Plan) during the Chapter 11 Cases
will receive their ratable share of the Existing Equity Cash Pool. Pursuant to sub-clause (b) of Article
III.B.10 of the Plan, a Holder of Pyxus Common Stock that opposes, objects to, or seeks to impede or delay
confirmation of the Plan will not be eligible to receive its ratable share of the Existing Equity Cash Pool.

Making an Alternative Election Under this Equityholder Opt-Out Form

Holders of Existing Pyxus Interests who take no action with respect to this Equityholder Opt-Out Form will
automatically be deemed to grant the releases contained in Article VIII.F of the Plan. In addition, subject to Article
II.B.10 of the Plan, Holders of Pyxus Common Stock who take no action with respect to this Equityholder Opt-Out
Form shall receive their ratable portion of the Existing Equity Cash Pool, providing they still hold their Pyxus
Common Stock at the time Plan distributions are made.

This Equityholder Opt-Out Form provides you with the option to elect to opt out of granting the voluntary releases
contained in Article VIII.F of the Plan. If you are a Holder of Pyxus Common Stock, opting out of granting these
voluntary releases will disqualify you from receiving any portion of the Existing Equity Cash Pool connection with
the Plan.

Any Holder of Existing Pyxus Interests that does not return a completed Equityholder Opt-Out Form shall
automatically be deemed to grant the releases contained in Article VIII.F of the Plan and, if applicable,
subject to Article II.B.10 of the Plan, shall receive their ratable share of the Existing Equity Cash Pool.

You should review the Disclosure Statement and the Plan before you make any elections on this Equityholder Opt-
Out Form. You may wish to seek legal advice concerning the elections available under this Equityholder Opt-Out
Form. Copies of the Disclosure Statement and the Plan (attached as Exhibit A to the Disclosure Statement) may be
found on the Debtors’ restructuring website at http://www.primeclerk.com/Pyxus and are also available for free
upon request by contacting the Debtors’ proposed counsel (Brenda S. Walters, paralegal, tel: 302-571-6600; fax:
302-571-1253; bwalters@ycst.com).



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Questions may be directed to Prime Clerk LLC, the Solicitation Agent, at (844) 974-2130 (toll free).

                                             Release Opt-Out Election

This election allows you to:
       OPT OUT OF THE VOLUNTARY RELEASES IN THE PLAN, WHICH WILL DISQUALIFY YOU
        FROM (I) BEING SUBJECT TO AND BENEFITING FROM THE RELEASES IN ARTICLE VIII.F
        OF THE PLAN AND (II) IF APPLICABLE, RECEIVING YOUR RATABLE SHARE OF THE
        EXISTING EQUITY CASH POOL.

Complete and return this Form if you wish to elect to opt out of granting the voluntary releases contained in
Article VIII.F of the Plan and, if applicable, receive no portion of the Existing Equity Cash Pool.

Summary of Election

Article VIII.F of the Plan contains a voluntary third-party release that binds releasing parties, which is described in
greater detail below. Releasing parties include Holders of Existing Pyxus Interests that do not opt out of the releases
provided for in Article VIII.F of the Plan by properly completing and making an election under this Equityholder
Opt-Out Form. Any Holder of Pyxus Common Stock that opts not to grant the voluntary releases contained in
Article VIII.F of the Plan, pursuant to this Equityholder Opt-Out Form, shall not be entitled to any portion of the
Existing Equity Cash Pool in connection with the Plan (and all of such Holder’s Existing Pyxus Interests will be
cancelled in connection with the Plan).

                        IMPORTANT INFORMATION REGARDING THE RELEASE

YOU WILL BE DEEMED TO HAVE GRANTED THE RELEASES CONTAINED IN ARTICLE VIII.F OF
THE PLAN AND, IF APPLICABLE, SHALL RECEIVE YOUR RATABLE SHARE OF THE EXISTING
EQUITY CASH POOL, UNLESS YOU COMPLETE AND RETURN THIS OPT-OUT FORM BY THE
ELECTION DEADLINE.

Article VIII.F of the Plan contains the following provision:

Third Party Release

Effective as of the Effective Date, each Releasing Party, in each case on behalf of itself and its respective
successors, assigns, and representatives, and any and all other Entities who may purport to assert any Cause
of Action, directly or derivatively, by, through, for, or because of the foregoing Entities, is deemed to have
released and discharged each Debtor, Reorganized Debtor, and Released Party from any and all Causes of
Action, whether known or unknown (including any derivative claims, asserted or assertable on behalf of any
of the Debtors) that such Entity would have been legally entitled to assert (whether individually or
collectively), based on or relating to, or in any manner arising from, in whole or in part, the Debtors
(including the management, ownership or operation thereof), the purchase, sale, or rescission of any Security
of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events giving rise to,
any Claim or Interest that is treated in the Plan, the business or contractual arrangements between any
Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, intercompany
transactions, the DIP Facility, the DIP Orders, the First Lien Notes, the Second Lien Notes, the Exit ABL
Facility, the Exit Term Facility, the Exit Secured Notes or Replacement First Lien Financing, as applicable,
the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, entry into, or Filing of, as
applicable, the Restructuring Support Agreement and related prepetition transactions, the Disclosure
Statement, the New Pyxus Constituent Documents, the New Shareholders Agreement, the Plan, or any
Restructuring Transaction, contract, instrument, release, or other agreement or document created or entered
into in connection with the Restructuring Support Agreement, the Disclosure Statement, the New Pyxus
Constituent Documents, the New Shareholders Agreement, or the Plan (including, for the avoidance of doubt,
providing any legal opinion requested by any Entity regarding any transaction, contract, instrument,
document, or other agreement contemplated by the Plan or the reliance by any Released Party on the Plan or
                                                          3

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the Confirmation Order in lieu of such legal opinion), the Plan Supplement, the Filing of the Chapter 11
Cases, the pursuit of Confirmation of the Plan, the pursuit of Consummation of the Plan, the administration
and implementation of the Plan, including the issuance or distribution of any Securities pursuant to the Plan,
or the distribution of property under the Plan or any other related agreement, or upon any other related act,
omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date
except for claims or liabilities arising out of or relating to any act or omission by a Released Party that is
determined in a Final Order of a court of competent jurisdiction to have constituted actual fraud.
Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release any
obligations arising after Consummation of any party or Entity under the Plan, any Restructuring
Transaction, any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan, including the assumption of the Indemnification Provisions as set forth in the
Plan.

Instructions for Making a Release Opt-Out Election

If you wish to make the election and opt-out of granting the releases contained in Article VIII.F of the Plan, check
the box under “Your Election” below. If your election contained in this Equityholder Opt-Out Form is not received
by the Nominee that sent you this Equityholder Opt-Out Form in sufficient time for the Nominee to transmit your
election by the Election Deadline, your election will not count, your Equityholder Opt-Out Form will not be
effective, and you will be deemed to have consented to the releases provided for in Article VIII.F of the Plan. If
your election is received and the opt-out box below is not checked, you will be deemed to have consented to the
releases provided for in Article VIII.F of the Plan. Any opt-out election that is illegible or does not provide
sufficient information to identify the Holder of Existing Pyxus Interests will not be valid.

You must direct your nominee to tender your Existing Pyxus Interests pursuant to the instructions provided
to you by your Nominee no later than the Election Deadline if you wish to elect to opt out of granting the
releases in Article VIII.F of the Plan and, to the extent applicable, receive no portion of the Existing Equity
Cash Pool.

As part of the election process, following such a direction to your Nominee, the related equity position at The
Depository Trust Company will be frozen from trading as described below. All forms required by your Nominee
must be returned to the applicable Nominee in sufficient time to allow such Nominee to process and deliver
the underlying equity through the DTC Automated Tender Offer Program (“ATOP”) by the Election
Deadline.

By giving the instruction to your Nominee to submit your Existing Pyxus Interests through ATOP, you are
(i) authorizing your Nominee to exercise the election set forth herein; and (ii) certifying that you understand that,
once submitted, your Existing Pyxus Interests will be frozen from trading until such time that the equity is cancelled
and deemed null, void and worthless.

All questions as to the validity, form, eligibility (including time of receipt) and acceptance and revocation of an opt-
out election will be resolved by the Debtors or Reorganized Debtors (as applicable), in their sole discretion, which
resolution shall be final and binding.

If you have any questions on how to properly complete this Equityholder Opt-Out Form, you may contact the
Solicitation Agent at (844) 974-2130 (toll free).

IF YOU WISH TO MAKE AN OPT-OUT ELECTION, PLEASE COMPLETE, SIGN AND DATE THIS
EQUITYHOLDER OPT-OUT FORM AND RETURN IT PROMPTLY TO YOUR NOMINEE IN THE
ENVELOPE PROVIDED OR OTHERWISE FOLLOW YOUR NOMINEE’S INSTRUCTIONS WITH
RESPECT TO SUBMITTING YOUR ELECTION.




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Opt-Out Election

The undersigned, a Holder of Existing Pyxus Interests:

                    ELECTS TO OPT OUT OF THE RELEASES IN ARTICLE VIII.F OF THE PLAN AND, AS A
                RESULT, (I) NOT BE SUBJECT TO OR BENEFIT FROM THE RELEASES UNDER ARTICLE
                VIII OF THE PLAN AND (II) IF APPLICABLE, RECEIVE NO PORTION OF THE EXISTING
                EQUITY CASH POOL.

             To effect an election to Opt Out of the Releases in Article VIII.F of the Plan, your Nominee
                must tender 100% of the underlying shares of Existing Pyxus Interests held for you

                      IF YOU HAVE MADE THE ELECTION ABOVE, YOU MUST SIGN
                     THE ELECTION FORM CONTAINED ON THE FOLLOWING PAGE.

                                   PLEASE GO TO THE FOLLOWING PAGE.




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                                     Certification and Signature for Opt-Out Election

Certification. By signing this Equityholder Opt-Out Form or otherwise providing instructions to your Nominee
with respect to this Equityholder Opt-Out Form, the electing Holder of Existing Pyxus Interests certifies to the
Bankruptcy Court and the Debtors:

             a)      that the Holder acknowledges that the election provided for in this Equityholder Opt-Out Form is
             being made pursuant to the terms and conditions set forth in the Plan;

             b)       that the Holder (i) has the full power and authority to make the election provided for in this
             Equityholder Opt-Out Form with respect to Class 10 Existing Pyxus Interests and (ii) authorizes the
             Nominee to treat an election under this Equityholder Opt-Out Form as a direction to electronically deliver
             such Holder’s Shares of Class 10 Existing Pyxus Interests to the respective account established for that
             purpose; and

             c)       that upon the completion and submission of a proper election under this Equityholder Opt-Out
             Form in compliance with the required procedures, the undersigned understands and acknowledges that its
             shares of Class 10 Existing Pyxus Interests are no longer freely tradable.

             Name of Holder (Please Print)

             Authorized Signature

             Name of Signatory

             Title, if by Authorized Agent3

             Street Address

             City, State, Zip Code

             Telephone Number

             Date Completed

             VOI Number                                              ________________________________________

FOLLOW THE DIRECTIONS OF YOUR NOMINEE WITH RESPECT TO PROVIDING YOUR
INSTRUCTIONS TO YOUR NOMINEE. YOUR NOMINEE MAY NOT REQUIRE THE RETURN OF A
SIGNATURE PAGE, AND MAY REQUEST THAT YOU FOLLOW A DIFFERENT PROCEDURE TO
PROVIDE YOUR INSTRUCTIONS.

IF YOUR NOMINEE INSTRUCTS YOU TO RETURN THE FORM TO PRIME CLERK, YOU MAY DO
SO VIA EMAIL AT PYXUSBALLOTS@PRIMECLERK.COM




3   If you are completing this Equityholder Opt-Out Form on behalf of another person or entity, indicate your relationship with
    such person or entity and the capacity in which you are signing.

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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE
                                                                    )
In re:                                                              )    Chapter 11
                                                                    )
PYXUS INTERNATIONAL, INC., et al.,1                                 )    Case No. 20-11570 (LSS)
                                                                    )
                                                                    )
                                         Debtors.                   )    (Jointly Administered)
                                                                    )

           EQUITYHOLDER OPT-OUT FORM FOR HOLDERS OF EXISTING PYXUS INTERESTS
       IN ACCORDANCE WITH JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION
                 OF PYXUS INTERNATIONAL, INC. AND ITS AFFILIATED DEBTORS

                FOR REGISTERED HOLDERS ON THE BOOKS OF THE TRANSFER AGENT



       IF YOU WISH TO MAKE AN OPT-OUT ELECTION, THE SOLICITATION AGENT MUST HAVE
     ACTUALLY RECEIVED YOUR ELECTION BY JULY 20, 2020 AT 5:00 P.M. (PREVAILING EASTERN
           TIME) (THE “ELECTION DEADLINE”) OR YOUR ELECTION MAY NOT BE VALID OR
                                       CONSIDERED.


 General Information Concerning this Equityholder Opt-Out Form

 The above-captioned debtors and debtors in possession (collectively, the “Debtors”) have filed the Joint
 Prepackaged Chapter 11 Plan of Reorganization of Pyxus International, Inc. and its Affiliated Debtors [Docket
 No. 21] (as it may be amended, modified or supplemented from time to time, the “Plan”), which is described in the
 Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of Reorganization of Pyxus International, Inc. and
 its Affiliated Debtors [Docket No. 22] (as it may be amended, modified or supplemented from time to time, the
 “Disclosure Statement”), and have filed voluntary petitions for reorganization under chapter 11 of title 11 of the
 United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) to implement the Plan (the “Chapter 11
 Cases”) in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).2

 You are receiving this opt-out form (this “Equityholder Opt-Out Form”) because, according to the Debtors’ books
 and records, you may be a Holder of Existing Pyxus Interests in Class 10 under the Plan. Under the terms of the
 Plan, Holders of Class 10 Existing Pyxus Interests are conclusively deemed to have rejected the Plan pursuant to
 section 1126(g) of the Bankruptcy Code. Therefore, Holders of Class 10 Existing Pyxus Interests were not entitled
 to vote to accept or reject the Plan.

 As described in more detail below, Article VIII.F of the Plan contains certain voluntary releases. This Equityholder
 Opt-Out Form provides you with the opportunity to elect to opt out of the voluntary releases in Article VIII.F of the
 Plan.



 1 The Debtors in the Chapter 11 Cases, along with the last four digits of each Debtor’s United States federal tax identification
 number, are: Pyxus International, Inc. (6567), Alliance One International, LLC (3302), Alliance One North America, LLC
 (7908), Alliance One Specialty Products, LLC (0115) and GSP Properties, LLC (5603). The Debtors’ mailing address is 8001
 Aerial Center Parkway, Morrisville, NC 27560-8417.
 2   Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Plan.



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ALTHOUGH HOLDERS OF EXISTING PYXUS INTERESTS WERE NOT ENTITLED TO VOTE TO
ACCEPT OR REJECT THE PLAN, HOLDERS OF PYXUS COMMON STOCK ARE ENTITLED TO
RECEIVE THEIR RATABLE SHARE OF THE EXISTING EQUITY CASH POOL PROVIDED FOR
UNDER THE PLAN, AS DESCRIBED MORE FULLY IN THE PLAN AND THE DISCLOSURE
STATEMENT.

SUBJECT TO ARTICLE III.B.10 OF THE PLAN, HOLDERS OF PYXUS COMMON STOCK WILL
AUTOMATICALLY RECEIVE THEIR RATABLE SHARE OF THE EXISTING EQUITY CASH POOL
UNLESS THEY EITHER (I) SUBMIT THIS EQUITYHOLDER OPT-OUT FORM PRIOR TO THE
ELECTION DEADLINE OR (II) OPPOSE, OBJECT TO, OR SEEK TO IMPEDE OR DELAY
CONFIRMATION OF THE PLAN.

Although the Plan does not provide for a distribution to Holders of Existing Pyxus Interests on account of such
Existing Pyxus Interests, each Holder of Pyxus Common Stock has the opportunity to:

     (i)     receive its pro rata share of the Existing Equity Cash Pool, which is the “default” option if no action is
             taken, as described further below, OR

     (ii)    pursuant to this Equityholder Opt-Out Form, elect to opt out of granting the voluntary releases
             contained in Article VIII.F of the Plan; provided, however, that any Holder of Pyxus Common Stock
             who opts not to grant the voluntary releases contained in Article VIII.F of the Plan, pursuant to this
             Equityholder Opt-Out Form, shall not be entitled to and shall not receive any portion of the Existing
             Equity Cash Pool in connection with the Plan.

IMPORTANT NOTE: The Plan provides for the cancellation of all shares of Existing Pyxus Interests, and
only those Holders of Pyxus Common Stock who grant the releases to the Released Parties under the Plan
and refrain from taking certain actions (set forth in Article III.B.10 of the Plan) during the Chapter 11 Cases
will receive their ratable share of the Existing Equity Cash Pool. Pursuant to sub-clause (b) of Article
III.B.10 of the Plan, a Holder of Pyxus Common Stock that opposes, objects to, or seeks to impede or delay
confirmation of the Plan will not be eligible to receive its ratable share of the Existing Equity Cash Pool.

Making an Alternative Election Under this Equityholder Opt-Out Form

Holders of Existing Pyxus Interests who take no action with respect to this Equityholder Opt-Out Form will
automatically be deemed to grant the releases contained in Article VIII.F of the Plan. In addition, subject to Article
II.B.10 of the Plan, Holders of Pyxus Common Stock who take no action with respect to this Equityholder Opt-Out
Form shall receive their ratable portion of the Existing Equity Cash Pool, providing they still hold their Pyxus
Common Stock at the time Plan distributions are made.

This Equityholder Opt-Out Form provides you with the option to elect to opt out of granting the voluntary releases
contained in Article VIII.F of the Plan. If you are a Holder of Pyxus Common Stock, opting out of granting these
voluntary releases will disqualify you from receiving any portion of the Existing Equity Cash Pool connection with
the Plan.

Any Holder of Existing Pyxus Interests that does not return a completed Equityholder Opt-Out Form shall
automatically be deemed to grant the releases contained in Article VIII.F of the Plan and, if applicable,
subject to Article II.B.10 of the Plan, shall receive their ratable share of the Existing Equity Cash Pool.

You should review the Disclosure Statement and the Plan before you make any elections on this Equityholder Opt-
Out Form. You may wish to seek legal advice concerning the elections available under this Equityholder Opt-Out
Form. Copies of the Disclosure Statement and the Plan (attached as Exhibit A to the Disclosure Statement) may be
found on the Debtors’ restructuring website at http://www.primeclerk.com/Pyxus and are also available for free
upon request by contacting the Debtors’ proposed counsel (Brenda S. Walters, paralegal, tel: 302-571-6600; fax:
302-571-1253; bwalters@ycst.com).




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Questions may be directed to Prime Clerk LLC, the Solicitation Agent, at (844) 974-2130 (toll free).

                                             Release Opt-Out Election

This election allows you to:
       OPT OUT OF THE VOLUNTARY RELEASES IN THE PLAN, WHICH WILL DISQUALIFY YOU
        FROM (I) BEING SUBJECT TO AND BENEFITING FROM THE RELEASES IN ARTICLE VIII.F
        OF THE PLAN AND (II) IF APPLICABLE, RECEIVING YOUR RATABLE SHARE OF THE
        EXISTING EQUITY CASH POOL.

Complete and return this Form if you wish to elect to opt out of granting the voluntary releases contained in
Article VIII.F of the Plan and, if applicable, receive no portion of the Existing Equity Cash Pool.

Summary of Election

Article VIII.F of the Plan contains a voluntary third-party release that binds releasing parties, which is described in
greater detail below. Releasing parties include Holders of Existing Pyxus Interests that do not opt out of the releases
provided for in Article VIII.F of the Plan by properly completing and making an election under this Equityholder
Opt-Out Form. Any Holder of Pyxus Common Stock that opts not to grant the voluntary releases contained in
Article VIII.F of the Plan, pursuant to this Equityholder Opt-Out Form, shall not be entitled to any portion of the
Existing Equity Cash Pool in connection with the Plan (and all of such Holder’s Existing Pyxus Interests will be
cancelled in connection with the Plan).

                        IMPORTANT INFORMATION REGARDING THE RELEASE

YOU WILL BE DEEMED TO HAVE GRANTED THE RELEASES CONTAINED IN ARTICLE VIII.F OF
THE PLAN AND, IF APPLICABLE, SHALL RECEIVE YOUR RATABLE SHARE OF THE EXISTING
EQUITY CASH POOL, UNLESS YOU COMPLETE AND RETURN THIS OPT-OUT FORM BY THE
ELECTION DEADLINE.

Article VIII.F of the Plan contains the following provision:

Third Party Release

Effective as of the Effective Date, each Releasing Party, in each case on behalf of itself and its respective
successors, assigns, and representatives, and any and all other Entities who may purport to assert any Cause
of Action, directly or derivatively, by, through, for, or because of the foregoing Entities, is deemed to have
released and discharged each Debtor, Reorganized Debtor, and Released Party from any and all Causes of
Action, whether known or unknown (including any derivative claims, asserted or assertable on behalf of any
of the Debtors) that such Entity would have been legally entitled to assert (whether individually or
collectively), based on or relating to, or in any manner arising from, in whole or in part, the Debtors
(including the management, ownership or operation thereof), the purchase, sale, or rescission of any Security
of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events giving rise to,
any Claim or Interest that is treated in the Plan, the business or contractual arrangements between any
Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, intercompany
transactions, the DIP Facility, the DIP Orders, the First Lien Notes, the Second Lien Notes, the Exit ABL
Facility, the Exit Term Facility, the Exit Secured Notes or Replacement First Lien Financing, as applicable,
the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, entry into, or Filing of, as
applicable, the Restructuring Support Agreement and related prepetition transactions, the Disclosure
Statement, the New Pyxus Constituent Documents, the New Shareholders Agreement, the Plan, or any
Restructuring Transaction, contract, instrument, release, or other agreement or document created or entered
into in connection with the Restructuring Support Agreement, the Disclosure Statement, the New Pyxus
Constituent Documents, the New Shareholders Agreement, or the Plan (including, for the avoidance of doubt,
providing any legal opinion requested by any Entity regarding any transaction, contract, instrument,
document, or other agreement contemplated by the Plan or the reliance by any Released Party on the Plan or

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the Confirmation Order in lieu of such legal opinion), the Plan Supplement, the Filing of the Chapter 11
Cases, the pursuit of Confirmation of the Plan, the pursuit of Consummation of the Plan, the administration
and implementation of the Plan, including the issuance or distribution of any Securities pursuant to the Plan,
or the distribution of property under the Plan or any other related agreement, or upon any other related act,
omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date
except for claims or liabilities arising out of or relating to any act or omission by a Released Party that is
determined in a Final Order of a court of competent jurisdiction to have constituted actual fraud.
Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release any
obligations arising after Consummation of any party or Entity under the Plan, any Restructuring
Transaction, any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan, including the assumption of the Indemnification Provisions as set forth in the
Plan.

Instructions for Making a Release Opt-Out Election

If you wish to make the election and opt-out of granting the releases contained in Article VIII.F of the Plan, check
the box under “Your Election” below. If your election contained in this Equityholder Opt-Out Form is not received
by the Solicitation Agent by the Election Deadline, your election will not count, your Equityholder Opt-Out Form
will not be effective, and you will be deemed to have consented to the releases provided for in Article VIII.F of the
Plan. If your election is received and the opt-out box below is not checked, you will be deemed to have consented to
the releases provided for in Article VIII.F of the Plan. Any opt-out election that is illegible or does not provide
sufficient information to identify the Holder of Existing Pyxus Interests will not be valid.

All questions as to the validity, form, eligibility (including time of receipt) and acceptance and revocation of an opt-
out election will be resolved by the Debtors or Reorganized Debtors (as applicable), in their sole discretion, which
resolution shall be final and binding.

If you have any questions on how to properly complete this Equityholder Opt-Out Form, you may contact the
Solicitation Agent at (844) 974-2130 (toll free).

IF YOU WISH TO MAKE AN OPT-OUT ELECTION, PLEASE COMPLETE, SIGN AND DATE THIS
EQUITYHOLDER OPT-OUT FORM AND RETURN IT PROMPTLY TO THE SOLICITATION AGENT
IN THE ENVELOPE PROVIDED, IN ACCORDANCE WITH THE INSTRUCTIONS CONTAINED IN
THIS OPT-OUT FORM.

Opt-Out Election

The undersigned, a Holder of Existing Pyxus Interests:

                 ELECTS TO OPT OUT OF THE RELEASES IN ARTICLE VIII.F OF THE PLAN AND, AS A
             RESULT, (I) NOT BE SUBJECT TO OR BENEFIT FROM THE RELEASES UNDER ARTICLE
             VIII OF THE PLAN AND (II) IF APPLICABLE, RECEIVE NO PORTION OF THE EXISTING
             EQUITY CASH POOL.

                    IF YOU HAVE MADE THE ELECTION ABOVE, YOU MUST SIGN
                   THE ELECTION FORM CONTAINED ON THE FOLLOWING PAGE.

                                  PLEASE GO TO THE FOLLOWING PAGE.




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                                     Certification and Signature for Opt-Out Election

Certification. By signing this Equityholder Opt-Out Form, the electing Holder of Existing Pyxus Interests certifies
to the Bankruptcy Court and the Debtors:

             a)      that the Holder acknowledges that the election provided for in this Equityholder Opt-Out Form is
             being made pursuant to the terms and conditions set forth in the Plan;

             b)      that the Holder has the full power and authority to make the election provided for in this
             Equityholder Opt-Out Form with respect to Class 10 Existing Pyxus Interests; and

             c)       that upon the completion and submission of a proper election under this Equityholder Opt-Out
             Form in compliance with the required procedures, the undersigned understands and acknowledges that its
             shares of Class 10 Existing Pyxus Interests are no longer freely tradable.




             Name of Holder (Please Print)

             Authorized Signature

             Name of Signatory

             Title, if by Authorized Agent3

             Street Address

             City, State, Zip Code

             Telephone Number

             Date Completed




3   If you are completing this Equityholder Opt-Out Form on behalf of another person or entity, indicate your relationship with
    such person or entity and the capacity in which you are signing.


                                                               5
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                        Exhibit G
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                                                                                      Exhibit G
                                                                                Nominee Service List
                                                                              Served via First Class Mail
                                Name                             Address 1                                   Address 2               City        State   Postal Code
DEPOSITORY TRUST CO                            55 WATER STREET                                  25TH FLOOR                    NEW YORK      NY                  10041




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                        Exhibit H
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                                                                       Exhibit H
                                                                   Depositories Service List
                                                                      Served via Email


                                       Name                                                                 Email
                                                             nathalie.chataigner@clearstream.com; cherifa.maameri@clearstream.com;
                                                             CA_Luxembourg@clearstream.com; david.mccauley@clearstream.com;
 Clearstream                                                 ca_mandatory.events@clearstream.com; hulya.din@clearstream.com
                                                             MandatoryReorgAnnouncements@dtcc.com; voluntaryreorgannouncements@dtcc.com;
 DTC                                                         LegalAndTaxNotices@dtcc.com; rgiordano@dtcc.com;
 Euro Clear                                                  JPMorganInformation.Services@jpmorgan.com'; eb.ca@euroclear.com
 SIS                                                         ca.notices@six-securities-services.com




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                         Exhibit I
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                                                                                                 Exhibit I
                                                                                        Bond Nominees Service List
                                                                           Served via Overnight Mail or Next Day Business Service

                               Name                           Address 1                                       Address 2                     Address 3            City          State   Postal Code
BROADRIDGE                                  JOBS Z77789 Z77790                             51 MERCEDES WAY                                                 EDGEWOOD       NY             11717
MEDIANT COMMUNICATIONS                      ATTN STEPHANIE FITZHENRY                       PROXY CENTER                             100 DEMAREST DRIVE     WAYNE          NJ           07470-0000
DEPOSITORY TRUST CO                         ATTN ED HAIDUK                                 55 WATER STREET                          25TH FLOOR             NEW YORK       NY             10041
DEPOSITORY TRUST CO                         ATTN HORACE DALEY                              55 WATER STREET                          25TH FLOOR             NEW YORK       NY             10041
BNY MELLON NEW ENGLAND 0954                 ATTN BETH STIFFLER OR PROXY MGR                525 WILLIAM PENN PLACE                   SUITE 300              PITTSBURGH     PA             15259
JPMORGAN CHASE BANK NA 0902                 ATTN JACOB BACK OR PROXY MGR                   14201 DALLAS PARKWAY                     12TH FLOOR             DALLAS         TX             75254
NORTHERN TRUST COMPANY THE 2669             ATTN ROBERT VALENTIN OR PROXY MGR              801 S CANAL STREET                       REORG DEPT FLOOR C1N   CHICAGO        IL             60607
STATE STREET 0997                           ATTN MIKE FEELEY ROB RAY OR PROXY              MGR CORP ACTIONS JAB5E                   1776 HERITAGE DRIVE    NORTH QUINCY   MA           02171-0000
THE BANK OF NEW YORK MELLON 0901            ATTN BRIAN MARNELL OR PROXY MGR                525 WILLIAM PENN PLACE                   ROOM 0300              PITTSBURGH     PA             15259




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                        Exhibit J
                                              Case 20-11570-LSS    Doc 122 Filed 06/26/20             Page 88 of 107
                                                                        Exhibit J
                                                             Nominees and Depositories Service List
                                                                        Served via Email


                                       Name                                                                 Email
 Broadridge                                                   SpecialProcessing@broadridge.com; BankruptcyJobs@broadridge.com

                                                              documents@mediantonline.com; mkoester@mediantonline.com; mhamdan@mediantonline.com;
                                                              darchangel@mediantonline.com; MTaylor@mediantonline.com; mdickens@mediantonline.com;
 Mediant                                                      corporateactions@mediantonline.com; mhamdan@mediantonline.com; mgiffin@mediantonline.com




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                        Exhibit K
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                                                                                                      Exhibit K
                                                                                             Equity Nominees Service List
                                                                                Served via Overnight Mail or Next Day Business Service

                                Name                          Address 1                                     Address 2                            Address 3                 City           State    Postal Code      Country
BROADRIDGE                                  JOBS E19650                                    51 MERCEDES WAY                                                           EDGEWOOD          NY                   11717
MEDIANT COMMUNICATIONS                      ATTN STEPHANIE FITZHENRY PROXY CNT             100 DEMAREST DRIVE                                                        WAYNE             NJ         07470-0000
DEPOSITORY TRUST CO                         ATTN ED HAIDUK                                 55 WATER STREET 25TH FLOOR                                                NEW YORK          NY                   10041
DEPOSITORY TRUST CO                         ATTN HORACE DALEY                              55 WATER STREET 25TH FLOOR                                                NEW YORK          NY                   10041
AMALGAMATED BANK 2352                       ATTN STEPHEN ERB OR REORG DEPT                 275 7TH AVE 9TH FL                                                        NEW YORK          NY                   10001
AMALGAMATED BANK CHICAGO 1574 2567          ATTN BERNETTA SMITH OR REORG MGR               ONE WEST MONROE STREET                                                    CHICAGO           IL                   60603
AMERIPRISE 0216 0756                        ATTN TOM EBERHART OR REORG MGR                 2178 AMP FINANCIAL CENTER                                                 MINNEAPOLIS       MN                   55474
AMERIPRISE 0756                             ATTN ERIN M STIELER OR REORG MGR               682 AMP FINANCIAL CENTER                                                  MINNEAPOLIS       MN                   55474
AMERIPRISE 0756                             ATTN GREG WRAALSTAD OR REORG MGR               901 3RD AVE SOUTH                                                         MINNEAPOLIS       MN                   55474
BAIRD & CO INCORPORATED 0547                ATTN JANE ERBE OR REORG MGR                    777 E WISCONSIN AVENUE                                                    MILWAUKEE         WI                   53202
BANK OF AMERICA GWIM 0955                   ATTN STEFANIE PALADINO OR REORG MGR            1201 MAIN                                                                 DALLAS            TX                   75202
BANK OF AMERICA LASALLE BANK 2251           ATTN RICK LEDENBACH OR REORG MGR               135 SOUTH LASALLE STREET                      SUITE 1811                  CHICAGO           IL                   60603
BARCLAYS 0229 8455 7256 7254 5101           ATTN ANTHONY SCIARAFFO OR CORP ACTIONS         745 SEVENTH AVENUE                            16TH FLOOR                  NEW YORK          NY                   10019
BB & T SECURITIES0702                       ATTN JESSE W SPROUSE OR REORG DEPT             8006 DISCOVERY DRIVE                          SUITE 200                   RICHMOND          VA                   23229
BB & T SECURITIES0702                       ATTN RICKY JACKSON OR REORG DEPT               CORPORATE ACTIONS                             8006 DISCOVERY DRIVE        RICHMOND          VA                   23229
BBS SECURITIES INC CDS 5085                 ATTN DEBORAH CARLYLE                           4100 YONGE ST                                 SUITE 506                   TORONTO           ON         M2P 2B5           CA
BMO CAPITAL MARKETS CORP 0045               ATTN JOHN FINERTY OR REORG MGR                 3 TIMES SQUARE                                                            NEW YORK          NY                   10036
BMO NESBITT BURNS INC CDS 5043              ATTN LOUISE TORANGEAU                          1 FIRST CANADIAN PLACE 13TH FL                                            TORONTO           ON         M5X 1H3           CA
BMO NESBITT BURNS INC CDS 5043              ATTN LOUISE TORANGEAU                          1 FIRST CANADIAN PLACE                        38th FLOOR                  TORONTO           ON         M5X 1H3           CA
BMO NESBITT BURNS INC CDS 5043              ATTN PHUTHORN PENIKETT DINA FERNAN             BMO FINANCIAL GROUP                           250 YONGE ST 8TH FLOOR      TORONTO           ON         M5B 2M8           CA
BMO NESBITT BURNS INC. /CDS (5043)          ATTN: LOUISE TORANGEAU                         P.O. BOX 150                                                              TORONTO                ON       M5X 1H3        CA
BNP PARIBAS NEW YORK BRANCH 2147            ATTN GENE BANFI OR AARON COLIE                 REORG MGR 525 WASHINGTON BLVD                 9TH FLOOR                   JERSEY CITY       NJ         07310-0000
BNP PARIBAS NY BRANCH 1569 2787             ATTN DEAN GALLI OR REORG DEPT                  525 WASHINGTON BLVD                           9TH FLOOR                   JERSEY CITY       NJ         07310-0000
BNY CONVERGEX EXECUTION 0100                ATTN REORG MGR                                 500 GRANT STREET                              ROOM 151 2700               PITTSBURGH        PA                   15258
BNY WEALTH 8275                             ATTN KEVIN KELLY OR REORG MGR                  TWO BNY MELLON CENTER                         525 WILLIAM PENN PL STE 1215PITTSBURGH        PA                   15259
BNY WEALTH 8275                             ATTN BETH COYLE OR REORG MGR                   TWO BNY MELLON CENTER                         525 WILLIAM PENN PL STE 1215PITTSBURGH        PA                   15259
BONY SPDR 2209                              ATTN JENNIFER MAY OR REORG MGR                 525 WILLIAM PENN PLACE                                                    PITTSBURGH        PA                   15259
BROWN BROTHERS HARRIMAN & CO 0010           ATTN PAUL NONNON OR REORG MGR                  525 WASHINGTON BLVD                           NEW PORT TOWERS             JERSEY CITY       NJ         07310-1607
CANACCORD GENUITY CORP CDS 5046             ATTN ALMA GOCO OR REORG MGR                    PACIFIC CENTER 2200 609                       GRANVILLE ST                 VANCOUVER        BC         V7Y 1H2           CA
CANACCORD GENUITY CORP./CDS (5046)          ATTN: ALMA GOCO OR REORG MGR                   P.O. BOX 10337                                                             VANCOUVER             BC        V7Y 1H2       CA
CDS CLEARING AND DEPOSITORY 5099            ATTN LORETTA VERELLI OR REORG MGR              600 BOUL DE MAISONNEUVE OUEST                 BUREAU 210                  MONTREAL          QC         H3A 3J2           CA
CHARLES SCHWAB & CO INC 0164                ATTN DEBORAH JUNG OR REORG MGR                 2423 EAST LINCOLN DRIVE                       1ST FLOOR                   PHOENIX           AZ         85016-1215
CHARLES SCHWAB & CO INC 0164                ATTN NANCY BRIM OR REORG MGR                   2423 EAST LINCOLN DRIVE                       PHX PEAK 02 K130            PHOENIX           AZ         85016-1215
CHARLES SCHWAB & CO INC 0164                ATTN CHRISTINA YOUNG OR REORG MGR              2423 EAST LINCOLN DRIVE                                                   PHOENIX           AZ         85016-1215
CIBC WORLD MARKETS INC CDS 5030             ATTN JERRY NICASTRO OR REORG MGR               161 BAY STREET                                10TH FLOOR                  TORONTO           ON         M5J 2S8           CA
CIT SECLLC 8430                             ATTN KEVIN NEWSTEAD                            131 SOUTH DEARBORN STREET                     35TH FLOOR                  CHICAGO           IL                   60603
CITIBANK N A 0908                           ATTN CAROLYN TREBUS OR REORG MGR               3800 CITIBANK CENTER B3 12                                                TAMPA             FL                   33610
CITIBANK N A 0908                           ATTN EVENTS CREATION OR REORG MGR              3800 CITIBANK CENTER B3 12                                                TAMPA             FL                   33610
CITIBANK N A 0908                           ATTN SANDRA HERNANDEZ OR REORG MGR             3800 CITIBANK CENTER B3 12                                                TAMPA             FL                   33610
CITIBANK N A 0908                           ATTN SHERIDA SINANAN OR REORG MGR              3800 CITIBANK CENTER                          B 3RD FLOOR ZONE 12         TAMPA             FL                   33610
CITIGROUP GLOBAL MARKETS 0418 0505          ATTN ROSE MARIE YODICE OR REORG MGR            388 GREENWHICH STREET 11TH FLOOR                                          NEW YORK          NY                   10013
CITIGROUP MKTS SALOMON 0418 0505            ATTN MANETH CHAP OR REORG MGR                  3800 CITIBANK CENTER B3 12                                                TAMPA             FL                   33610
COMERICA BANK 2108                          ATTN LEWIS WISOTSKY OR REORG MGR               411 WEST LAFAYETTE                            MAIL CODE 3530              DETROIT           MI                   48226
COR LLC 0052                                ATTN LUKE HOLLAND OR REORG MGR                 1200 LANDMARK CENTER                          SUITE 800                   OMAHA             NE                   68102
CREDENTIAL SECURITIES INC CDS 5083          ATTN REORG DEPARTMENT                          700 1111 WEST GEORGIA ST                                                  VANCOUVER         BC         V6E4T6            CA
CREDIT SUISSE SECURITIES 0355               ATTN ASHWINEE SAWH OR REORG MGR                11 MADISON AVENUE                             23RD FLOOR                  NEW YORK          NY                   10010
CREDIT SUISSE SECURITIES USA 0355           ATTN TIM JOHNSON OR REORG MGR                  7033 LOUIS STEPHENS DRIVE                                                 RESEARCH TRIANGLE PARK
                                                                                                                                                                                       NC                   27709
CREDIT SUISSE SECURITIES USA 0355           ATTN ANTHONY MILO OR REORG MGR                 7033 LOUIS STEPHENS DRIVE                     GLOBAL PROXY SERVICES       RESEARCH TRIANGLE PARK
                                                                                                                                                                                       NC                   27709
CREDIT SUISSE SECURITIES USA 0355           ATTN SARAH CHANDRIKA OR REORG MGR              ONE MADISON AVE                                                           NEW YORK          NY                   10010
CREST INTL NOMINEES LIMITED 2012            ATTN JASON MURKIN OR REORG MGR                 33 CANNON ST                                                              LONDON            UK         EC4M 5SB          UK
CREST INTL NOMINEES LIMITED 2012            ATTN NATHAN ASHWORTH OR REORG MGR              33 CANNON ST                                                              LONDON            UK         UK EC4M 5SB       UK
D A DAVIDSON & CO 0361                      ATTN RITA LINSKEY OR REORG MGR                 8 THIRD STREET NORTH                                                      GREAT FALLS       MT                   59403
D.A. DAVIDSON & CO. (0361)                  ATTN: RITA LINSKEY OR REORG MGR                P.O. BOX 5015                                                             GREAT FALLS            MT         59403
DAVENPORT & COMPANY LLC 0715                ATTN KIM NIEDING OR REORG DEPT                 901 EAST CARY ST 11TH FLOOR                                               RICHMOND          VA                   23219
DESJARDINS SECURITIES INC 5028              ATTN REORG DEPT MTL 1060 1ER E                 1253 MCGILL COLLEGE AVENUE                    10TH FLOOR                  MONTREAL          QC         H3B2Y5            CA
DEUTSCHE BANK SECURITIES 0573               ATTN REORG MGR                                 5022 GATE PARKWAY                             SUITE 200                   JACKSONVILLE      FL                   32256
E TRADE CLEARING LLC 0385                   ATTN VICTOR LAU OR                             34 EXCHANGE PLACE                             PLAZA II                    JERSEY CITY       NJ         07311-0000
E TRADE RIDGE CLEARING 0158                 ATTN BRIAN DARBY OR REORG MGR                  ONE DALLAS CENTER                             350 M ST PAUL SUITE 1300    DALLAS            TX                   75201




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                                                                                                     Exhibit K
                                                                                            Equity Nominees Service List
                                                                               Served via Overnight Mail or Next Day Business Service

                                Name                          Address 1                                    Address 2                           Address 3               City         State    Postal Code      Country
E TRADE RIDGE CLEARING 0158                 ATTN BILIANA STOIMENOVA OR REORG MGR          1700 PACIFIC AVENUE SUITE 1400                                          DALLAS           TX                 75201
E TRANSACTION CLEARING 0873                 ATTN JANE BUHAIN OR REORG MGR                 660 S FIGUEROA ST                             SUITE 1450                LOS ANGELES      CA                 90017
EDWARD JONES 0057                           ATTN GERRI KAEMPFE OR REORG MGR               CORPORATE ACTIONS & DISTRIBUTION              12555 MANCHESTER ROAD     ST LOUIS         MO                 63131
EDWARD JONES 0057                           ATTN REORG MGR                                CORPORATE ACTIONS & DISTRIBUTION              201 PROGRESS PARKWAY      MARYLAND HEIGHTS MO                 63043
EDWARD JONES 0057                           ATTN DEREK ADAMS OR REORG MGR                 CORPORATE ACTIONS & DISTRIBUTION              12555 MANCHESTER ROAD     ST LOUIS         MO                 63131
EDWARD JONES CDS 5012                       ATTN NICK HUMMELL OR REORG MGR                700 MARYVILLE CENTRE DRIVE                                              ST LOUIS         MO                 63141
EDWARD JONES CDS 5012                       ATTN KENNIQUE MEALS OR REORG MGR              700 MARYVILLE CENTRE DRIVE                                              ST LOUIS         MO                 63141
EDWARD JONES CDS 5012                       ATTN DIANE YOUNG                              1255 MANCHESTER ROAD                                                    ST LOUIS         MO                 63141
EDWARD JONES CDS 5012                       ATTN KENNIQUE MEALS                           CORP ACTION AND DISTRIBUTION                  12555 MANCHESTER ROAD     ST LOUIS         MO                 63131
FIDUCIARY SSB 0987                          ATTN MIKE FEELEY ROB RAY OR PREORG            MGR CORP ACTIONS JAB5E 1776                   HERITAGE DRIVE NORTH      QUINCY           MA       02171-0000
FIRST CLEARING 0141                         ATTN FINESSA ROSSON OR REORG DEPT             1 NORTH JEFFERSON 9 F                                                   ST LOUIS         MO                 63103
FIRST CLEARING LLC 0141                     ATTN MATT BUETTNER OR REORG DEPT              2801 MARKET STREET                            H0006 09B                 ST LOUIS         MO                 63103
FOLIO FN INVESTMENTS INC 0728               ATTN ASHLEY THEOBALD OR REORG MGR             8180 GREENSBORO DRIVE 8TH FLOOR                                         MCLEAN           VA                 22102
FORTIS CLEARING AMERICAS LLC 0695           ATTN SUE NOWLICKI OR REORG MGR                175 W JACKSON BLVD SUITE 400                                            CHICAGO          IL                 60605
GLENMEDE TRUST CO 2139                      ATTN DARLENE WARREN OR REORG MGR              ONE LIBERTY PLACE SUITE 1200                  1650 MARKET STREET        PHILADELPHIA     PA                 19103
GLENMEDE TRUST CO 2139                      ATTN LINDA BELLICINI OR REORG MGR             ONE LIBERTY PLACE SUITE 1200                  1650 MARKET STREET        PHILADELPHIA     PA                 19103
GMP SECURITIES L P 5016                     ATTN TERRY YOUNG OR REORG MGR                 145 KING STREET WEST SUITE 1100                                         TORONTO          ON       M5H 1J8           CA
GMP SECURITIES L P 5016                     ATTN MARINO MEGGETTO                          145 KING STREET WEST                          SUITE 300                 TORONTO          ON       M5H 1J8           CA
GOLDMAN SACHS & CO 0005                     ATTN ALEX MUCHNIK OR REORG MGR                30 HUDSON ST                                  PROXY DEPARTMENT          JERSEY CITY      NJ       07302-0000
GOLDMAN SACHS 0005 5208 2941                ATTN ALEXANDER MUCHNIK OR REORG MGR           30 HUDSON STREET                                                        JERSEY CITY      NJ       07302-0000
HSBC CLEAR 8396                             ATTN BARBARA SKELLY                           545 WASHINGTON BLVD                                                     JERSEY CITY      NJ       07310-0000
INTERACTIVE BROKERS 0549 0534 0017          ATTN KARIN MCCARTHY OR REORG MGR              2 GREENWICH OFFICE PARK                       2ND FLOOR BUILDING 8      GREENWICH        CT       06830-0000
INTERACTIVE BROKERS RETAIL 534              MARIA TARDIO OR REORG DEPT                    1 PICKWICK PLAZA                                                        GREENWICH        CT       06830-0000
INTERACTIVE BROKERS TH 0534                 ATTN KARIN MCCARTHY OR REORG MGR              8 GREENWICH OFFICE PARK                                                 GREENWICH        CT       06831-0000
INTL FCSTONE INC STERNE AGEE 0750           ATTN KEN SIMPSON OR REORG MGR                 2 PERIMETER PARK SOUTH STE 100 W                                        BIRMINGHAM       AL                 35243
J P MORGAN CLEARING CORP 0352               ATTN ERIC OSZUSTOQICZ OR REORG MGR            3 CHASE METROTECH CENTER                      PROXY DEPT NY1 H034       BROOKLYN         NY       11245-0001
J P MORGAN CLEARING CORP 0352               ATTN ABHISHEK KUMAR OR REORG MGR              500 STANTON CHRISTIANA ROAD                   3RD FLOOR                 NEWARK           DE                 19713
J P MORGAN CLEARING CORP 0352               ATTN BRODERICK WALKER OR REORG MGR            DEPT C CASHIERS DEPT ONE METROTECH            CENTER NORTH REORG DEPT 4TH
                                                                                                                                                                  BROOKLYN
                                                                                                                                                                    FLOOR          NY       11201-3862
JANNEY MONTGOMERY SCOTT INC 0374            ATTN REGINA LUTZ OR REORG MGR                 1801 MARKET STREET                            9TH FLOOR                 PHILADELPHIA     PA       19103-1675
JANNEY MONTGOMERY SCOTT INC 0374            ATTN BOB MARTIN OR REORG MGR                  1801 MARKET STREET                            9TH FLOOR                 PHILADELPHIA     PA       19103-1675
JEFFERIES & COMPANY INC 0019                ATTN RAY DESOUZA OR REORG MGR                 HARBORSIDE FINANCIAL CENTER                   705 PLAZA 3               JERSEY CITY      NJ       07311-0000
JEFFERIES & COMPANY INC 0019                ATTN REORG MGR                                34 EXCHANGE PLACE                                                       JERSEY CITY      NJ       07311-0000
JPMC EURO 1970                              ATTN Proxy Dept                               4 METROTECH CENTER 3RD FLOOR                                            BROOKLYN         NY                 11245
JPMCH CTC 0902                              Attn Jeff Lazarus                             4 Chase Metrotech Plaza                       3rd Floor                 Brooklyn         NY                 11245
JPMORGAN CHASE BANK IA 2357                 ATTN SUSHIL PATEL OR REORG MGR                14201 DALLAS PARKWAY SUITE 121                                          DALLAS           TX                 75254
JPMORGAN CHASE BANK NA 0902 2164            Attn Jeff Lazarus or Corporate                Actions Mgr 4 Chase Metrotech Cnt             3rd Fl NY1 – C094         Brooklyn         NY       11245-0001
JPMORGAN CHASE PUBLIC EMPL 2975             ATTN REORG MGR                                PARADIGM B WING FLOOR 6                       MINDSPACE MALAD           MUMBAI                    400 064 I00000    IN
KNIGHT CLEARING SERVICES LLC 0295           ATTN JANICA BRINK OR REORG MGR                545 WASHINGTON BLVD                                                     JERSEY CITY      NJ       07310-0000
LEK SECURITIES CORPORATION 0512             ATTN DANIEL HANUKA OR REORG MGR               1 LIBERTY PLAZA 52ND FLOOR                                              NEW YORK         NY                 10006
LPL FINANCIAL CORPORATION 0075              ATTN CORPORATE ACTIONS                        1055 LPL WAY                                                            FORT MILL        SC                 29715
M&I MARSHALL & ILSLEY BANK 0992             ATTN REORG MGR                                111 W MONROE ST                                                         CHICAGO          IL                 60603
MACKIE RESEARCH 5029                        ATTN TONY RODRIGUES OR REORG MGR              199 BAY STREET COMMERCE COURT                 WEST SUITE 4600           TORONTO          ON       M5L 1G2           CA
MANUFACTURERS AND TRADERS 0990              ATTN DON SCHMIDT OR REORG MGR                 ONE M&T PLAZA                                 8TH FLOOR                 BUFFALO          NY                 14240
MANULIFE SECURITIES CDS 5047                ATTN REORG MGR                                85 RICHMOND STREET WEST                                                 TORONTO          ON       M5H 2C9           CA
MANULIFE SECURITIES CDS 5047                ATTN REORG MGR                                100 ADELAIDE St WEST                          3RD FLOOR                 TORONTO          ON       M5H 1S3           CA
MANULIFE SECURITIES INC /CDS (5047)         ATTN: BARBARA MORGAN                          PO BOX 5083                                                             BURLINGTON          ON    L7R OA8           CA
MANULIFE SECURITIES INC CDS 5047            ATTN BARBARA MORGAN                           1375 KERNS ROAD                                                         BURLINGTON       ON       L7R OA8           CA
MERRILL LYNCH 0161 5198                     ATTN KASIA BANACH OR CORP ACTIONS             NOT 4804 DEAR LAKE DR E                                                 JACKSONVILLE     FL                 32246
MERRILL LYNCH 5143                          ATTN EARL WEEKS OR REORG MGR                  4804 DEER LAKE DR E                                                     JACKSONVILLE     FL                 32246
MERRILL LYNCH PIERCE FEN 0161 8862          ATTN EARL WEEKS OR REORG MGR                  4804 DEER LAKE DR E                                                     JACKSONVILLE     FL                 32246
MORGAN STANLEY & CO INTL PLC 7309           ATTN DAN SPADACCINI OR REORG MGR              901 SOUTH BOND ST 6TH FL                                                BALTIMORE        MD                 21231
MORGAN STANLEY & CO INTL PLC 7309           ATTN BRIAN O'DOWD OR REORG MGR                901 SOUTH BOND STREET 6TH FLOOR                                         BALTIMORE        MD                 21231
MORGAN STANLEY & CO INTL PLC 7309           ATTN GREGORY CONTALDI OR REORG MGR            901 SOUTH BOND STREET 6TH FLOOR                                         BALTIMORE        MD                 21231
MORGAN STANLEY & CO 0050                    ATTN IRVING CORUJO OR REORG MGR               ONE NEW YORK PLAZA                            7TH FLOOR                 NEW YORK         NY                 10004
MORGAN STANLEY & CO LLC 0050                ATTN KENNETH EWING OR REORG MGR               1300 THAMES STREET WHARF 7TH FLOOR                                      BALTIMORE        MD                 21231
MORGAN STANLEY & CO LLC 0050                ATTN RAQUEL DEL MONTE OR REORG MGR            ONE NEW YORK PLAZA 7TH FLOOR                                            NEW YORK         NY                 10004
MORGAN STANLEY & CO LLC 0050                ATTN MICHELLE FORD                            901 SOUTH BOND ST 6TH FL                                                BALTIMORE        MD                 21231
MORGAN STANLEY & CO LLC 0050                ATTN JONATHAN GOLDMAN OR REORG MGR            1300 THAMES STREET WHARF 7TH FLOOR                                      BALTIMORE        MD                 21231




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                                Name                          Address 1                                      Address 2                            Address 3                City           State    Postal Code     Country
MORGAN STANLEY SMITH BARNEY 0015            ATTN JOHN BARRY OR REORG MGR                    1300 THAMES STREET WHARF                                                 BALTIMORE       MD                    21231
NATIONAL FINANCIAL SERVICES 0226            ATTN SEAN COLE OR REORG MGR                     499 WASHINGTON BLVD                           5TH FLOOR                  JERSEY CITY     NJ           07310-0000
NATIONAL FINANCIAL SERVICES 0226            ATTN KARL BAKER OR REORG MGR                    499 WASHINGTON BLVD                           5TH FLOOR                  JERSEY CITY     NJ           07310-0000
NBCN INC CDS 5008                           ATTN BENOIT HENAULT OR REORG MGR                1010 RUE DE LA GAUCHETIERE ST WEST            SUITE 1925                 MONTREAL        QC           H3B 5J2          CA
NOMURA SECURITIES 0180 7507 7584            ISSUER SERVICES                                 309 WEST 49TH STREET                          10TH FLOOR                 NEW YORK        NY           10019-7316
NOMURA SECURITIES 0180 7507 7584            ATTN ADRIAN ROCCO                               309 WEST 49TH STREET                          10TH FLOOR                 NEW YORK        NY           10019-7316
NOMURA SECURITIES 0180 7507 7584            ATTN HERNAN SANCHEZ OR REORG MGR                309 WEST 49TH STREET                          WORLDWIDE PLAZA 10TH FLOOR NEW YORK        NY                    10019
NORTHERN TRUST CO 2669                      ATTN ROBERT VALENTIN OR REORG MGR               801 S CANAL STREET                            FLOOR C1N                  CHICAGO         IL                    60607
NORTHERN TRUST CO 2669                      ATTN ANDREW LUSSEN OR REORG MGR                 801 S CANAL STREET                            FLOOR C1N                  CHICAGO         IL                    60607
OPPENHEIMER & CO INC 0571                   ATTN OSCAR MAZARIO OR REORG MGR                 85 BROAD STREET                               4TH FLOOR                  NEW YORK        NY                    10004
OPPENHEIMER & CO INC 0571                   ATTN COLIN SANDY OR REORG MGR                   125 BROAD STREET                              15TH FLOOR                 NEW YORK        NY                    10004
PERSHING LLC 0443                           ATTN SILVY RODRIGUEZ OR REORG MGR               SECURITIES CORPORATION                        1 PERSHING PLAZA 7TH FLOOR REORG
                                                                                                                                                                     JERSEY CITY     NJ           07399-0000
PERSHING LLC 0443                           ATTN AL HERNANDEZ OR REORG MGR                  SECURITIES CORPORATION 1 PERSHING             PLAZA 7TH FLOOR REORG      JERSEY CITY     NJ           07399-0000
PERSHING LLC 0443                           ATTN JOSEPH LAVARA OR REORG MGR                 1 PERSHING PLAZA                                                         JERSEY CITY     NJ           07399-0000
PHILLIP CAPITAL INC 8460                    ATTN REORG MGR                                  141 W Jackson Blvd Suite 1531A                                           CHICAGO         IL                    60604
PI FINANCIAL CORP CDS 5075                  ATTN ROB MCNEIL OR REORG MGR                    666 BURRARD ST                                SUITE 1900                 VANCOUVER       BC           V6C 2G3          CA
PNC BANK N A 2616                           ATTN JANET CLEARY OR REORG MGR                  8800 TINICUM BLVD                             MS F6 F266 02 2             PHILADELPHIA   PA                    19153
PRIMEVEST FINANCIAL SERVICES 0701           ATTN MARK SCHOUVILLER OR REORG MGR              400 1ST STREET SOUTH                                                     ST CLOUD        MN                    56301
QTRADE SECURITIES INC 5084                  ATTN MARY KORAC OR REORG MGR                    505 BURRARD STREET SUITE 1920                                            VANCOUVER       BC           V7X 1M6          CA
QUESTRADE INC 5084                          ATTN MAURIZIO ARANI OR REORG MGR                5650 YONGE STREET SUITE 1700                                             TORONTO         ON           M2M 4G3          CA
RAYMOND JAMES & ASSOCIATES 0725             ATTN ROBERTA GREEN OR REORG MGR                 880 CARILION PARKWAY TOWER 2                  4TH FLOOR                  ST PETERSBURG   FL                    33716
RAYMOND JAMES LTD CDS 5076                  ATTN REORG MGR                                  2100 – 925 WEST                               GEORGIA STREET             VANCOUVER       BC           V6C 3L2          CA
RBC CAPITAL MARKETS 0235                    ATTN STEVE SCHAFER OR REORG MGR                 60 SOUTH 6TH STREET                                                      MINNEAPOLIS     MN                    55402
RBC DOMINION CDS 5002                       ATTN KAREN OLIVERES OR REORG MGR                200 BAY STREET 6TH FLOOR                      ROYAL BANK PLAZA NORTH TOWER
                                                                                                                                                                     TORONTO         ON           M5J 2W7          CA
ROBERT W BAIRD & CO 0547                    ATTN JAN SUDFELD OR REORG MGR                   777 E WISCONSIN AVENUE                        19TH FLOOR                 MILWAUKEE       WI                    53202
ROBERT W BAIRD & CO 0547                    ATTN TRACY TRENSCH OR REORG MGR                 777 E WISCONSIN AVENUE                                                   MILWAUKEE       WI                    53202
SCOTIA CAPITAL INC CDS 5011                 ATTN NORMITA RAMIREZ CORP ACTIONS               DEPT 40 KING STREET WEST                                                 TORONTO         ON           M5H 1H1          CA
SEI PRIVATE TRUST COMPANY 2663              ATTN MELVIN ALLISON OR REORG MGR                ONE FREEDOM VALLEY DR                                                    OAKS            PA                    19456
SG AMERICAS SECURITIES LLC 0286             ATTN CHARLES HUGHES OR REORG MGR                245 PARK AVE                                                             NEW YORK        NY                    10167
SOUTHWEST SECURITIES INC 0279               ATTN DORIS KRAJC OR REORG MGR                   1201 ELM STREET                               SUITE 3700                 DALLAS          TX                    75270
SOUTHWEST SECURITIES INC 0279               ATTN CHRISTINA FINZEN OR RORG MGR               1201 ELM STREET                               SUITE 3700                 DALLAS          TX                    75270
SOUTHWEST SECURITIES INC 0279               ATTN RHONDA JACKSON OR REORG MGR                1201 ELM STREET                               SUITE 3500                 DALLAS          TX                    75270
SSB BLACKROCK TRUST 2767                    ATTN TRINA ESTREMERA OR REORG MGR               1776 HERITAGE DRIVE NORTH                                                QUINCY          MA           02171-0000
SSB FRANK 2399                              ATTN DUSTIN TOPJIAN OR REORG MGR                CORPORATE ACTIONS                             1776 HERITAGE DRIVE        NORTH QUINCY    MA           02171-0000
SSB IBT BGI 2767                            ATTN TOM BRODERICK OR REORG MGR                 1776 HERITAGE DRIVE NORTH                                                QUINCY          MA           02171-0000
SSB&T CO CLIENT CUSTODY SERV 2678           ATTN MYRIAM PIERVIL OR REORG MGR                1776 HERITAGE DRIVE NORTH                                                QUINCY          MA           02171-0000
STATE STREET BANK & TRUST 0997 2319         ATTN CHRISTINE SULLIVAN OR REORG                MGR CORP ACTIONS JAB5E                        1776 HERITAGE DRIVE        NORTH QUINCY    MA           02171-0000
STATE STREET BANK & TRUST 0997 2319         ATTN MIKE FEELEY ROB RAY OR REORG               MGR CORP ACTIONS JAB5E                        1776 HERITAGE DRIVE        NORTH QUINCY    MA           02171-0000
STATE STREET BANK & TRUST ETF 2950          ATTN MIKE FEELEY ROB RAY OR REORG               MGR CORP ACTIONS JAB5E 1776                   HERITAGE DRIVE NORTH       QUINCY          MA           02171-0000
STIFEL NICOLAUS & CO 0793                   ATTN CHRIS WIEGAND OR REORG MGR                 501 N BROADWAY                                7TH FLOOR STOCK RECORD DEPTST LOUIS        MO                    63102
STIFEL NICOLAUS & CO 0793                   ATTN CRAIG MCINTOSH OR REORG MGR                501 N BROADWAY                                REORG DEPT                 ST LOUIS        MO                    63102
STOCKCROSS FINANCIAL 0445                   ATTN ELEANOR PIMENTEL OR REORG MGR              77 SUMMER STREET 2ND FLOOR                                               BOSTON          MA           02210-0000
TD AMERITRADE CLEARING INC 0188             ATTN MANDI FOSTER OR REORG MGR                  1005 NORTH AMERITRADE PLACE                                              BELLEVUE        NE                    68005
TD AMERITRADE CLEARING INC 0188             ATTN GARY SWAIN OR REORG MGR                    1005 NORTH AMERITRADE PLACE                                              BELLEVUE        NE                    68005
TD WATERHOUSE CDS 5036                      ATTN REORG MANAGER                              77 BLOOR STREET WEST 3RD FLOOR                                           TORONTO         ON           M5S 1M2          CA
TEXAS TREASURY SAFEKEEPING 2622             ATTN JANIE DOMINGUEZ OR REORG MGR               208 E 10TH ST                                 ROOM 410                   AUSTIN          TX                    78701
THE BANK OF NEW YORK MELLON 0901            ATTN JENNIFER MAY OR REORG MGR                  525 WILLIAM PENN PLACE                        SUITE 153 0400             PITTSBURGH      PA                    15259
TRADESTATION 0271                           ATTN RICK GORDON OR REORG MGR                   CORPORATE ACTIONS DEPARTMENT                  8050 SW 10TH ST SUITE 2000 PLANTATION      FL                    33324
U S BANK N A 2803                           ATTN PAUL KUXHAUS OR REORG MGR                  1555 N RIVER CENTER DRIVE SUITE 302                                      MILWAUKEE       WI                    53212
UBS AG STAMFORD UBS AG LONDON 2507          ATTN JOSEPH POZOLANTE OR REORG MGR              315 DEADERICK STREET                                                     NASHVILLE       TN                    37238
UBS FINANCIAL SERVICES LLC 0221             ATTN NEHA SOOD OR REORG MGR                     315 DEADERICK STREET                          5TH FLOOR                  NASHVILLE       TN                    37238
UBS SECURITIES LLC 0642                     ATTN JOSEPH POZOLANTE OR REORG MGR              315 DEADERICK STREET                                                     NASHVILLE       TN                    37238
UBS SECURITIES LLC 0642                     ATTN GREGORY CONTALDI OR REORG MGR              315 DEADERICK STREET                                                     NASHVILLE       TN                    37238
UBS SECURITIES SECURITIES LEN 5284          ATTN JOSEPH SOMMA OR REORG MGR                  677 WASHINGTON BLVD                                                      STAMFORD        CT           06902 0000
US BANCORP INVESTMENTS INC 0280             ATTN KEVIN BROWN OR REORG MGR                   60 LIVINGSTON AVENUE                                                     ST PAUL         MN                    55107
VANGUARD 0062                               ATTN CORPORATE ACTION                           100 VANGUARD BLVD                                                        MALVERN         PA                    19355
VANGUARD 0062                               ATTN BRANDON R MITCHAM                          OR CORPORATE ACTION                           14321 N NORTHSIGHT BLVD    SCOTTSDALE      AZ                    85260
VISION FINANCIAL MARKETS LLC 0595           ATTN ANA MARTINEZ MARVIN MONZON                 120 LONG RIDGE ROAD                           3 NORTH                    STAMFORD        CT           06902-0000




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WEDBUSH MORGAN SECURITIES 0103              ATTN ALAN P FERREIRA OR REORG MGR              1000 WILSHIRE BLVD                                                      LOS ANGELES   CA                    90017
WEDBUSH STOCK LOAN 5166 8199                ATTN ALAN FERREIRA ORREORG MGR                 1000 WILSHIRE BLVD                            SUITE 850                 LOS ANGELES   CA                    90017
WELLS BANK 2027                             ATTN LORA DAHLE OR REORG MGR                   733 MARQUETTE AVE                             MAC N9306 057 5TH FLOOR   MINNEAPOLIS   MN                    55479
WELLS FARGO BANK N A SIG 2072               ATTN SCOTT NELLIS OR REORG MGR                 1525 W T HARRIS BLVD                          1ST FLOOR                 CHARLOTTE     NC           28262-8522
WELLS FARGO SECURITIES 2480                 ATTN STEVE TURNER OR REORG MGR                 CORP ACTIONS NC0675 1525 WEST                 W T HARRIS BLVD 1B1       CHARLOTTE     NC                    28262
WELLS FARGO SECURITIES LLC 0250             ATTN SCOTT NELLIS OR REORG MGR                 CORP ACTIONS MAC D109 010 1525 WST            W T HARRRIS BLVD 1B1      CHARLOTTE     NC                    28262
WELLS FARGO SECURITIES LLC 0250             ATTN STEVE TURNER OR REORG MGR                 CORP ACTIONS NC0675 1525 WEST                 W T HARRIS BLVD 1B1       CHARLOTTE     NC                    28262
WELLS FARGO SECURITIES LLC 0250             ATTN ROBERT MATERA OR REORG MGR                CORP ACTIONS NC0675 1525 WEST                 W T HARRIS BLVD 1B1       CHARLOTTE     NC                    28262




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MMLID                                                NAME                                ADDRESS 1                     ADDRESS 2            ADDRESS 3   ADDRESS 4   CITY   STATE
 10687912 A CHRIS COATS                                                ADDRESS ON FILE
 10688003 A COLIN ARMSTRONG                                            ADDRESS ON FILE
 10687832 A M BODFORD                                                  ADDRESS ON FILE
 10687858 A VIETZE                                                     ADDRESS ON FILE
 10688156 A VIETZE                                                     ADDRESS ON FILE
 10688303 A WOOLCOCK                                                   ADDRESS ON FILE
 10688179 ALEXANDER J ESPOSITO & LINDA C ESPOSITO JT TEN               ADDRESS ON FILE
 10687839 ALEXANDER TAIT                                               ADDRESS ON FILE
 10687979 ALEXANDRE STROHSCHOEN                                        ADDRESS ON FILE
 10687987 ALEXANDRE STROHSCHOEN                                        ADDRESS ON FILE
 10687880 ALICE D FREEMAN CUST                                         ADDRESS ON FILE
 10687919 ALICE D FREEMAN CUST                                         ADDRESS ON FILE
 10688083 ALICE P WILLIS                                               ADDRESS ON FILE
 10687893 ALLEN T JONES                                                ADDRESS ON FILE
 10687886 ALLEN W WILLIAMS                                             ADDRESS ON FILE
 10688182 ALLEN W WILLIAMS                                             ADDRESS ON FILE
 10688275 ALLENE T MORTON                                              ADDRESS ON FILE
 10688148 AMBROSE BOLLING                                              ADDRESS ON FILE
 10688169 AMIR GEHL                                                    ADDRESS ON FILE
 10688200 ANDREW DAVID BROWNE                                          ADDRESS ON FILE
 10688326 ANN T GUPTON                                                 ADDRESS ON FILE
 10688133 ANN W ROGERS                                                 ADDRESS ON FILE
 10688259 ANNA O RUFFIN                                                ADDRESS ON FILE
 10688060 ANNE M FIELDS                                                ADDRESS ON FILE
 10688144 ANNI BRANDT RISUM                                            ADDRESS ON FILE
 10688073 ANTHONY JOHN KINGSTON                                        ADDRESS ON FILE
 10688122 ANTHONY WILLIAM DILLON                                       ADDRESS ON FILE
 10688048 ANTORRYA B CALDERON                                          ADDRESS ON FILE
 10688125 ARTHUR DAVID HODGES                                          ADDRESS ON FILE
 10687834 B JOHNSON-HILL                                               ADDRESS ON FILE
 10688079 BAKERY CONFECTIONERY & TOBACCO WORKERS INTERNATIONAL UNION   ADDRESS ON FILE
 10687945 BARBARA WINN FREEZE                                          ADDRESS ON FILE
 10688229 BARRY R LERNER & KIM B LERNER JT TEN                         ADDRESS ON FILE
 10687905 BELINDA BAKER                                                ADDRESS ON FILE
 10688209 BELINDA BAKER                                                ADDRESS ON FILE
 10687997 BENJAMIN HOLT WARD                                           ADDRESS ON FILE
 10688074 BENNY RAY GUILL                                              ADDRESS ON FILE
 10687884 BENTON F TUCK                                                ADDRESS ON FILE
 10688212 BETTY BURNSIDE                                               ADDRESS ON FILE
 10687974 BEULAH M PRITCHETT                                           ADDRESS ON FILE
 10688325 BEVERLEY S DOJONOVIC                                         ADDRESS ON FILE
 10687960 BEVERLY GRANT                                                ADDRESS ON FILE
 10688327 BILLY E GUPTON                                               ADDRESS ON FILE
 10687891 BILLY G STONE                                                ADDRESS ON FILE
 10687968 BILLY T PARRISH                                              ADDRESS ON FILE
 10688257 BOBBY DALE WELLS                                             ADDRESS ON FILE
 10688049 BONITA L FINNEY                                              ADDRESS ON FILE
 10688084 BRENDA C CLINE                                               ADDRESS ON FILE
 10687944 BRENDA G ADKINS                                              ADDRESS ON FILE
 10688129 BRENDA J MABE                                                ADDRESS ON FILE
 10688107 BRENDA W ERICKSON                                            ADDRESS ON FILE
 10688217 BRIAN HARKER                                                 ADDRESS ON FILE
 10688289 BRIAN MICHAEL CLARK                                          ADDRESS ON FILE
 10688121 BRIAN PETER COWMAN                                           ADDRESS ON FILE
 10688321 BRIGHTLEAF TOBACCO CO                                        ADDRESS ON FILE
 10688035 BRUCE L MORRISON                                             ADDRESS ON FILE
 10687920 C PHILLIP WELLS III                                          ADDRESS ON FILE
 10688266 CARL GRAHAM NORTH                                            ADDRESS ON FILE
 10688050 CAROLYN F ANDERSON                                           ADDRESS ON FILE
 10687869 CATHERINE M GREEN                                            ADDRESS ON FILE
 10687870 CATHERINE M GREEN                                            ADDRESS ON FILE
 10688171 CATHERINE M GREEN                                            ADDRESS ON FILE




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 10688172 CATHERINE M GREEN                                         ADDRESS ON FILE
 10688314 CATHERINE M GREEN                                         ADDRESS ON FILE
 10687850 CHAMPION PROPERTIES INC                                   ADDRESS ON FILE
 10688072 CHARLENE TEIPNER                                          ADDRESS ON FILE
 10688149 CHARLES A BORGERT                                         ADDRESS ON FILE
 10687934 CHARLES CHRISTOPHER MAYHEW & MARYBETH S MAYHEW TEN COM    ADDRESS ON FILE
 10687928 CHARLES CHRISTOPHER MAYHEW JR                             ADDRESS ON FILE
 10687902 CHARLES E GOODAKER                                        ADDRESS ON FILE
 10688078 CHARLES ESTES MCDOWELL                                    ADDRESS ON FILE
 10688187 CHARLES PRESTON MCELHENEY JR                              ADDRESS ON FILE
 10687942 CHARLES R VANDIFORD                                       ADDRESS ON FILE
 10688216 CHRIS WHITFIELD                                           ADDRESS ON FILE
 10687981 CHRISTIAN CYPHER III                                      ADDRESS ON FILE
 10688306 CHRISTIE B BAILEY                                         ADDRESS ON FILE
 10688033 CHRISTOPHER DUNN                                          ADDRESS ON FILE
 10688057 CHRISTOPHER R CASTLE                                      ADDRESS ON FILE
 10688310 CHRISTOPHER VERDEN FEWINGS                                ADDRESS ON FILE
 10688225 CINDY B WOOLARD                                           ADDRESS ON FILE
 10688051 CITY WAUPUN                                               ADDRESS ON FILE
 10687846 CLARA C BOBBITT                                           ADDRESS ON FILE
 10687913 CLARA M HERNDON                                           ADDRESS ON FILE
 10688095 CLARENCE COVELL                                           ADDRESS ON FILE
 10688292 CLARENCE LEWIS DICKERSON                                  ADDRESS ON FILE
 10688087 CLARENCE THOMAS WILLIFORD JR TTEE                         ADDRESS ON FILE
 10688031 CLAUDE B ELAM                                             ADDRESS ON FILE
 10688108 COLIN ARCHIBALD                                           ADDRESS ON FILE
 10687996 COLIN ARCHIBALD                                           ADDRESS ON FILE
 10688302 CONSTANTIN VON ESEBECK                                    ADDRESS ON FILE
 10688236 CORNELIUS JOHANNES MANS                                   ADDRESS ON FILE
 10687906 CURTIS E BROOKS                                           ADDRESS ON FILE
 10688026 CYNTHIA ALLEN BARNETT                                     ADDRESS ON FILE
 10687938 CYNTHIA RAE WARNKE                                        ADDRESS ON FILE
 10687837 D C BLUNT                                                 ADDRESS ON FILE
 10688268 DAN W ROBBINS                                             ADDRESS ON FILE
 10688019 DANIEL B SMITH                                            ADDRESS ON FILE
 10688124 DAVID ALLAN HIRD                                          ADDRESS ON FILE
 10688311 DAVID B JAY CUST                                          ADDRESS ON FILE
 10688227 DAVID GOLD                                                ADDRESS ON FILE
 10688242 DAVID JAMES ROBINSON SR                                   ADDRESS ON FILE
 10688234 DAVID KAY                                                 ADDRESS ON FILE
 10688178 DAVID R EAGLE                                             ADDRESS ON FILE
 10687901 DAVID W GAYK                                              ADDRESS ON FILE
 10688232 DEBBIE MCCANN                                             ADDRESS ON FILE
 10688065 DEE C OWEN                                                ADDRESS ON FILE
 10687970 DELBERT V RHODES & LAVERNE W RHODES JT TEN                ADDRESS ON FILE
 10688158 DENNIS A WALLACE                                          ADDRESS ON FILE
 10688300 DENNIS M BRYANT CUST                                      ADDRESS ON FILE
 10688123 DEON RYAN HAIGH                                           ADDRESS ON FILE
 10688309 DIMITRIOS VASSILIOS FESSAS                                ADDRESS ON FILE
 10688207 DINNA M HAMILTON                                          ADDRESS ON FILE
 10688058 DOLORES D MOORE                                           ADDRESS ON FILE
 10687851 DONALD T WILLIAMS                                         ADDRESS ON FILE
 10688110 DONALD W BERRIER                                          ADDRESS ON FILE
 10688138 DONNA L VICK                                              ADDRESS ON FILE
 10688215 DOUGLAS CONRAN                                            ADDRESS ON FILE
 10688132 DOUGLAS J CONRAN                                          ADDRESS ON FILE
 10688276 DOUGLAS M MUNRO                                           ADDRESS ON FILE
 10687857 DUNCAN MEECH                                              ADDRESS ON FILE
 10688180 EARL B FORBES                                             ADDRESS ON FILE
 10687993 EDUARDO RENNER                                            ADDRESS ON FILE
 10688323 EDWARD J COZART                                           ADDRESS ON FILE
 10688099 EDWARD LANG HUNTER                                        ADDRESS ON FILE




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MMLID                                                NAME                      ADDRESS 1                     ADDRESS 2            ADDRESS 3   ADDRESS 4   CITY   STATE
 10688140 EDWARD M KENNEY JR                                 ADDRESS ON FILE
 10688324 EDWARD T DANCY IV                                  ADDRESS ON FILE
 10688009 EKKHARD BEUTHNER                                   ADDRESS ON FILE
 10688092 ELEANOR MARCUS                                     ADDRESS ON FILE
 10687925 ELIZABETH BECK TURNER                              ADDRESS ON FILE
 10687967 ELIZABETH D STONE                                  ADDRESS ON FILE
 10687903 ELIZABETH HARRIS                                   ADDRESS ON FILE
 10687926 ELIZABETH LYNN MAYHEW                              ADDRESS ON FILE
 10688022 ELIZABETH M POWELL                                 ADDRESS ON FILE
 10688096 ELLEN S WHITE                                      ADDRESS ON FILE
 10688077 ELLEN W POWELL                                     ADDRESS ON FILE
 10688088 ELSIE M LOVELACE                                   ADDRESS ON FILE
 10688170 EREZ GEHL                                          ADDRESS ON FILE
 10687939 ERICA WARREN THOMSON                               ADDRESS ON FILE
 10688262 ERWIN SADLER                                       ADDRESS ON FILE
 10688199 ETTA G BROWN                                       ADDRESS ON FILE
 10688130 FIONA K CAMPBELL & COLIN D CAMPBELL JT TEN         ADDRESS ON FILE
 10688297 FRANCES SANDRA BARNHILL                            ADDRESS ON FILE
 10688001 FRANCES T WEATHERFORD                              ADDRESS ON FILE
 10687831 FRANCIS J TRUNZO III                               ADDRESS ON FILE
 10687894 FRANKIE W KENDALL                                  ADDRESS ON FILE
 10688161 FRANZ DEMEULEMEESTER                               ADDRESS ON FILE
 10687929 FRED HUNTER                                        ADDRESS ON FILE
 10687907 G TERRELL CONNELLY JR                              ADDRESS ON FILE
 10687852 GARY D STEINER                                     ADDRESS ON FILE
 10687898 GARY L MOOREFIELD & MYRA S MOOREFIELD JT TEN       ADDRESS ON FILE
 10688188 GARY L MOOREFIELD & MYRA S MOOREFIELD JT TEN       ADDRESS ON FILE
 10688239 GEOFFREY M STOOKE                                  ADDRESS ON FILE
 10688258 GEORGE B WHITAKER III                              ADDRESS ON FILE
 10688315 GEORGE C KOCHMAN JR CUST                           ADDRESS ON FILE
 10688224 GEORGE W MOORE                                     ADDRESS ON FILE
 10688166 GEORGE W NEAL JR                                   ADDRESS ON FILE
 10687985 GERHARD LUTZ                                       ADDRESS ON FILE
 10687988 GERHARD LUTZ                                       ADDRESS ON FILE
 10687845 GERRY COLLINS                                      ADDRESS ON FILE
 10688305 GIOVANNI C ALIBERTI                                ADDRESS ON FILE
 10688201 GLENDA J COATS                                     ADDRESS ON FILE
 10687859 GLORIA DENICE WARNER                               ADDRESS ON FILE
 10688127 GLORIA DENICE WARNER                               ADDRESS ON FILE
 10687958 GRAEME D F PATTINSON ESQ                           ADDRESS ON FILE
 10688152 GRAHAM JOHN KAYES                                  ADDRESS ON FILE
 10687853 GREAT LAKES & GULF COAST PROPERTIES IN             ADDRESS ON FILE
 10688221 GREGG LUGVIEL                                      ADDRESS ON FILE
 10688253 GREGORY S SYNDER                                   ADDRESS ON FILE
 10687940 GREGORY SAMUEL SNYDER                              ADDRESS ON FILE
 10688006 GREIG CHANNON                                      ADDRESS ON FILE
 10688011 GUILHERME STEFFEN                                  ADDRESS ON FILE
 10687856 GUNTER DIEDERICHS                                  ADDRESS ON FILE
 10688043 GUY FRANKLIN SURTEES                               ADDRESS ON FILE
 10687992 GWENDOLYN GILLIAM                                  ADDRESS ON FILE
 10688135 H F SAUNDERS                                       ADDRESS ON FILE
 10688002 H PEYTON GREEN III                                 ADDRESS ON FILE
 10687844 H PLEIMANN                                         ADDRESS ON FILE
 10688150 HAIL & COTTON INC                                  ADDRESS ON FILE
 10688142 HAMPTON R POOLE JR                                 ADDRESS ON FILE
 10688145 HANS HENRIK BAARK                                  ADDRESS ON FILE
 10688013 HARRY R WELLS                                      ADDRESS ON FILE
 10688261 HARVEY B RUFFIN                                    ADDRESS ON FILE
 10688260 HARVEY B RUFFIN III                                ADDRESS ON FILE
 10688119 HENRY C BABB                                       ADDRESS ON FILE
 10688007 HERMAN VAN LIERDE                                  ADDRESS ON FILE
 10688015 HERMINIA L SANTOS                                  ADDRESS ON FILE




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MMLID                                                NAME                      ADDRESS 1                     ADDRESS 2            ADDRESS 3   ADDRESS 4   CITY   STATE
 10688206 HORACE L GUILL SR                                  ADDRESS ON FILE
 10688295 HORACE M BAKER JR                                  ADDRESS ON FILE
 10688219 HOWARD C CORUM                                     ADDRESS ON FILE
 10688308 HUGH M ENSOR                                       ADDRESS ON FILE
 10688004 HYON-JU SHIN                                       ADDRESS ON FILE
 10688094 IAN ADAMSON                                        ADDRESS ON FILE
 10688222 INES M CALDERON                                    ADDRESS ON FILE
 10687862 INEZ ROEDIGER TR                                   ADDRESS ON FILE
 10687977 IRNO L MALLMANN                                    ADDRESS ON FILE
 10687986 IRNO L MALLMANN                                    ADDRESS ON FILE
 10688330 J BOBBY RASCOE                                     ADDRESS ON FILE
 10688168 J CARL PARSONS                                     ADDRESS ON FILE
 10687910 J L F DE MEYERE                                    ADDRESS ON FILE
 10688193 J L F DE MEYERE                                    ADDRESS ON FILE
 10688254 J M THRESHIE                                       ADDRESS ON FILE
 10688070 J PIETER SIKKEL                                    ADDRESS ON FILE
 10687861 J RICHARD JAMIESON                                 ADDRESS ON FILE
 10688250 J TERRANCE WRIGHT                                  ADDRESS ON FILE
 10688291 JACQUES DELAR                                      ADDRESS ON FILE
 10688312 JAG MURRAY                                         ADDRESS ON FILE
 10688184 JAMES A COOLEY                                     ADDRESS ON FILE
 10688081 JAMES A MOTLEY                                     ADDRESS ON FILE
 10688147 JAMES B BLACKBURN                                  ADDRESS ON FILE
 10688196 JAMES B LEWIS JR                                   ADDRESS ON FILE
 10688137 JAMES DAVID TURQUAND-YOUNG                         ADDRESS ON FILE
 10688139 JAMES E HARDISON                                   ADDRESS ON FILE
 10688175 JAMES H BROWN JR                                   ADDRESS ON FILE
 10688068 JAMES L THOMAS & LEVON R THOMAS JT TEN             ADDRESS ON FILE
 10687875 JAMES S ADKINS                                     ADDRESS ON FILE
 10688294 JAN PETER ECKSTEIN                                 ADDRESS ON FILE
 10687969 JANE M BLOOMER                                     ADDRESS ON FILE
 10688287 JANELLA ELIZABETH CATHERINE GLOVER                 ADDRESS ON FILE
 10688204 JANIE N DAY                                        ADDRESS ON FILE
 10688028 JASON W TATE                                       ADDRESS ON FILE
 10688029 JASON W TATE                                       ADDRESS ON FILE
 10687892 JASON W TATE JR                                    ADDRESS ON FILE
 10688191 JASON W TATE JR                                    ADDRESS ON FILE
 10687881 JASON W TATE JR CUST                               ADDRESS ON FILE
 10687882 JASON W TATE JR CUST                               ADDRESS ON FILE
 10688181 JASON W TATE JR CUST                               ADDRESS ON FILE
 10688192 JASON W TATE JR CUST                               ADDRESS ON FILE
 10687973 JEAN P WARE                                        ADDRESS ON FILE
 10688237 JEAN-MARIE RABEISEN                                ADDRESS ON FILE
 10688246 JEAN-RENE D'ABBADIE                                ADDRESS ON FILE
 10688021 JEFFREY A SILVER                                   ADDRESS ON FILE
 10688177 JEFFREY K CONYERS                                  ADDRESS ON FILE
 10687953 JEFFREY L MILAM                                    ADDRESS ON FILE
 10688064 JERRY M FRANK                                      ADDRESS ON FILE
 10688277 JERRY W HOWELL                                     ADDRESS ON FILE
 10687931 JERRYE E MAYHEW                                    ADDRESS ON FILE
 10688066 JESSE EARLE OWEN                                   ADDRESS ON FILE
 10687932 JESSE W MAYHEW                                     ADDRESS ON FILE
 10688090 JESSIE BURTON                                      ADDRESS ON FILE
 10687933 JESSIE W MAYHEW JR                                 ADDRESS ON FILE
 10688046 JIMMY L THOMAS & JANINE D THOMAS JT TEN            ADDRESS ON FILE
 10688010 JIN WANG                                           ADDRESS ON FILE
 10687959 JODY EDWARD TATE                                   ADDRESS ON FILE
 10688045 JOEL L THOMAS                                      ADDRESS ON FILE
 10688163 JOHN B LUCAS                                       ADDRESS ON FILE
 10688134 JOHN B ROYLE                                       ADDRESS ON FILE
 10687888 JOHN G NAPIER                                      ADDRESS ON FILE
 10688318 JOHN L BESANTE JR                                  ADDRESS ON FILE




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MMLID                                                NAME                      ADDRESS 1                     ADDRESS 2            ADDRESS 3   ADDRESS 4   CITY   STATE
 10687956 JOHN L COLE & SHELIA A COLE JT TEN                 ADDRESS ON FILE
 10688128 JOHN L WHITLEY                                     ADDRESS ON FILE
 10688039 JOHN LUBBERTS                                      ADDRESS ON FILE
 10688076 JOHN M GILBERT                                     ADDRESS ON FILE
 10688211 JOHN M HINES                                       ADDRESS ON FILE
 10688055 JOHN M KIRSCH & CHARLOTTE L KIRSCH JT TEN          ADDRESS ON FILE
 10688024 JOHN MARSHALL THOMAS                               ADDRESS ON FILE
 10688093 JOHN MILLER                                        ADDRESS ON FILE
 10687978 JOHN RYAN                                          ADDRESS ON FILE
 10688080 JOHN V HUNTER III                                  ADDRESS ON FILE
 10688041 JOHN W ALDERSON                                    ADDRESS ON FILE
 10688146 JOHN W BEEM                                        ADDRESS ON FILE
 10688238 JOHN WARWICK SALTER                                ADDRESS ON FILE
 10687909 JON DAVEY & ELIZABETH DAVEY JT TEN                 ADDRESS ON FILE
 10688283 JONAH S ELLIS                                      ADDRESS ON FILE
 10687911 JONATHAN AVERY GROSE                               ADDRESS ON FILE
 10688105 JOSEPH L LANIER JR                                 ADDRESS ON FILE
 10688240 JOSEPH L MORRISON                                  ADDRESS ON FILE
 10688198 JOSEPH S LUNSFORD                                  ADDRESS ON FILE
 10688176 JOYCE BOATWRIGHT COLE                              ADDRESS ON FILE
 10688286 JOYSA WOOD GILBREATH                               ADDRESS ON FILE
 10687915 JUDITH T WOODELL                                   ADDRESS ON FILE
 10687964 JUDY H CLEATON                                     ADDRESS ON FILE
 10688053 JULIANA IRINA SPIES PERMINOW                       ADDRESS ON FILE
 10688151 JURGEN W JOHANSSEN                                 ADDRESS ON FILE
 10688264 K GLENN STANLEY                                    ADDRESS ON FILE
 10688159 KAREN GILES WALLACE                                ADDRESS ON FILE
 10687998 KARL E ANDERSEN JR                                 ADDRESS ON FILE
 10687975 KARON AKERS KETTERMAN                              ADDRESS ON FILE
 10687885 KATHERINE M TURNER                                 ADDRESS ON FILE
 10688063 KATHRYN BENTON WYATT                               ADDRESS ON FILE
 10688030 KATHY T SURGES                                     ADDRESS ON FILE
 10688023 KEITH H MERRICK                                    ADDRESS ON FILE
 10688220 KELVIN R LAFAYETTE                                 ADDRESS ON FILE
 10687980 KEN LANGLEY                                        ADDRESS ON FILE
 10688235 KENELM MARK JOHNSON-HILL                           ADDRESS ON FILE
 10687946 KENELM MARK JOHNSON-HILL                           ADDRESS ON FILE
 10688195 KENNETH FORD                                       ADDRESS ON FILE
 10687864 KENNETH R WILKERSON CUST                           ADDRESS ON FILE
 10687830 KEVIN M ZIELINSKI                                  ADDRESS ON FILE
 10687855 KEVIN MARTIN                                       ADDRESS ON FILE
 10687923 KEVIN MEURET                                       ADDRESS ON FILE
 10688280 KEVIN R MCLEAN                                     ADDRESS ON FILE
 10688281 KEVIN R MCLEAN                                     ADDRESS ON FILE
 10687983 KIM BATCHELER                                      ADDRESS ON FILE
 10688320 KIMBERLY COATS ADAMS                               ADDRESS ON FILE
 10688025 KIPPY CASSELL CUST                                 ADDRESS ON FILE
 10687840 KIRK THOMAS MILAM                                  ADDRESS ON FILE
 10688299 L BOOYSEN                                          ADDRESS ON FILE
 10688183 L D WORTHINGTON III                                ADDRESS ON FILE
 10688244 L WAYNE CRAWFORD                                   ADDRESS ON FILE
 10688296 LANETTE W BAKER                                    ADDRESS ON FILE
 10688288 LARRY H GLOVER                                     ADDRESS ON FILE
 10688278 LARRY KENN HUDSON                                  ADDRESS ON FILE
 10687947 LARRY S WOOD                                       ADDRESS ON FILE
 10688037 LARRY W SHARP & HELEN P SHARP JT TEN               ADDRESS ON FILE
 10688282 LAURA J MCLEAN                                     ADDRESS ON FILE
 10688062 LAURA JONES                                        ADDRESS ON FILE
 10688271 LAURA MCLEAN CUST                                  ADDRESS ON FILE
 10688273 LAURA MCLEAN CUST                                  ADDRESS ON FILE
 10687854 LAWRENCE FALATER & DELPHINE FALATER JT TEN         ADDRESS ON FILE
 10688097 LAWRENCE FALATER & DELPHINE FALATER JT TEN         ADDRESS ON FILE




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 10688285 LAWRENCE P FLEMING JR                              ADDRESS ON FILE
 10687900 LEAH ANN FITZGERALD                                ADDRESS ON FILE
 10688194 LEAH ANN FITZGERALD                                ADDRESS ON FILE
 10688186 LEIGH ANNE BRAY                                    ADDRESS ON FILE
 10687863 LEWIS C REESE                                      ADDRESS ON FILE
 10688020 LINDA J VERNON                                     ADDRESS ON FILE
 10687848 LIONEL H SMALL                                     ADDRESS ON FILE
 10688252 LLOYD B MARTIN JR                                  ADDRESS ON FILE
 10688113 LLOYD WILLIAMS                                     ADDRESS ON FILE
 10687876 LOIS M DAVIS & RONALD E DAVIS JT TEN               ADDRESS ON FILE
 10687994 LORENZO TONELLI                                    ADDRESS ON FILE
 10688059 LOUIS E SHARP                                      ADDRESS ON FILE
 10688141 LOUIS G ONEAL                                      ADDRESS ON FILE
 10687982 LUIS DE AZUA                                       ADDRESS ON FILE
 10688098 MADGE P JERNIGAN                                   ADDRESS ON FILE
 10688230 MARGARET LAURA LOWE                                ADDRESS ON FILE
 10687836 MARK KEHAYA TRUSTEE                                ADDRESS ON FILE
 10687847 MARK MOULTON                                       ADDRESS ON FILE
 10688091 MARK MOULTON                                       ADDRESS ON FILE
 10687868 MARK W KEHAYA                                      ADDRESS ON FILE
 10688101 MARK WRIGHT                                        ADDRESS ON FILE
 10687924 MARSHALL WOLF                                      ADDRESS ON FILE
 10687908 MARTIN C DANIEL                                    ADDRESS ON FILE
 10687995 MARTIN R WADE III                                  ADDRESS ON FILE
 10687936 MARY A WILLIAMS EXECUTOR                           ADDRESS ON FILE
 10688279 MARY BALL MASSEY                                   ADDRESS ON FILE
 10688016 MARY E BUCZKOWSKI                                  ADDRESS ON FILE
 10688120 MARY E BURKS                                       ADDRESS ON FILE
 10688056 MARY R MARSHALL                                    ADDRESS ON FILE
 10687871 MASON KENT HARRIS & WESTER GERALD                  ADDRESS ON FILE
 10688173 MASON KENT HARRIS & WESTER GERALD                  ADDRESS ON FILE
 10688197 MATTHEW V LILES                                    ADDRESS ON FILE
 10688245 MAURICE G WHITLOW                                  ADDRESS ON FILE
 10688034 MAZIE MATTHEWS LAURENCE                            ADDRESS ON FILE
 10687966 MELVIN T WILSON & BILLY J WILSON JT TEN            ADDRESS ON FILE
 10687860 MEREDITH ANNE INGRAM                               ADDRESS ON FILE
 10687935 MIAL B WOODARD                                     ADDRESS ON FILE
 10688248 MIAL B WOODARD                                     ADDRESS ON FILE
 10688329 MICHAEL E POOLE                                    ADDRESS ON FILE
 10688106 MICHAEL T FLEMING & BARBARA R FLEMING TTEES        ADDRESS ON FILE
 10687971 MICHEL JEAN FERAT & ANNE MARIE FERAT JT TEN        ADDRESS ON FILE
 10688085 MIKE ROBERTS                                       ADDRESS ON FILE
 10688228 MORGAN SMITH FINANCIAL SERVICE                     ADDRESS ON FILE
 10688012 MRS HELEN JANE ARMSTRONG                           ADDRESS ON FILE
 10687833 NAN DAVIDSON                                       ADDRESS ON FILE
 10688036 NANCY ELLEN ZIMMERMAN                              ADDRESS ON FILE
 10687899 NANCY F FELIX                                      ADDRESS ON FILE
 10687943 NANCY KATHERINE ANDERSON LINDQUIST                 ADDRESS ON FILE
 10688114 NICK TRATARIS                                      ADDRESS ON FILE
 10688109 NICOLE R HOLLEY                                    ADDRESS ON FILE
 10687984 NINOS HADJIGERIOU                                  ADDRESS ON FILE
 10687828 OLD DOMINION & CO                                  ADDRESS ON FILE
 10688272 OLIVIA M MCLEAN                                    ADDRESS ON FILE
 10687867 P C DOM                                            ADDRESS ON FILE
 10688162 P C DOM                                            ADDRESS ON FILE
 10688153 P KIEWERT                                          ADDRESS ON FILE
 10687999 PAMELA SHIELDS                                     ADDRESS ON FILE
 10687916 PATRICIA M ALLEN & DON R ALLEN JT TEN              ADDRESS ON FILE
 10688071 PATRICIA P BURTON                                  ADDRESS ON FILE
 10687843 PAUL H BICQUE                                      ADDRESS ON FILE
 10688223 PAUL LA MONACA                                     ADDRESS ON FILE
 10687872 PAUL MOSCHLER                                      ADDRESS ON FILE




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                                                                                              Registered Holders Service List
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MMLID                                                NAME                      ADDRESS 1                      ADDRESS 2            ADDRESS 3   ADDRESS 4   CITY   STATE
 10688214 PAUL TABERER                                       ADDRESS ON FILE
 10688112 PAULETTE KANKHWENDE                                ADDRESS ON FILE
 10688069 PEGGY B WILSON                                     ADDRESS ON FILE
 10687849 PENNY HALL JARRELL EXEC                            ADDRESS ON FILE
 10688265 PETER A MUNRO                                      ADDRESS ON FILE
 10688251 PETER DOROSHUK                                     ADDRESS ON FILE
 10687941 PHILLIP F PROPST                                   ADDRESS ON FILE
 10687918 PHILLIP HAIRSTON                                   ADDRESS ON FILE
 10688104 PHYLLIS P RAINES                                   ADDRESS ON FILE
 10687889 POQUOSON TRIBE 124                                 ADDRESS ON FILE
 10687921 R ROBINSON & C ROBINSON TR UA 05/28/05             ADDRESS ON FILE
 10688210 R WAYNE BRAY                                       ADDRESS ON FILE
 10688067 RALPH S GIBSON                                     ADDRESS ON FILE
 10688040 RAY FAASEN                                         ADDRESS ON FILE
 10687927 REBECCA CELESTE MAYHEW                             ADDRESS ON FILE
 10688322 REGINA V CALVERT                                   ADDRESS ON FILE
 10687866 REUBEN E. MATHEWS & DONNA G. MATHEWS JT TEN        ADDRESS ON FILE
 10688190 RHONDA W SEAMSTER                                  ADDRESS ON FILE
 10687950 RICHARD C GREEN                                    ADDRESS ON FILE
 10687951 RICHARD C GREEN & PAMELA C GREEN JT TEN            ADDRESS ON FILE
 10687989 RICHARD D HARRIS JR                                ADDRESS ON FILE
 10688014 RICHARD KATZ & BETTY KATZ JT TEN                   ADDRESS ON FILE




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                                                               Served via Email




                    Name                                                                 Email
 Broadridge                                 BBTRProxyOps@broadridge.com; BankruptcyJobs@broadridge.com
                                            nathalie.chataigner@clearstream.com; cherifa.maameri@clearstream.com;
                                            CA_Luxembourg@clearstream.com; david.mccauley@clearstream.com;
 Clearstream                                ca_mandatory.events@clearstream.com; hulya.din@clearstream.com
                                            mandatoryprocessing@morganstanley.com; voluntaryreorgannouncements@dtcc.com;
 DTC                                        LegalAndTaxNotices@dtcc.com; rgiordano@dtcc.com
 Euro Clear                                 eb.ca@euroclear.com; 'JPMorganInformation.Services@jpmorgan.com'

                                            documents@mediantonline.com; mkoester@mediantonline.com; mhamdan@mediantonline.com;
 Mediant                                    darchangel@mediantonline.com; mtaylor@mediantonline.com; mdickens@mediantonline.com
 SIS                                        ca.notices@six-securities-services.com




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                           Name                            Address 1                                    Address 2                                     Address 3                       City            State     ZipCode        Country
BROADRIDGE                                   JOBS: Z77789/Z77790                    51 MERCEDES WAY                                                                          EDGEWOOD                   NY        11717
AMERICAN ENTERPRISE 0216 0756 2146           ATTN ERIN M STIELER                    682 AMP FINANCIAL CENTER                                                                 MINNEAPOLIS               MN         55474
APEX CLEARING CORPORATION (0158)             ATTN: BRIAN DARBY                      350 M. ST. PAUL SUITE 1300                                                               DALLAS                     TX        75201
APEX CLEARING CORPORATION (0158)             ATTN: SHERRY MUSMAR                    350 N ST. PAUL STREET                               SUITE 1300                           DALLAS                     TX        75201
BAIRD CO INCORPORATED 0547                   ATTN JAN SUDFELD                       777 E WISCONSIN AVENUE                              19TH FLOOR                           MILWAUKEE                  WI        53202
BAIRD CO INCORPORATED 0547                   ATTN JANE ERBE OR PROXY MGR            777 E WISCONSIN AVENUE                                                                   MILWAUKEE                  WI        53202
BANC OF AMERICA SECURITIES LLC 0773          ATTN EARL WEEKS OR PROXY MGR           4804 DEAR LAKE DR E                                                                      JACKSONVILLE               FL        32246
BANC OF AMERICA SECURITIES LLC 0773          ATTN JOHN DOLAN OR PROXY MGR           100 W 33RD STREET 3RD FLOOR                                                              NEW YORK                   NY        10001
BANK OF AMERIC LASALLE BNK NA 2251           ATTN RICK LEDENBACH OR PROXY MGR       135 SOUTH LASALLE STREET SUITE 1811                                                      CHICAGO                    IL        60603
BANK OF AMERICA NA GWI M 0955                ATTN SHARON BROWN OR PROXY MGR         1201 MAIN STREET                                    9TH FLOOR                            DALLAS                     TX        75202
BARCLAY CAP 229 7256 7254 8455 7263          ATTN Anthony Sciaraffo or Proxy MGR    745 SEVENTH AVENUE                                  16TH FLOOR                           NEW YORK                   NY        10019
BARCLAY CAPITAL (0229/7256/7254/8455/7263)   ATTN: Anthony Sciaraffo or Proxy MGR   745 SEVENTH AVENUE                                  16TH FLOOR                           NEW YORK                   NY        10019
BB T SECURITIES 0702                         ATTN Proxy Dept                        8006 Discovery Drive                                Suite 200                            Richmond                   VA        23229
BMO NESBITT BURNS INC CDS 5043               ATTN LOUISE TORANGEAU                  1 FIRST CANADIAN PLACE                              38th FLOOR P O BOX 150               TORONTO                   ON       M5X 1H3        CA
BMO NESBITT BURNS INC CDS 5043               ATTN PHUTHORN PENIKET DINA FERNANDS    BMO FINANCIAL GROUP                                 250 YONGE ST 8TH FLOOR               TORONTO                   ON       M5B 2M8        CA
BNY MELLON NEW ENGLAND 0954                  ATTN EVENT CREATION DEPARTMENT         500 GRANT STREET                                    ROOM 151-2700                        PITTSBURGH                 PA        15258
BROWN BROTHERS HARRIMAN & CO. (0010)         ATTN: JERRY TRAVERS                    525 WASHINGTON BLVD                                                                      JERSEY CITY                NJ        07310
BROWN BROTHERS HARRIMAN & CO. (0010)         ATTN: PAUL NONNON OR PROXY MGR         525 WASHINGTON BLVD. NEW PORT TOWERS                                                     JERSEY CITY                NJ     07310-1607
BROWN BROTHERS HARRIMAN & CO. (0010)         ATTN: ANTHONY BONACETO                 50 POST OFFICE SQUARE                                                                    BOSTON                    MA         02110
BROWN BROTHERS HARRIMAN & CO. (0010)         ATTN: PAUL NONNON OR REORG MGR.        HARBORSIDE FINANCIAL CENTER                         185 HUDSON STREET                    JERSEY CITY                NJ     07311-0000
CHARLES SCHWAB CO INC 0164                   ATTN CHRISTINA YOUNG                   2423 E LINCOLN DRIVE                                                                     PHOENIX                    AZ     85016-1215
CHARLES SCHWAB CO INC 0164                   ATTN JANA TONGSON OR PROXY MGR         2423 EAST LINCOLN DRIVE                              PHXPEAK-01-1B571A                   PHOENIX                    AZ        85016
CIBC WORLD MARKETS INC CDS 5030              ATTN NICASTRO JERRY OR PROXY MGR       161 BAY ST 10TH FL                                                                       TORONTO                   ON        M5J 258       CA
CIBC WORLD MARKETS INC CDS 5030              ATTN REED JON                          CANADIAN IMPERIAL BANK OF COMMERCE                  22 FRONT ST W 7TH FL ATTN CORP ACT   TORONTO                   ON       M5J 2W5        CA
CIBC WORLD MARKETS INC CDS 5030              ATTN HENRY H LIANG                     22 FRONT ST W                                       7TH FLOOR                            TORONTO                   ON       M5J 2W5        CA
CITIBANK N A 0908                            ATTN PAUL WATTERS                      3801 CITIBANK CENTER                                B 3RD FLOOR ZONE 12                  TAMPA                      FL        33610
CITIBANK N A 0908                            ATTN CAROLYN TREBUS OR PROXY MGR       3800 CITIBANK CENTER B3-12                                                               TAMPA                      FL        33610
COR LLC 0052                                 ATTN CORPORATE ACTION                  1299 FARNAM STREET                                  SUITE 800                            OMAHA                      NE        68102
COR LLC 0052                                 ATTN LUKE HOLLAND                      1299 FARNAM STREET                                  SUITE 800                            OMAHA                      NE        68102
COR LLC 0052                                 ATTN ANH MECHALS                       1299 FARNAM STREET                                  SUITE 800                            OMAHA                      NE        68102
COR LLC 0052                                 ISSUER SERVICES                        1299 FARNAM STREET                                  SUITE 800                            OMAHA                      NC        68102
COR LLC 0052                                 ATTN AMBRA MOORE OR PROXY MGR          1299 FARNAM STREET                                  SUITE 800                            OMAHA                      NE        68102
CREDIT SUISSE SECURITIES (0355)              ATTN: ANTHONY MILO                     7033 LOUIS STEVENS DRIVE                            GLOBAL PROXY SERVICES                RESEARCH TRIANGLE PARK     NC        27560
CREDIT SUISSE SECURITIES (0355)              ATTN: ASHWINEE SAWH OR PROXY MGR       11 MADISON AVENUE                                   23RD FLOOR                           NEW YORK                   NY        10010
D.A. DAVIDSON & CO. (0361)                   ATTN: RITA LINSKEY OR PROXY MGR        8 THIRD STREET NORTH P.O. BOX 5015                                                       GREAT FALLS               MT         59403
DAVENPORT COMPANY LLC 0715                   ATTN KIM NIEDING OR PROXY MGR          901 EAST CARY ST 11TH FLOOR                                                              RICHMOND                   VA        23219
E*TRADE CLEARING LLC 0385                    ATTN VICTOR LAU OR PROXY MGR           34 EXCHANGE PLACE                                   PLAZA II                             JERSEY CITY                NJ         7311
EDWARD D JONES CO 0057                       ATTN ELIZABETH ROLWES                  201 PROGRESS PARKWAY                                                                     MARYLAND HEIGHTS          MO      63043-3042
EDWARD D JONES CO 0057                       ATTN A J MAYTAS OR PXY MGR             CORPORATE ACTIONS DISTRIBUTION                      12555 MANCHESTER ROAD                ST LOUIS                  MO         63141
FIRST CLEARING LLC 0141                      ATTN PROXY DEPARTMENT                  2801 MARKET STREET                                  H0006-08N                            ST LOUIS                  MO         63103
FIRST CLEARING LLC 0141                      ATTN FINESSA ROSSON OR PROXY MGR       ONE NORTH JEFFERSON STREET 9-F                                                           ST LOUIS                  MO         63103
GLENMEDE TRUST CO 2139                       ATTN DARLENE WARREN OR PROXY MGR       ONE LIBERTY PLACE SUITE 1200                        1650 MARKET STREET                   PHILADELPHIA               PA        19103
GLENMEDE TRUST CO 2139                       ATTN LINDA BELLICINI OR PROXY MGR      ONE LIBERTY PLACE SUITE 1200                        1650 MARKET STREET                   PHILADELPHIA               PA        19103
GOLDMAN SACHS CO 0005                        ATTN DEVIN GEIMAN OR PROXY MGR         30 HUDSON STREET PROXY DEPARTMENT                                                        JERSEY CITY                NJ     07302-0000
INGALLS SNYDER L L C 0124                    ATTN LES BIANCO OR PROXY MGR           1325 AVENUE OF THE AMERICAS                                                              NEW YORK                   NY        10019
INTERACTIVE BROKERS 0017 0534                ATTN KARIN MCCARTHY                    8 GREENWICH OFFICE PARK 2ND FLOOR                                                        GREENWICH                  CT     06831-0000
INTL FCSTONE INC f k a STNE AG 0750          ATTN KEN SIMPSON OR PROXY MGR          2 PERIMETER PARK SOUTH STE 100 W                                                         BIRMINGHAM                 AL        35243
J P MORGAN CLEARING CORP 0352                ATTN BRODERICK WALKER OR PROXY MGR     DEPT C CASHIERS DEP ONE METROTECH                   CENTER NORTH REORG DEPT 4TH FLOOR    BROOKLYN                   NY     11201-3862
J.P. MORGAN SECURITIES INC. (0187)           ATTN: MICHAEL PELLEGRINO               500 STANTON CHRISTIANA ROAD                         CORP ACTIONS 3RD FL                  NEWARK                     DE     19713-2107
J.P. MORGAN SECURITIES INC. (0187)           ATTN: JOHN HALLORAN OR PROXY MGR       500 STANTON CHRISTIANA ROAD CORP ACTIONS 3RD FL                                          NEWARK                     DE     19713-2107
JANNEY MONTGOMERY SCOTT INC 0374             ATTN BOB MARTIN OR PROXY MGR           1801 MARKET STREET 9TH FLOOR                                                             PHILADELPHIA               PA     19103-1675
JEFFERIES COMPANY INC 0019                   ATTN ROBERT MARANZANO                  34 EXCHANGE PL                                                                           JERSEY CITY                NJ     07311-0000
JEFFERIES COMPANY INC 0019                   ATTN RAY DESOUZA OR PXY MGR            HARBORSIDE FINANCIAL CENTER                         705 PLAZA 3                          JERSEY CITY                NJ     07311-0000
JMS LLC 0374                                 ATTN MARK F GRESS                      C O MEDIANT COMMUNICATIONS INC                      200 REGENCY FOREST DRIVE             CARY                       NC        27518
JPMC EURO 1970                               ATTN Proxy Dept                        4 METROTECH CENTER 3RD FLOOR                                                             BROOKLYN                   NY        11245
JPMORGAN CHASE BANK N A 0902                 ATTN PROXY MGR                         PARADIGM B WING FLOOR 6                             MINDSPACE MALAD W                    MUMBAI                   INDIA   400 064 I00000   ID
JPMORGAN CHASE BANK NA 0902                  ATTN SACHIN GOYAL                      500 STANTON CHRISTIANA ROAD OPS 4                   FLOOR 02                             NEWARK                     DE     19713-2107
JPMORGAN CHASE BANK NA 0902                  ATTN JACOB BACK OR PROXY MGR           14201 DALLAS PARKWAY 12TH FLOOR                                                          DALLAS                     TX        75254
JPMORGAN CHASE BANK NA 0902                  ATTN ARMANDO MORALES OR PROXY MGR      14201 DALLAS PARKWAY 12TH FLOOR                                                          DALLAS                     TX        75254
JPMORGAN CHASE BANK NA 0902                  ATTN MARVIN KINES OR PROXY MGR         14201 DALLAS PARKWAY 12TH FLOOR                                                          DALLAS                     TX        75254




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                                                                                          Served via Overnight Mail and Next Day Business Service

                           Name                          Address 1                                    Address 2                                     Address 3                      City        State    ZipCode        Country
JPMS JPMC 0352                              ATTN JOHN FAY                         500 STANTON CHRISTIANA ROAD OPS 4                   FLOOR 03                            NEWARK                DE     19713-2107
LAURENTIAN BANK OF CANADA CDS 5001          ATTN ESTELLE COLLE OR PROXY MGR       1981 MCGILL COLLEGE AVE SUITE 100                                                       MONTREAL              QC      H3A 3K3        CA
LAURENTIAN BANK OF CANADA CDS 5001          ATTN FRANCESCA MAIORINO               1360 Rene-levesque Bldv West                        Suite 620                           Montreal              QC      H3G 0E8        CA
LAURENTIAN BANK OF CANADA CDS 5001          ATTN FRANCESCA MAIORINO               1981 MCGILL COLLEGE AVE                             SUITE 100                           MONTREAL              QC      H3A 3K3        CA
LAURENTIAN BANK OF CANADA** 5001            ATTN SARAH QUESNEL OR PROXY MGR       1981 MCGILL COLLEGE AVE SUITE 100                                                       MONTREAL              QC      H3A 3K3        CA
LEEDE FINANCIAL MARKETS 5071                ATTN CRAIG GOODWIN OR PROXY MGR       FIRST ALBERTA PLACE                                 777 8TH AVENUE SW SUITE 2300        CALGARY               AB       T2P 3R5       CA
LEEDE FINANCIAL MARKETS 5071                ATTN BARB MORIN                       777 8 AVENUE S W                                    SUITE 2300                          CALGARY               AB       T2P 3R5       CA
LPL FINANCIAL CORPORATION 0075              Attn Corporate Actions Dept           1055 LPL Way                                                                            FORT MILL             SC        29715
LPL FINANCIAL CORPORATION 0075              ATTN KRISTIN KENNEDY                  9785 TOWNE CENTER DRIVE                             SAN DIEGO                           CA                           92121-1968
LPL FINANCIAL CORPORATION 0075              ATTN MARTHA LANG                      4828 PARKWAY PLAZA BLVD                                                                 CHARLOTTE            NC         28217
LPL FINANCIAL CORPORATION 0075              ATTN CORPORATE ACTIONS                4707 EXECUTIVE DRIVE                                                                    SAN DIEGO            CA         92121
MERRILL LYNCH 5198                          ATTN EARL WEEKS OR PROXY MGR          4804 DEER LAKE DR E                                                                     JACKSONVILLE          FL        32246
MERRILL LYNCH PIERCE FENR 0161 8862         ATTN EARL WEEKS OR PROXY MGR          4804 DEER LAKE DR E                                                                     JACKSONVILLE          FL        32246
MORGAN STANLEY CO LLC 0050                  ATTN KENNETH EWING OR PROXY MGR       1300 THAMES STREET WHARF 7TH FLOOR                                                      BALTIMORE            MD         21231
MORGAN STANLEY CO LLC 0050                  ATTN RAQUEL DEL MONTE OR PROXY MGR    ONE NEW YORK PLAZA 7TH FLOOR                                                            NEW YORK             NY         10004
MORGAN STANLEY CO LLC 0050                  ATTN MICHELLE FORD                    901 SOUTH BOND ST 6TH FL                                                                BALTIMORE            MD         21231
MORGAN STANLEY CO LLC 0050                  ATTN JONATHAN GOLDMAN OR PROXY MGR    1300 THAMES STREET WHARF 7TH FLOOR                                                      BALTIMORE            MD         21231
MORGAN STANLEY SMITH BARN LLC 0015          ATTN JOHN BARRY OR PROXY MGR          1300 THAMES STREET                                  6TH FLOOR                           BALTIMORE            MD         21231
MORGAN STANLEY SMITH BARN LLC 0015          ATTN PROXY Reorg MGR                  1 New York Plaza                                    41st Floor                          New York             NY         10004
NATIONAL FINANCIAL SERV LLC 0226            ATTN PROXY MANAGER                    499 WASHINGTON BLVD 5TH FL                                                              JERSEY CITY          NJ          7310
NATIONAL FINANCIAL SERV LLC 0226            ATTN JOANNE PADARATHSINGH             499 WASHINGTON BLVD                                                                     JERSEY CITY     NJ                    7310
NATIONAL FINANCIAL SERV LLC 0226            ATTN SEAN COLE OR PROXY MGR           499 WASHINGTON BLVD                                                                     JERSEY CITY          NJ         07310
NBCN INC CDS 5008                           ATTN GESTION DE l’INFORM– TR 5609-1   1010 RUE DE LA GAUCHETIERE OUEST                     17e étage                          MONTREAL             QC        H3B 5J2       CA
NOMURA SECURITIES 0180 7507 7584            ISSUER SERVICES                       309 WEST 49TH STREET                                10TH FLOOR                          NEW YORK             NY      10019-7316
OPPENHEIMER CO INC 0571 0303                ATTN OSCAR MAZARIO OR PROXY MGR       85 BROAD STREET 4TH FL                                                                  NEW YORK             NY         10004
PERSHING LLC 0443                           ATTN JOSEPH LAVARA                    ONE PERSHING PLAZA                                                                      JERSEY CITY          NJ      07399-0000
PERSHING LLC 0443                           ATTN AL HERNANDEZ OR PROXY MGR        SECURITIES CORPORATION                              1 PERSHING PLAZA 7TH FLOOR -REORG   JERSEY CITY          NJ      07399-0000
PRIMEVEST 0701                              ATTN ANGELA HANDELAND OR PROXY MGR    400 1ST STREET SOUTH SUITE 300 ST                                                       CLOUD                MN         56301
PRIMEVEST 0701                              ATTN MARK SCHOUVILLER OR PROXY MGR    400 1ST STREET SOUTH SUITE 300 ST                                                       CLOUD                MN         56301
QUESTRADE INC 5084                          ATTN MAURIZIO ARANI OR PROXY MGR      5650 YONGE STREET SUITE 1700                                                            TORONTO              ON       M2M 4G3        CA
RAYMOND JAMES ASSOCIATES INC 0725           ATTN ROBERTA GREEN                    880 CARILION PARKWAY                                                                    ST PETERSBURG        FL         33716
RAYMOND JAMES ASSOCIATES INC 0725           ATTN ROBERTA GREEN OR PXY MGR         880 CARILION PARKWAY TOWER 2                        4TH FLOOR                           ST PETERSBURG        FL         33716
RBC CAPITAL MARKETS CORP 0235               ATTN STEVE SCHAFER                    60 S 6TH ST - P09                                                                       MINNEAPOLIS          MN      55402-4400
RBC CAPITAL MARKETS CORP 0235               ATTN STEVE SCHAFER OR PROXY MGR       510 MARQUETTE AVE SOUTH                                                                 MINNEAPOLIS          MN         55402
RBC INVESTOR SERVICES 0901                  ATTN EMMA SATTAR OR PROXY MGR         155 WELLINGTON ST W 3RD FLOOR                                                           TORONTO              ON       M5V 3L3        CA
SAFRA SECURITIES LLC 8457                   ATTN PROXY DEPARTMENT                 3050 AVENTURA BLVD                                                                      AVENTURA             FL         33180
SCOTIA CAPITAL INC 0096                     ATTN JOE LAPORTA OR PROXY MGR         250 ZESEY STREET                                                                        NEW YORK             NY         10281
SCOTIA CAPITAL INC CDS 5011                 ATTN CAROL ANDERSON                   40 KING STREET WEST                                                                     TORONTO              ON       M5H 1H1        CA
SCOTIA CAPITAL INC CDS 5011                 ATTN NORMITA RAMIREZ CORP ACT DEPT    40 KING STREET WEST                                                                     TORONTO              ON       M5H 1H1        CA
SEI PRIVATE TRUST COMPANY 2039 2663         ATTN MELVIN ALLISON OR PROXY MGR      ONE FREEDOM VALLEY DRIVE                                                                OAKS                 PA         19456
SEI PRIVATE TRUST COMPANY 2039 2663         ATTN ERIC GREENE OR PROXY MGR         ONE FREEDOM VALLEY DRIVE                                                                OAKS                 PA         19456
SG AMERICAS SECURITIES LLC 0286             ATTN CHARLES HUGHES OR PROXY MGR      245 PARK AVE                                                                            NEW YORK             NY         10167
SOUTHWEST SECURITIES INC 0279               ATTN RHONDA JACKSON                   1201 ELM STREET SUITE 3500                                                              DALLAS               TX         75270
SOUTHWEST SECURITIES INC 0279               ATTN CHRISTINA FINZEN OR PROXY MGR    1201 ELM STREET SUITE 3700                                                              DALLAS               TX         75270
SSB- IBT BGI 2767                           ATTN TOM BRODERICK OR PROXY MGR       1776 HERITAGE DRIVE NORTH                                                               QUINCY               MA      02171-0000
SSB-TRUST CUSTODY 2319                      ATTN MANNY PINA OR PROXY MGR          1200 CROWN COLONY DRIVE                                                                 QUINCY               MA      02169-0000
STATE ST BNK TRST S ST TOT ETF 2950         ATTN MIKE FEELEY ROB RAY OR PXY MGR   CORP ACTIONS - JAB5E                                1776 HERITAGE DRIVE NORTH           QUINCY               MA      02171-0000
STATE ST BNK TRST S ST TOT ETF 2950         ATTN JOSEPH J CALLAHAN                GLOBAL CORP ACTION DEPT JAB5W                       P O BOX 1631                        BOSTON               MA      02105-1631
STATE STREET 0997                           ATTN CHRISTINE SULLIVAN               1776 HERITAGE DR                                                                        NORTH QUINCY         MA      02171-0000
STATE STREET 0997                           ATTN MIKE FEELEY ROB RAY OR PXY MGR   CORP ACTIONS - JAB5E                                1776 HERITAGE DRIVE NORTH           QUINCY               MA      02171-0000
STERNE AGEE LEACH INC 0750                  ATTN JAMES MEZRANO                    2 PERIMETER PARK                                    SUITE 100W                          BIRMINGHAM           AL         35209
STERNE AGEE LEACH INC 0750                  ATTN WENDY FLETCHER OR PROXY MGR      813 SHADES CREEK PARKWAY                            SUITE 100-B                         BIRMINGHAM           AL         35209
STIFEL NICOLAUS CO 0793                     ATTN CHRIS WIEGAND                    C O MEDIANT COMMUNICATIONS INC                      200 REGENCY FOREST DRIVE            CARY                 NC         27518
STIFEL NICOLAUS CO 0793                     ATTN CHRIS WIEGAND OR PROXY MGR       501 N BROADWAY 7TH FL                               STOCK RECORD DEPT                   ST LOUIS             MO         63102
TD AMERITRADE CLEARING INC 0188             ATTN MANDI FOSTER                     1005 N AMERITRADE PLACE                                                                 BELLEVUE             NE         68005
TD AMERITRADE CLEARING INC 0188             ATTN GARY SWAIN OR PROXY MGR          1005 AMERITRADE PLACE                                                                   BELLEVUE             NE         68005
TD WATERHOUSE CANADA INC CDS 5036           ATTN YOUSEF AHMED                     77 BLOOR STREET WEST                                3RD FLOOR                           TORONTO              ON       M4Y 2T1        CA
TD WATERHOUSE CANADA INC CDS 5036           ATTN PROXY MANAGER                    77 BLOOR STREET WEST 3RD FLOOR                                                          TORONTO              ON       M5S 1M2        CA
THE BANK OF NY MELLON 901 2510 2209         ATTN JENNIFER MAY                     525 WILLIAM PENN PLACE SUITE 153-0400                                                   PITTSBURGH           PA         15259
THE NORTHERN TRUST COMPANY 2669             ATTN ANDREW LUSSEN CAP STRUCT-C1N     801 S CANAL STREET                                                                      CHICAGO               IL        60607




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                                                                                                                Exhibit N
                                                                                                     Supplemental Nominee Service List
                                                                                          Served via Overnight Mail and Next Day Business Service

                           Name                           Address 1                                   Address 2                                     Address 3                  City   State    ZipCode     Country
THE NORTHERN TRUST COMPANY 2669             ATTN ROBERT VALENTIN OR PROXY MGR     801 S CANAL STREET REORG DEPT                       FLOOR C1N                        CHICAGO         IL       60607
TRADESTATION 0271                           ATTN PROXY MGR                        8050 SW 10th Street                                                                  Plantation      FL       33324
U S BANK N A 2803                           ATTN STEPHANIE KAPTA                  1555 N RIVERCENTER DRIVE SUITE 302                                                   MILWAUKEE       WI       53212
U S BANK N A 2803                           ATTN PAUL KUXHAUS OR PROXY MGR        1555 N RIVER CENTR DRIVE SUITE 302                                                   MILWAUKEE       WI       53212
UBS FINANCIAL SERVICES LLC 0221             ATTN JANE FLOOD OR PROXY MGR          1000 HARBOR BLVD                                                                     WEEHAWKEN       NJ     07086-0000
UBS SECURITIES LLC 0642                     ATTN GREG CONTALDI OR PROXY MGR       1000 HARBOR BLVD                                    5TH FLOOR                        WEEHAWKEN       NJ       07086
UBS SECURITIES LLC 0642                     ATTN MICHAEL HALLETT                  315 DEADERICK STREET                                                                 NASHVILLE       TN       37238
VANGUARD 0062                               ATTN BEN BEGUIN OR CORPORATE ACTION   14321 N NORTHSIGHT BLVD                                                              SCOTTSDALE      AZ       85260
VANGUARD MARKETING CORPORATION 0062         ATTN CORPORATE ACTIONS                100 VANGUARD BOULEVARD                                                               MALVERN         PA       19355
WELLS FARGO SECURITIES LLC 0250             ATTN SCOTT NELLIS OR PROXY MGR        CORP ACTIONS - MAC D109-010                         1525 WEST W T HARRRIS BLVD 1B1   CHARLOTTE       NC       28262
WELLS FARGO SECURITIES LLC 0250             ATTN STEVE TURNER OR PROXY MGR        CORP ACTIONS - NC0675                               1525 WEST W T HARRIS BLVD 1B1    CHARLOTTE       NC       28262
WELLS FARGO SECURITIES LLC 0250             ATTN ROBERT MATERA OR PROXY MGR       CORP ACTIONS - NC0675                               1525 WEST W T HARRIS BLVD 1B1    CHARLOTTE       NC       28262




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